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                                   #:978




                      EXHIBIT 20
       Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 2 of 183 Page ID
                                          #:979
Baumgarten, David
From:                        Baumgarten, David
Sent:                        Thursday, July 14, 2016 7:28 PM
To:                          Bandlow, Lincoln; Arnold, Margo J.
Cc:                          Boyle, Nicholas; Hamilton, Eric
Subject:                     RE: CoStar Realty Information, Inc. et al. v. Apartment Hunters, Inc., et al. (Case No.: 8:15-
                             cv-0211-JLS-KES)


Lincoln and Margo, 
  
I write in response to your July 14, 2016 letter. We are in the final stages of collecting and processing Plaintiffs’ website 
captures documenting Defendants’ publication of CoStar photographs and listing information.  As requested, we will 
produce those captures as soon as possible — we are aiming for next week.   
  
We will also agree to extend AHI’s deadline to respond to Plaintiffs’ Interrogatories No. 1 and No. 3 from July 18 until 
one week following Plaintiffs’ production of website captures.  For the avoidance of doubt, Plaintiffs still expect to 
receive Apartment Hunters’ responses to the remainder of Plaintiffs’ First Set of Interrogatories on or before July 18, 
2016. 
  
Additionally, for the avoidance of doubt, we note that Plaintiffs’ First Set of Interrogatories (and Requests for 
Production) define the terms “CoStar Photographs” and “CoStar Listings” as those photographs and listings that either 
(a) CoStar has specifically claimed Defendants infringed or misappropriated or (b) Defendants know, or have or had 
reason to believe, were infringed, misappropriated, or otherwise directly or indirectly sourced from CoStar (whether by 
Defendants or any other persons).  See, e.g., Plaintiffs’ Interrogatories, Definitions 4, 5; May 9, 2016 Letter from D. 
Baumgarten to L. Bandlow.  Thus, the set of photographs and listings regarding which AHI is required to provide 
information in response to Interrogatories No. 1 and No. 3 (and provide documents in response to Plaintiffs’ Requests 
for Production) is potentially much broader than the set of CoStar photographs and listings that Plaintiffs have to date 
specifically identified as having been published by AHI.  Merely searching for information and documents relating to the 
website captures Plaintiffs will produce shortly does not satisfy AHI’s discovery obligations.  Accordingly, Plaintiffs 
reiterate the suggestion that AHI provide third party vendor PicScout with access to (a) its full set of seed files from the 
period in question and (b) to its photo database, for the purposes of running an automated comparison to CoStar’s 
databases.  See May 23, 2016 e‐mail from D. Baumgarten to M. Arnold. 
 
Sincerely, 
 
David Baumgarten 
Williams & Connolly LLP 
725 Twelfth Street, N.W., Washington, DC 20005 
(P) 202‐434‐5929 | (F) 202‐434‐5029 
dbaumgarten@wc.com | www.wc.com/dbaumgarten 
 
From: Liu, Cindy [mailto:CLiu@foxrothschild.com]  
Sent: Thursday, July 14, 2016 1:00 PM 
To: perigoe@caldwell‐leslie.com; Boyle, Nicholas <NBoyle@wc.com>; Baumgarten, David <DBaumgarten@wc.com>; 
Hamilton, Eric <EHamilton@wc.com> 
Cc: Bandlow, Lincoln <lbandlow@foxrothschild.com>; Arnold, Margo J. <marnold@foxrothschild.com> 
Subject: CoStar Realty Information, Inc. et al. v. Apartment Hunters, Inc., et al. (Case No.: 8:15‐cv‐0211‐JLS‐KES) 
 


Dear Counsel,
                                                              1
      Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 3 of 183 Page ID
                                         #:980
Please see attached correspondence for your review and records.

Thank you.

Sincerely,

Cindy Liu
Legal Administrative Assistant to
David Aronoff
Lincoln Bandlow
Patrick J. Hagan
Margo Arnold
Fox Rothschild LLP
1800 Century Park East
Suite 300
Los Angeles, CA 90067
(310) 228-3077 - direct
(310) 556-9828 - fax
CLiu@foxrothschild.com
www.foxrothschild.com
 


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Postal Service. We will reimburse you for all expenses incurred. Thank you.




                                                         2
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                      EXHIBIT 21
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                                   #:982


 1 Lincoln D. Bandlow (SBN 170449)
   lbandlow@foxrothschild.com
 2 Margo J. Arnold (SBN 27288)
   marnold@foxrothschild.com
 3 FOX ROTHSCHILD LLP
   1800 Century Park East, Suite 300
 4 Los Angeles, CA 90067-1506
   Telephone: 310.598.4150
 5 Facsimile: 310.556.9828
 6 Attorneys for Defendants
   Apartment Hunters, Inc.,
 7 Kevin Shayan, and
   Steven Shayan
 8
 9                            UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11 COSTAR REALTY INFORMATION,                  Case No.: 8:15-cv-02111- JLS-KES
12 INC., and APARTMENTS, LLC
                                               HON. JOSEPHINE L. STATON
13
                Plaintiffs,
14
          vs.                                  DEFENDANT APARTMENT
15
                                               HUNTERS, INC.’S OBJECTIONS
16 APARTMENT HUNTERS, INC.,                    AND RESPONSES TO
   KEVIN SHAYAN, and STEVEN                    PLAINTIFFS’ FIRST SET OF
17
   SHAYAN                                      INTERROGATORIES
18
           Defendants.
19
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     DEFENDANT APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 6 of 183 Page ID
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 1 PROPOUNDING PARTY:               Plaintiffs CoStar Realty Information, Inc. and
 2                                  Apartments, LLC
 3 RESPONDING PARTY:                Defendant Apartment Hunters, Inc.
 4 SET NO:                          ONE (1)
 5         Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant
 6 Apartment Hunters, Inc. (“AHI”) hereby objects and responds to Plaintiffs CoStar
 7 Realty Information, Inc. and Apartments, LLC’s, (collectively as “Plaintiffs”) First Set
 8 of Interrogatories as follows:
 9                               GENERAL OBJECTIONS
10         The following general objections to Plaintiffs’ Interrogatories are incorporated
11 into each and every response to each individual Interrogatory as though fully set forth
12 therein:
13         1.    AHI objects to the Interrogatories to the extent that they seek to impose
14 obligations on it greater than or more extensive than those required by the Federal
15 Rules of Civil Procedure.
16         2.    AHI objects to the Interrogatories to the extent that they seek information
17 equally or more available to, or already in the possession, custody or control of
18 Plaintiffs.
19         3.    Discovery is continuing in this action, and AHI has not completed its
20 factual investigation. These responses are made in good faith and after diligent
21 inquiry into the facts and information now known to AHI. However, information that
22 may be responsive to the Interrogatory may not have been discovered. Accordingly,
23 without asserting an obligation to do so, and without waiving the objections asserted
24 herein, AHI reserves the right to amend/supplement its responses as and when
25 additional information and/or documents are discovered. Additionally, because AHI’s
26 responses are based upon information which it has identified to date, it does not
27 preclude AHI from relying on facts or documents discovered or generated pursuant to
28 subsequent investigation and discovery.
                                              2
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
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 1         4.     In providing responses and objections to the Interrogatories, AHI
 2 expressly reserves all of its objections to the use of the responses herein, including but
 3 not limited to, objections as to the competency, relevance, materiality, and
 4 admissibility thereof.
 5                     SPECIFIC OBJECTIONS AND RESPONSES
 6 INTERROGATORY NO. 1:
 7         Identify the source from and/or means by which You obtained each CoStar
 8 Photograph and each CoStar Listing, including, but not limited to, the names of any
 9 websites involved; the names, roles and contact information of any other Person
10 involved; the method, including software or other technical means, used to capture the
11 photograph or listing; and the title of any contract relating to such conduct.
12 RESPONSE TO INTERROGATORY NO. 1:
13         AHI objects to this interrogatory as burdensome and harassing because of its
14 compound nature. AHI further objects to this interrogatory because it is presently
15 pursuing its investigation of the facts and law relating to this case, and has not
16 completed its discovery or preparation for trial. Therefore, this response is being
17 provided without prejudice to AHI’s right to add, modify or otherwise change or
18 amend these responses and is subject to AHI’s right to produce evidence of any
19 subsequently-discovered fact or document.
20         Notwithstanding the foregoing objections, AHI has not yet been able to locate
21 the photographs identified on CoStar’s Exhibit A within its stored website data and,
22 without such information, it is unable to identify the source and/or means, if any, upon
23 which those photographs were obtained.
24 INTERROGATORY NO. 2:
25         Identify each third party, including without limitation internet services
26 providers (ISPs), hosting services, and server providers, you have utilized to obtain
27 listings, photographs, and information for Your websites and database(s).
28 RESPONSE TO INTERROGATORY NO. 2:
                                              3
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 8 of 183 Page ID
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 1         AHI objects to this interrogatory as burdensome and harassing because of its
 2 scope. AHI obtains listings, photographs, and information from thousands of
 3 landlords, management companies, and third party property owners, employees, or
 4 agents and up to 100 of partner feeds, including but not limited to:
 5         - RentPath (Apartmentguide.com, Rentals.com, MyNewPlace.com);
 6         - Dominion Enterprises (ForRent.com, Homes.com);
 7         - ListHub (Move.com, Nationwide MLS data);
 8         - On-site.com;
 9         - Rentalutions.com;
10         - ShowMojo.com; and
11         - IT49.com.
12 INTERROGATORY NO. 3:
13         For each CoStar Photograph and each CoStar Listing, identify any Person who
14 You assert gave permission to You to copy such photograph or listing, and the form of
15 the permission.
16 RESPONSE TO INTERROGATORY NO. 3:
17         AHI objects to this interrogatory because it is burdensome and harassing
18 because of its compound nature. AHI further objects to this interrogatory because it is
19 presently pursuing its investigation of the facts and law relating to this case, and has
20 not completed its discovery or preparation for trial. Therefore, this response is being
21 provided without prejudice to AHI’s right to add, modify or otherwise change or
22 amend these responses and is subject to AHI’s right to produce evidence of any
23 subsequently-discovered fact or document.
24         Notwithstanding the foregoing objections, AHI has not been able to locate any
25 CoStar Photographs or Listings within its website data. Without such information, it
26 is unable to identify the Persons who gave it permission to copy and display such
27 Photographs and Listings.
28 INTERROGATORY NO. 4:
                                              4
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 9 of 183 Page ID
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 1         Identify each Person to whom or which You have sold, licensed, or provided
 2 real estate information or listings for commercial use. For the avoidance of doubt, this
 3 Interrogatory does not call for the identification of individual customers who
 4 purchased monthly “memberships” to your website in order to view listings for their
 5 own personal, non-commercial use.
 6 RESPONSE TO INTERROGATORY NO. 4:
 7         AHI does not sell, license, or provide real estate information or listings for
 8 commercial use.
 9 INTERROGATORY NO. 5:
10         Identify all instances in which You (which, for the avoidance of doubt, is
11 defined to include agents and employees) have accessed any database or website
12 (including without limitation www.apartments.com, www.apartmenthomeliving.com,
13 and www.apartmentfinder.com) made available or hosts by CoStar or any of its
14 affiliates, including, but not limited to, the date of that access, and any efforts taken
15 (including but not limited to using rotating IP addresses) to try to ensure that CoStar
16 and/or its affiliates did not discover that You (which, for the avoidance of doubt, is
17 defined to include agents and employees) were accessing such database or website.
18 RESPONSE TO INTERROGATORY NO. 5:
19         No such instances have occurred.
20 INTERROGATORY NO. 6:
21         Identify each individual IP address You (which, for the avoidance of doubt, is
22 defined to include agents and employees) used to access, view, or otherwise use
23 www.apartments.com, www.apartmenthomeliving.com, and
24 www.apartmentfinder.com.
25 RESPONSE TO INTERROGATORY NO. 6:
26         No such IP addresses exist.
27 INTERROGATORY NO. 7:
28
                                              5
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
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 1         Identify the servers on which the photographs displayed on Your websites are
 2 stored, and any Person who own and/or license use of such servers to You.
 3 RESPONSE TO INTERROGATORY NO. 7:
 4         AHI objects to this interrogatory because it seeks information that is not related
 5 to a matter that is relevant to any party’s claim or defense and proportional to the
 6 needs of the case.
 7         Notwithstanding the foregoing objection, the photographs displayed on AHI’s
 8 websites are stored on Amazon Cloud Drive which is licensed to AHI by Amazon.
 9 INTERROGATORY NO. 8:
10         Describe any relationship between You (which, for the avoidance of doubt, is
11 defined to include any affiliates or subsidiaries, whether domestic or foreign) and
12 Delta Centric, LLC, Host1Plus, and/or Digital Energy Technologies (an/or with their
13 respective affiliates), including without limitation identifying the names and dates of
14 any contracts for services with such entities.
15 RESPONSE TO INTERROGATORY NO. 8:
16         No such relationships exist.
17 INTERROGATORY NO. 9:
18         Describe the methods You use to verify the availability of apartment listings
19 displayed on Your websites, including the frequency with which You use those
20 methods and the basis for statements on Your websites (appearing, for instance, on
21 search result pages) that specific listings were “Updated,” “Modified,” “Posted,”
22 “Refreshed,” “Vacant,” or “Price Reduced” at a specific date and time.
23 RESPONSE TO INTERROGATORY NO. 9:
24         AHI objects to this interrogatory because it seeks information that is not related
25 to a matter that is relevant to any party’s claim or defense and proportional to the
26 needs of the case. AHI further objects to this interrogatory as burdensome and
27 harassing because it previously stipulated that rental listings are time-sensitive and
28 discovery into this subject is no longer necessary.
                                              6
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
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 1 INTERROGATORY NO. 10:
 2         Describe the methods You use to process the photographs and listing
 3 information You acquire or post on Your websites, including without limitation any
 4 processes for editing, altering, or cropping of photographs or for editing, altering,
 5 reorganizing, or rewriting listing information.
 6 RESPONSE TO INTERROGATORY NO. 10:
 7         AHI does not modify feeder information. Information received by third parties,
 8 including management companies, landlords, and third-party feeders, is reviewed for
 9 inappropriate or unwanted content and then is published as initially provided on the
10 websites.
11 INTERROGATORY NO. 11:
12         Identify every instance in which You (which, for the avoidance of doubt, is
13 defined to include agents and employees) have had any involvement (for example,
14 without limitation, as a plaintiff, employee of a plaintiff, defendant, employee of a
15 defendant, third party, employee of a third party, consultant, or actual or potential
16 witness) in any claim, dispute or proceeding involving copyright or other intellectual
17 property issues, or involving apartment listings or photographs, including without
18 limitation any claims or disputes that were resolved without litigation.
19 RESPONSE TO INTERROGATORY NO. 11:
20         AHI objects to this interrogatory because it is burdensome and harassing as to
21 its scope. AHI objects to this interrogatory because it is compound. AHI further
22 objects to this interrogatory because it seeks information that is not related to a matter
23 that is relevant to any party’s claim or defense and proportional to the needs of the
24 case.
25         Notwithstanding the foregoing objections, AHI states that in 2014 the
26 California Bureau of Real Estate filed a complaint against it for allegedly using
27 pictures and information about certain rental properties without permission. The
28 Bureau Commissioner found AHI liable for such conduct on July 1, 2015. AHI,
                                              7
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
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 1 however, is in the process of appealing that decision.
 2 INTERROGATORY NO. 12:
 3         Identify every action You have taken to protect intellectual property owned or
 4 claimed by You, including, without limitation, using copyright or trademark notices,
 5 symbols or other indicators of intellectual property status; using terms of use, terms of
 6 access, terms of service, or licenses; filing for copyright, trademark or patent
 7 protection; engaging in litigation involving copyrights, trademarks or patents; and
 8 engaging in non-litigation communications relating to copyright, trademarks or
 9 patents.
10 RESPONSE TO INTERROGATORY NO. 12:
11         AHI objects to this interrogatory because it is burdensome and harassing as to
12 its scope. AHI objects to this interrogatory because it is compound. AHI further
13 objects to this interrogatory because it is presently pursuing its investigation of the
14 facts and law relating to this case, and has not completed its discovery or preparation
15 for trial. Therefore, this response is being provided without prejudice to AHI’S right
16 to add, modify or otherwise change or amend these responses and is subject to AHI’S
17 right to produce evidence of any subsequently-discovered fact or document.
18         Notwithstanding the foregoing objections, AHI states that it has taken action to
19 protect its intellectual property through the use of (i) a Terms and Conditions
20 agreement that anyone accessing their websites agrees to be bound to by accessing the
21 website and (ii) copyright notices on each of their webpages.
22 INTERROGATORY NO. 13:
23         Identify all Persons You believe to have discoverable information concerning
24 this action and identify the subject matter of that knowledge.
25 RESPONSE TO INTERROGATORY NO. 13:
26         AHI objects to this interrogatory because it is burdensome and duplicative
27 given that it seeks the same information provided in Defendants’ Initial Disclosures.
28 AHI objects to this interrogatory because it is compound. AHI further objects to this
                                              8
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 13 of 183 Page ID
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 1 interrogatory because it is presently pursuing its investigation of the facts and law
 2 relating to this case, and has not completed its discovery or preparation for trial.
 3 Therefore, this response is being provided without prejudice to AHI’s right to add,
 4 modify or otherwise change or amend these responses and is subject to AHI’s right to
 5 produce evidence of any subsequently-discovered fact or document.
 6         Notwithstanding the foregoing objections, the persons AHI currently believes
 7 have discoverable information concerning this action are as follows:
 8
                      Person                            Subject Matter of Knowledge
 9
     Kevin Shayan, employee, Apartment            Apartment Hunters, Inc.’s policies,
10
     Hunters, Inc. Mr. Shayan can be              procedures, and activities; and
11
     contacted through his counsel, Lincoln D.    Mr. Shayan’s personal conduct.
12
     Bandlow, at Fox Rothschild LLP, 1800
13
     Century Park East, Suite 300 Los
14
     Angeles, CA 90067.
15
     Steven Shayan, Chief Executive Officer,      Apartment Hunters, Inc.’s policies,
16
     Apartment Hunters, Inc. Mr. Shayan can       procedures, and activities; and
17
     be contacted through his counsel, Lincoln    Mr. Shayan’s personal conduct.
18
     D. Bandlow, at Fox Rothschild LLP,
19
     1800 Century Park East, Suite 300 Los
20
     Angeles, CA 90067.
21
     Vidmantas Mačys, Manager of UAB              Apartment Hunters, Inc.’s systems and
22
     Apartment Hunters LT, Savanorių pr.          operations.
23
     349, LT-51480 Kaunas
24
25
     Denis Portnov, employee, Apartment           Apartment Hunters, Inc.’s systems and
26
     Hunters, Inc. Mr. Portnov can be             operations.
27
     contacted through Lincoln D. Bandlow, at
28
                                              9
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 14 of 183 Page ID
                                    #:991


 1
     Fox Rothschild LLP, 1800 Century Park
 2
     East, Suite 300 Los Angeles, CA 90067.
 3
     The corporate designee(s) of CoStar.          Plaintiffs believe the designee(s) will
 4
     CoStar’s designee(s) may be contacted         have knowledge of CoStar’s policies,
 5
     through CoStar’s counsel, Kelly L.            procedures, and activities, including
 6
     Perigoe, Caldwell, Leslie & Proctor, PC,      copyright procedures, agreements for
 7
     725 South Figueroa Street, 31st Floor,        sharing of data and information provided
 8
     Los Angeles, California 90017-5525,           by CoStar to third-party licensees,
 9
     213-629-9040, perigee@caldwell-               CoStar’s copyright infringement protocol,
10
     leslie.com                                    and what information and photographs
11
                                                   Defendants’ allegedly have copied.
12
     The corporate designee(s) of Apartments.      Plaintiffs believe the designee(s) will
13
     Apartments’ designee(s) may be                have knowledge of CoStar’s policies,
14
     contacted through Apartments’ counsel,        procedures, and activities, including
15
     Kelly L. Perigoe, Caldwell, Leslie &          copyright procedures, agreements for
16
     Proctor, PC, 725 South Figueroa Street,       sharing of data and information provided
17
     31st Floor, Los Angeles, California           by CoStar to third-party licensees,
18
     90017-5525, 213-629-9040,                     CoStar’s copyright infringement protocol,
19
     perigee@caldwell-leslie.com                   and what information and photographs
20
                                                   Defendants’ allegedly have copied.
21
22
23 Dated: July 28, 2016                        FOX ROTHSCHILD LLP
24
25                                        By
                                               Lincoln D. Bandlow
26                                             Margo J. Arnold
                                               Attorneys for Defendants
27                                             Apartment Hunters, Inc.,
                                               Kevin Shayan, and
28                                             Steven Shayan
                                              10
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
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 1                                   PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
         At the time of service, I was over 18 years of age and not a party to this action.
 4 I am employed in the County of Los Angeles, State of California. My business
 5 address is 1800 Century Park East, Suite 300, Los Angeles, CA 90067-1506.
 6        On July 28, 2016, I served the following document(s) described as
 7 DEFENDANT APARTMENT HUNTERS, INC.’S OBJECTIONS AND
   RESPONSES TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES on the
 8 interested parties in this action as follows:
 9
                                SEE ATTACHED SERVICE LIST
10
11 
     BY MAIL: I enclosed the document(s) in a sealed envelope or package
     addressed to the persons at the addresses listed in the Service List and
12   placed the envelope for collection and mailing, following our ordinary
13   business practices. I am readily familiar with Fox Rothschild LLP practice
     for collecting and processing correspondence for mailing. On the same day
14   that the correspondence is placed for collection and mailing, it is deposited
15   in the ordinary course of business with the United States Postal Service, in
     a sealed envelope with postage fully prepaid.
16
17  BY OVERNIGHT MAIL (FEDEX): I enclosed said document(s) in an
     envelope or package provided by FedEx and addressed to the persons at the
18   addresses listed in the Service List. I placed the envelope or package for
19   collection and overnight delivery at an office or a regularly utilized drop
     box of FedEx or delivered such document(s) to a courier or driver
20   authorized by FedEx to receive documents.
21
      BY PERSONAL SERVICE: I personally delivered the document(s) to
22       the person being at the addresses listed in the Service List. (1) For a party
23       represented by an attorney, delivery was made to the attorney or at the
         attorney's office by leaving the documents in an envelope or package
24       clearly labeled to identify the attorney being served with a receptionist or
25       an individual in charge of the office. (2) For a party, delivery was made to
         the party or by leaving the documents at the party's residence with some
26       person not less than 18 years of age between the hours of eight in the
27       morning and six in the evening.

28
                                              11
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
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 1  BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court
 2      order or an agreement of the parties to accept service by e-mail or
        electronic transmission, I caused the document(s) to be sent from e-mail
 3      address marnold@foxrothschild.com to the persons at the e-mail addresses
 4      listed in the Service List. I did not receive, within a reasonable time after
        the transmission, any electronic message or other indication that the
 5      transmission was unsuccessful.
 6
          I declare under penalty of perjury under the laws of the State of California that
 7 the foregoing is true and correct.
 8
          Executed this 28th day of July, 2016 at Los Angeles, California.
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11                                        Cindy Liu
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     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 18 of 183 Page ID
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 1                                      SERVICE LIST

 2
 3 Nicholas J. Boyle
   David K. Baumgarten
 4 Eric J. Hamilton
 5 Williams and Connolly LLP
   725 Twelfth Street NW
 6 Washington, DC 20005-5901
 7 202-434-5000
   Fax: 202-434-5029
 8 Email: nboyle@wc.com
 9 Email: dbaumgarten@wc.com
   Email: ehamilton@wc.com
10
11 Kelly L. Perigoe
   Caldwell Leslie and Proctor PC
12 725 South Figueroa Street 31st Floor
13 Los Angeles, CA 90017-5524
   213-629-9022
14 Fax: 213-629-9022
15 Email: perigoe@caldwell-leslie.com
16
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     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
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                      EXHIBIT 22
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DAVID BAUMGARTEN
    (202) 434-5929
 dbaumgarten@wc.com




                                               September 9, 2016


    Via Email


     Lincoln D. Bandlow
     Margo J. Arnold
     Fox Rothschild LLP
     1800 Century Park East, Suite 300
     Los Angeles, CA 90067-1506


             Re:      CoStar Realty Information, Inc., et al. v. Apartment Hunters, Inc., et al., No. 8:15-
                      cv-02111-JLS-KES

     Dear Counsel:

            I write on behalf of Plaintiffs CoStar Realty Information, Inc. and Apartments, LLC
    (collectively, “CoStar”) regarding (a) Apartment Hunters, Inc.’s (“AHI”) Response to Plaintiffs’
    Request for Production (“RFP”) No. 34 and (b) the portion of the Joint Stipulation Regarding
    Plaintiffs’ Motion to Compel (the “Stipulation”) submitted on behalf of AHI on Thursday,
    September 1, 2016, and the Declarations provided therewith.

    Defendants’ Response to Plaintiffs’ RFP No. 34

          AHI states that it will “make available in advance of September 29” non-privileged
    documents responsive to RFP No. 34. Please produce all such documents to CoStar by Friday,
    September 16.

    Defendants’ Portion of the Stipulation

            As you have doubtless realized, after receiving and reviewing AHI’s proposed portion of
    the Stipulation, CoStar elected not to immediately file its Motion to Compel and the
    accompanying Stipulation with the Court. This decision was based both on AHI’s failure to
    comply with the Local Rules governing the Stipulation, as well as a number of troubling
    substantive inaccuracies contained within AHI’s proposed portion of the Stipulation. For the
    avoidance of doubt, depending on AHI’s response to the issues raised in this letter, CoStar
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 reserves all rights to either file the present combined draft of the Stipulation or to submit a
 revised portion of the Stipulation to AHI (in which case AHI would, of course, have seven days
 to submit a revised response, consistent with Local Rule 37-2). Thus, while this letter does not
 endeavor to respond to every argument set forth by AHI in its portion of the Stipulation, we write
 to highlight a few issues as to which we believe the parties may yet make progress—and to
 correct the record as to a certain inaccuracies:

         First, AHI’s portion of the Stipulation does not comply with Local Rule 37-2.1, which
 limits each party’s introductory statement to three pages in length. AHI’s introductory statement
 is seven and a half pages. In the event that the parties submit revised portions of the
 Stipulation, please comply with Local Rule 37-2.1.

          Second, citing the accompanying Declaration of Ms. Arnold, AHI asserts that “CoStar’s
 counsel admitted to Defendants’ counsel that its general practice is to send cease and desist
 letters prior to filing a lawsuit and that it strategically opted to not following [sic] this practice
 with Apartment Hunters.” See Stipulation at 22; see also Arnold Decl. at ¶ 2. AHI does not
 state who made this representation, but neither Nick Boyle, I, nor anyone else at Williams &
 Connolly made this statement.1 In the event that the parties submit revised portions of the
 Stipulation, please remove this inaccurate assertion (and also submit a revised declaration that
 removes this inaccurate assertion). If AHI insists on filing a Stipulation and/or Declaration
 containing this assertion following this warning, CoStar will bring the inaccuracy of the
 statement to the Court’s attention and seek appropriate relief.

         Third, AHI’s primary excuse for its failure to produce documents responsive to RFP Nos.
 2, 3, and 4 rests on its assertion—never before raised in the meet-and-confer process—that
 CoStar has failed to identify the specific locations on AHI’s network of websites at which
 Defendants published CoStar’s photographs and information. AHI’s assertion is false. As the
 below examples illustrate, CoStar has, in multiple ways, already identified its photographs and
 information that Defendants copied and published:

          AHI assertion: “Exhibit A, however, does not identify where on Apartment Hunter’s
          [sic] website the photos allegedly were seen.” See Stipulation at 4-5.

                   Reality: The first column in Exhibit A to CoStar’s Complaint is titled “Location
                   (URL) of Listing Displaying Infringing Photos,” and provides the URL for
                   each of the 26 listings in which the 93 photos identified in Exhibit A were
                   included. See Exhibit A (attached as Ex. A). Moreover, because Defendants use
                   a standard format for creating URLs for the website www.apartmenthunterz.com,
                   each of those URLs contains a unique nine-digit “Listing ID”—i.e., a unique

 1
  On a meet-and-confer call, in response to a question from Mr. Bandlow, Mr. Boyle stated that while CoStar’s
 practice was to send cease-and-desist letters where infringement appears to be inadvertent or innocent, it does not do
 so where infringement appears to be deliberate and systematic. If you wish to bring that statement to the Court’s
 attention, we have no objection.
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                  number created by AHI and presumably used to identify and track listings—
                  providing AHI with another means of identifying the sample of infringing
                  photographs identified in the Complaint. In addition, the second column in
                  Exhibit A provides the full address of each of the 26 properties featured in the 93
                  sample infringing photographs. And the final column in Exhibit A, titled
                  “CoStar-Copyrighted Photos As Displayed on ApartmentHunterz.com,” contains
                  thumbnail copies of each of the 93 infringing photographs.

                         Thus, Exhibit A not only “identif[ies] where on [AHI’s] website the
                  photos allegedly were seen,” but provides AHI with four separate data
                  points—the listing URL, the unique listing ID, the property address, and the
                  thumbnail photos—to identify the sample photographs and listings identified in
                  the Complaint.2

         AHI assertion: “CoStar has failed to tell Apartment Hunters in discovery (or the Court in
         its Complaint) what information was misappropriated. In fact, CoStar has not produced a
         single page of ‘evidence’ or discovery documents to identify what type of sensitive
         information was allegedly misappropriated, or where it allegedly resided.” See
         Stipulation at 4.

                  Reality: Defendants’ Interrogatory No. 2 asked CoStar to identify “each and every
                  listing you claim Defendants copied, reproduced, published, or used without your
                  permission”—i.e., to identify the information Plaintiffs claim that Defendants
                  misappropriated. In response, CoStar provided a list of 31 specific property
                  names and addresses for which CoStar is presently aware of Defendants’ having
                  copied and published listings. See CoStar Resp. and Obj. to AHI’s 1st
                  Interrogatories, June 3, 2016 (Ex. B).

                          CoStar further stated that pursuant to Fed. R. Civ. P. 33(d), the “written
                  content used in each listing” could be derived from documents that Defendants
                  intended to produce. See id. On July 21, 2016, CoStar produced screen captures
                  of each of those 31 listings—displaying the misappropriated written
                  information—as they appeared on Defendants’ websites.3 And in the cover letter
                  accompanying that production, CoStar supplemented its Response to
                  Interrogatory No. 2 to explicitly identify these documents to AHI, stating:




 2
   The foregoing is more information than AHI’s own terms of service require of a copyright owner submitting a
 takedown notice to AHI pursuant to Section 512(c) of the Digital Millennium Copyright Act. See AHI_000249 at 4.
 3
  See CoStar_0000156, _000157, _000161, _000165, _000169, _000173, _000177, _000182, _000187, _000192,
 _000197, _000201, _000205, _000209, _000213, _000219, _000224, _000227, _000231, _000235, _000242,
 _000246, _000250, _000255, _000259, _000263, _000267, _000272, _000277, _000281, _000396, and _000397.
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                       The “written content used” in each listing referenced in CoStar Realty
                       Information, Inc.’s and Apartments, LLC’s respective Responses to
                       Interrogatory No. 2 may be derived or ascertained from the documents
                       bearing Bates numbers COSTAR_0000157 through COSTAR_0000282
                       and COSTAR_0000396 through COSTAR_0000397.

                See Baumgarten Lttr to Bandlow and Arnold, July 21, 2016 (Ex. C).

                        Each of these 31 screen captures produced by CoStar displays a
                “Listing ID”—i.e., the unique number Defendants use to identify each of
                their listings—on the top navigation bar. See, e.g., CoStar_0000169 (Shelley
                Court listing, displaying “Listing ID: 143839739”) (Ex. D). As noted above,
                because Defendants’ websites employ a standard URL format, the Listing IDs
                also functionally provided AHI with the URL at which each of the 31 listings
                containing misappropriated information was published.

                        In sum, CoStar has served written discovery responses identifying the 31
                listings (of which it is presently aware) published by AHI that contain
                misappropriated information; produced screenshots of each of those 31 listings
                displaying the misappropriated information and a unique Listing ID (and
                containing the information required for AHI to determine the URL at which each
                listing was published); and identified the Bates ranges at which those screenshots
                were produced.

        In addition, AHI’s portion of the Joint Stipulation focuses entirely on the sample
 photographs and listings identified in Exhibit A, see, e.g., Stipulation at 4-5, 23—even though
 CoStar has subsequently identified additional examples of Defendants’ infringement and
 misappropriation beyond those identified in Exhibit A.

       As discussed above, in response to AHI’s Interrogatory No. 2, CoStar set forth 31 listings
        for which CoStar presently believes Defendants have misappropriated listing information
        (the majority identified in Exhibit A, as well as some additional newly-identified
        listings). See Ex. B.

       Similarly, in response to AHI’s Interrogatory Nos. 1 and 3, CoStar identified the 39
        listings (of which it is presently aware) that contain photographs Defendants copied,
        reproduced, published, or used without CoStar’s permission (again, the majority were
        identified in Exhibit A, as well as some additional newly-identified photographs). See
        Appx. A to CoStar Resp. and Obj. to AHI’s 1st Interrogatories, June 3, 2016 (Ex. E).

 In total, CoStar has identified 40 listings on Defendants’ websites containing a total of 124
 infringing photographs and/or misappropriated listing information. Through its Complaint,
 discovery responses, and productions, provided AHI with full addresses for all 40 listings,
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 thumbnail or full-size versions of all 124 copyrighted photographs, and URL and/or unique
 Listing IDs for 37 of the 40 listings at issue.4 AHI should be searching for documents relating to
 all of those listings and photographs, as well.

          Frankly, we are uncertain why AHI would make the above-described baseless assertions
 (along with numerous other similar claims as to CoStar’s purported failures to identify the
 misappropriated photos and information at issue) and ignore CoStar’s detailed written discovery
 requests which identify and describe additional instances of misappropriation and infringement.
 The most likely explanation is that AHI is again engaging in the pattern of gamesmanship—
 described in CoStar’s portion of the joint stipulation—that has characterized AHI’s prior
 litigations. In any event, though not obligated to do so, CoStar will provide AHI with yet
 another chance to produce documents responsive to RFP Nos. 2, 3, and 4, now that CoStar has
 highlighted the above identifying information that has long been in AHI’s possession and
 provided the limited items of additional information set forth in note 4 supra. Please produce
 documents responsive to RFP Nos. 2, 3, and 4 by Friday, September 16; if AHI fails to do so,
 CoStar will submit a revised Stipulation.

         Fourth, AHI’s portion of the Stipulation contains a handful of additional representations
 that demonstrably misstate or mischaracterize the factual record. In the event that the parties
 submit revised portions of the Stipulation, please revise the following representations. If AHI
 insists on submitting to the Court a Stipulation including these disingenuous assertions following
 this warning, CoStar will bring the inaccuracy of these assertions (and CoStar’s request that they
 be corrected) to the court’s attention and seek appropriate relief.

         AHI asserts that CoStar has not met-and-conferred with AHI about its review status and
          is making an “end-run around any informal resolution methods.” See Stipulation at 7; see
          also id. 27-28. In reality, in addition to participating in lengthy meet-and-confer calls on
          May 4, 2016 and June 7, 2016, counsel for CoStar sent no fewer than nine emails and
          letters in the past few months regarding AHI’s disclosure failures and discovery
          responses (all cited as exhibits to the Stipulation) prior to sending AHI its portion of the
          Stipulation. In contrast, AHI spends much of its portion of the Stipulation complaining
          about CoStar’s production shortcomings—despite never before raising any complaints
          (let alone asking for a meet-and-confer) regarding CoStar’s productions to date.5


 4
  The three listings for which CoStar has not previously provided a URL or Listing ID were identified in CoStar’s
 Response to Interrogatory Nos. 1 and 3. See Ex. E. The addresses and Listing IDs of these listings are:
       Mariner's Point, 319 Caspian Way, Imperial Beach, CA 91932: Listing ID – 146283335
       Park Heights, 2011 Arden Ave, Highland, CA 92346: Listing ID – 147674141
       Serra Bella Apartments, 2707 Mission Village Dr, San Diego, CA 92123: Listing ID – 137157408
 Full size captures of the copyrighted photographs displayed without authorization in these listings were produced in
 July. See CoStar_0000115 to _0000122; CoStar_0000148 to _0000149; CoStar_0000124 to _0000127.
 5
  On July 14, 2016, Defendants suggested that if CoStar provided screenshots of its photos and listings as they
 appeared on Defendants’ websites, such screenshots would help Defendants locate such responsive documents.
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        AHI asserts that, “[c]ontrary to CoStar’s conclusory allegations,” AHI has produced
         agreements with third parties For Rent Media Solutions and Move Sales, Inc. See
         Stipulation at 7. In reality, CoStar explicitly references AHI’s production of those two
         agreements—and explains (not for the first time) why they are not plausibly relevant to
         the issues at bar: In short, neither third party provided CoStar content to Defendants. See
         Stipulation at 30; see also Baumgarten Lttr to Bandlow, July 15, 2016. Meanwhile, AHI
         still has not responded to CoStar’s repeated explanation as to the irrelevance of these two
         feed agreements.

        AHI asserts that it has “produced in excess of 5000 pages of documents to date”
         including “copies of the [listing] feeds from . . . third parties.” See Stipulation at 5. But
         AHI admitted more than two months ago that 107 of the 121 (now 122) documents it had
         produced were listing feeds from April and May 2016—and that it had yet to produce any
         listing feeds from January 1, 2014 to the day of the filing of the lawsuit. See Arnold
         Letter to Baumgarten, June 22, 2016. Moreover, as CoStar explained, those 107 files
         were effectively unreadable without AHI’s proprietary software. Yet when Costar asked
         for access to such software, AHI ignored the request. See Baumgarten Letter to Arnold,
         June 13, 2016. Removing those 107 unreadable files that AHI admits are unrelated to the
         sample listings and photographs CoStar initially identified in Exhibit A, AHI has
         produced just 148 pages of documents, not “in excess of 5,000.”

        AHI repeatedly suggests that CoStar is only seeking to hold Defendants liable for
         photographs and listings that appeared on Defendants’ websites in October and
         November 2015. See Stipulation at 8, 22, 23. In reality, CoStar’s Complaint alleges, on
         information and belief, that Defendants’ infringement and misappropriation was ongoing.
         See Complaint ¶ 14, 133, 142. Moreover, the listings CoStar identified in its Responses
         to AHI Interrogatory Nos. 1, 2, and 3—each containing both infringing copyrighted
         photographs and misappropriated listing information—include listings discovered by
         CoStar in March 2016, long after the Complaint was filed.6

        Fifth, as you should be aware, at the time CoStar served the Complaint on Defendants, it
 also hand-delivered letters reminding Defendants of their preservation obligations, including

 CoStar promptly produced the requested screenshots just a week later, on July 21, 2016. In the ensuing five months,
 AHI was entirely silent regarding this production and never suggested that there were any flaws with the
 screenshots, including in Ms. Arnold’s recent letter asking CoStar to table the motion. See Arnold Letter to Boyle,
 August 26, 2016. Nonetheless, AHI now complains in its portion of the Stipulation, for the first time, that
 shortcomings with the format of CoStar’s screenshots are somehow to blame for its own lack of productions.
 6
   AHI’s ongoing misconduct, months after the Complaint was filed gives the lie to its already paper-thin
 protestations of innocence, as well as undercutting AHI’s assertion that its failure to identify misappropriated
 conduct is somehow attributable to CoStar’s decision to file suit only after concluding its investigation of AHI’s
 widespread infringement. Moreover, AHI’s failure to produce misappropriated listings that it published well after
 the Complaint was filed strongly supports CoStar’s suspicion, discussed in further detail below, that AHI has
 engaged in spoliation.
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 without limitation that AHI both “suspend any routine document-destruction policies and switch
 off any function that could result in the automatic deletion of relevant documents, including
 without limitation the automatic deletion of email or website content” and “immediately take
 affirmative actions to preserve the entire content of the Apartment Hunters Websites as they
 exist today, to preserve any currently existing prior content, and to ensure that, going forward,
 all website content is preserved.” See Boyle Lttr to AHI, December 18, 2016 (Ex. F) (emphases
 added). AHI’s portion of the stipulation suggests that it has ignored these obligations and
 requests:

       AHI states that it “periodically purges content,” that it “only stores the most recent listing
        information for a property… [and] removed content is not backed up.” See Stipulation at
        23-24. Did AHI disable the automatic purging function on its websites, as instructed,
        upon receipt of the Complaint and above-referenced letter?

       AHI states that it “preserved a copy of the property listings identified by CoStar” and
        “‘froze’ the listings at issue.” See Stipulation at 24-25. Why did AHI decline to preserve
        the entirety of its websites, as instructed by CoStar, and as AHI was obligated to do,
        given CoStar’s allegations that the identified infringing photographs and
        misappropriated listings were only illustrative samples of what CoStar had reason to
        believe was broad, systematic unauthorized copying and publishing by Defendants?

         CoStar reserves all rights regarding any spoliation in which AHI has engaged, and will
 interpret AHI’s failure to respond to these queries as an admission that spoliation has occurred.

         Sixth, as you are aware, CoStar’s Complaint alleged that at least nine websites owned or
 operated by Defendants had infringed CoStar’s copyrighted photographs and misappropriated
 CoStar’s listing information. See Complaint ¶¶ 13-14. The above-referenced preservation letter
 sent to Defendants therefore instructed them to take the above-described preservation steps as to
 all nine of those “Apartment Hunters Websites.” See Ex. F. Defendants admitted in their
 Answer that AHI “owns and operates” seven of those websites (ApartmentHunterz.com,
 4rentinla.com, wetakesection8.com, ifindrentals.com, featuredrentals.com, leaseinsandiego.com
 and rentsinsanfrancisco.com). See Defendants’ Answer at ¶ 13.

         Accordingly, CoStar’s RFPs sought documents relating to the broad set of websites
 CoStar believes Defendants to own or operate, using “website” as a defined term that
 encompassed the entire collection of Defendants’ websites. See CoStar’s First Set of Requests
 For Production to AHI, March 21, 2016 at Definition 13. AHI initially objected to this
 definition, see AHI’s Response and Objections to Plaintiffs’ First Set of [sic] Production of
 Documents, April 20, 2016, at General Objection 16. During the ensuing meet-and-confer,
 counsel for AHI explained that this objection was made because the individual Defendants, not
 AHI, owned and operated the referenced collection of websites—an assertion that contradicted
 Defendants’ Answer. See Baumgarten Lttr to Bandlow, May 9, 2016. In any event, CoStar
 explained that this objection would cause CoStar to simply serve identical RFPs on the
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 individual defendants, and AHI stated that it would reconsider its objection. See id. AHI then
 removed its objection to the defined term “website” from its Supplemental Responses and
 Objections to Plaintiffs’ First Set of [sic] Production of Documents, served on May 19, 2016.
 Thus, AHI already agreed to search for and produce responsive documents relating to the entire
 collection of websites owned or operated by Defendants (whether by the individuals or AHI).

        Moreover, CoStar has identified four listings in its Responses to Interrogatory Nos. 1, 2,
 and 3—each containing both infringing copyrighted photographs and misappropriated listing
 information—that appeared on websites other than www.apartmenthunterz.com. See Exs. B and
 E.7 Defendants admitted to owning and operating all three of the sites on which these listings
 appear, see Answer at ¶ 13, and have no basis to exclude them from the scope of discovery.

          Nonetheless, in its portion of the Stipulation, when discussing the limited preservation
 steps it has taken, AHI repeatedly refers to “Apartment Hunters’ website,” see e.g., Stipulation at
 23, suggesting that it has only attempted to preserve portions of www.apartmenthunterz.com, but
 not the other websites referenced in CoStar’s Complaint, December 18, 2016 preservation letter,
 and RFPs. Please clarify whether Defendants have (1) preserved portions of any website other
 than www.apartmenthunterz.com or (2) searched for responsive documents relating to any
 website other than www.apartmenthunterz.com.

                                                      ###

        In summary, CoStar asks that AHI do the following by September 16, 2016, which
 CoStar remains hopeful will help it narrow the scope of the discovery dispute requiring the
 Court’s intervention. CoStar reserves all rights in connection herewith.

        Produce all documents responsive to RFP No. 34.

        Produce all documents responsive to RFP Nos. 2, 3, and 4.

        Answer the questions posed by CoStar as to the fifth and sixth issues above (pp. 6-8).

  Formal                                              Sincerely,



                                                      David K. Baumgarten


 7
   The four listings are (1) Bayside Apartments, 530 Sunnyview Dr., Pinole, CA 94564 (4rentinla.com, Listing ID
 149466050), see CoStar_0000177; (2) New Hampshire Commons, 90 Corbin Ct., Lakewood, NJ 08701
 (4rentinnewyork.com, Listing ID 136265918), see CoStar_0000213; (3) Canyon Crest, 5200 Chicago Ave.,
 Riverside, CA 92507 (www.ifindrentals.com, Listing ID c51ynp91), see CoStar_0000156; CoStar_0000396; and (4)
 Mission Garden Apartments, 3850 Skofstad St., Riverside, CA 92505 (www.ifindrentals.com, Listing ID c515pdip),
 see CoStar_0000397.
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                      EXHIBIT 23
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 LINCOLN D. BANDLOW
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 September 16, 2016

 VIA E-MAIL

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 David K. Baumgarten
 Eric J. Hamilton
 Williams and Connolly LLP
 725 Twelfth Street NW
 Washington, DC 20005-5901

 Kelly L. Perigoe
 Caldwell Leslie and Proctor PC
 725 South Figueroa Street 31st Floor
 Los Angeles, CA 90017-5524

 Re:       Costar Realty Information, Inc. et al. vs. Apartment Hunters, Inc. et al. - Case No.
           8:15-cv-02111-JLS-KES

 Dear Counsel:

         This letter is in response to your September 9, 2016, letter regarding Apartment Hunters,
 Inc.’s Response to Plaintiffs’ Request for Production No. 34 and the draft Joint Stipulation
 Regarding Plaintiffs’ Motion to Compel.

         First, with regard to Defendants’ Response to Plaintiffs’ RFP No. 34, Defendants are not
 currently aware of any responsive documents within their possession custody and control. As the
 Rule 30(b)(6) designee will explain when you undoubtedly ask during the upcoming deposition,
 many internal policies and procedures are conveyed orally and not documented.

         Second, with respect to Defendants’ Portion of the Stipulation, your accusation that
 Defendants’ assertions are false is unfounded. Plaintiffs may not like the reality that based on
 the information provided Defendants cannot locate the infringing content in their files, but that’s
 what it is. Due to changes in Defendants’ website that altered how information is categorized,
 having the “Listing ID” or the general webpage for a listing is not enough to pull up anything
 specific from that listing, such as one of the thousands of photographs that may be linked to it.
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 Partial information such as the website address, Listing ID, or copies of the allegedly infringing
 photo that don’t show the image on apartmenthunterz.com, do not provide Defendants with a
 clue to begin searching the files for the specific images and information at issue. Similarly,
 identifying a property as allegedly having misappropriated information without identifying what
 the misappropriated information is, gives Defendants no information about how to locate the
 source of such alleged misappropriation.

         Presumably, you’ve provided all the documents you have about the allegedly infringing
 photographs and misappropriated information. With a handful of exceptions, these documents
 consist of portions of screenshots and do not give Defendants complete information as to where
 this information was on apartmenthunterz.com. Defendants do not contend that they have
 abandoned searching for this information; to the contrary, they are diligently endeavoring to
 locate the listings at issue. But because this is a needle in a haystack search, given the plethora
 of data that flows through an apartment rental website, this process is extremely time consuming.

          Third, you indicate that there are allegedly infringing images appearing on
 apartmenthunterz.com as recently as March 2016. I am baffled that you chose to mention this for
 the first time in a footnote instead of immediately bringing this to counsel’s attention. If
 Defendants had been made aware of this information as it existed on their website, they would
 have immediately been able to ascertain its source. Plaintiffs, however, chose to sit on this
 information, putting my clients at a tremendous disadvantage. Given that this is not the first time
 that Defendants have chosen to tactically withhold information instead of notifying Defendants
 about immediate infringement, it appears the only gamesmanship is coming from your end.

        Fourth, as I have previously stated, counsel is not answering your litigation preservation
 questions. You will have the opportunity to ask those questions to Apartment Hunters’ designee
 on September 29.

        Fifth, if Plaintiffs choose to resubmit their motion, Defendants request that a pre-filing
 conference of counsel pursuant to Local Rule 37-1 first occur. Since counsel will all be in the
 same location on September 29 for the Rule 30(b)(6) deposition of Apartment Hunters, Inc., I
 would suggest the conference occur after the deposition, should it still prove to be necessary.

                                                       Very truly yours,



                                                       Lincoln D. Bandlow
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                                   #:1008




                      EXHIBIT 24
      Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 32 of 183 Page ID
                                         #:1009
Baumgarten, David
From:                       Baumgarten, David
Sent:                       Wednesday, September 21, 2016 6:06 PM
To:                         Bandlow, Lincoln; Arnold, Margo J.
Cc:                         Boyle, Nicholas; Hamilton, Eric; Kelly Perigoe
Subject:                    CoStar v. Apartment Hunters
Attachments:                2016.09.21 - Photograph URLs.pdf


Lincoln and Margo, 
 
Thank you again for this morning’s productive meet‐and‐confer call.  While CoStar still believes that the issues we 
discussed are ripe for the Court’s resolution (and have been for some time), we will agree to your request to not re‐
serve a Joint Stipulation regarding CoStar’s Motion to Compel prior to the 30(b)(6) deposition of Apartment Hunters, Inc. 
(“AHI”) next week, in case that deposition is able to further narrow the issues in dispute. 
 
I also want to quickly follow up on our discussion of Defendants’ explanation of their inability to locate documents 
relating to CoStar’s photographs and listing information.  You told us that while there is no additional information that 
CoStar can provide to help Defendants identify the source of the CoStar listing information, Defendants believe that 
CoStar’s identification of the underlying URLs for each specific infringing photograph would help Defendants locate 
CoStar’s photographs in their system.  This clarification was very helpful, as Defendants had never previously explained 
that each photograph was published at a unique URL, in addition to on the main listing page.  While we do not have a 
complete record of URLs for each individual photograph (as we had no reason to believe that such information would be 
necessary), we have located URLs for 34 of the 126 infringing photographs identified to date by CoStar (which were 
published in 16 different listings).  See Appx. A to CoStar’s Response & Objections to AHI’s Interrogatories.  A chart 
setting forth that information is attached. 
 
We ask that Defendants endeavor to produce any documents located based on the information in the attached chart by 
next Wednesday, September 28, 2016.  If Defendants are still unable to produce any documents related to the CoStar 
content that appeared on their websites, we ask that AHI’s corporate representative be prepared to explain during the 
30(b)(6) deposition on Sept. 29 why the information in the attached chart did not allow Defendants to locate any 
relevant documents. 
 
Thank you, 
 
David Baumgarten 
Williams & Connolly LLP 
725 Twelfth Street, N.W., Washington, DC 20005 
(P) 202‐434‐5929 | (F) 202‐434‐5029 
dbaumgarten@wc.com | www.wc.com/dbaumgarten 
 




                                                            1
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                                   #:1010




                      EXHIBIT 25
    Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 34 of 183 Page ID
                                       #:1011




DAVID K. BAUMGARTEN
     (202) 434-5929
  dbaumgarten@wc.com




                                                  July 15, 2016

      Via E-mail

      Lincoln D. Bandlow
      Margo J. Arnold
      Fox Rothschild LLP
      1800 Century Park East, Suite 300
      Los Angeles, CA 90067-1506

                Re:    CoStar Realty Information, Inc., et al. v. Apartment Hunters, Inc., et al., No. 8:15-
                       cv-02111-JLS-KES

      Dear Lincoln and Margo,

            I write in response to your June 22, 2016, letter regarding the adequacy of the production
      made by Defendant Apartment Hunters, Inc. (“AHI”) in the above-captioned matter.

              As set forth in more detail below, in more than three months since Plaintiffs CoStar
      Realty Information, Inc. and Apartments, LLC (collectively, “CoStar”) served discovery requests
      on AHI, AHI has produced just seven responsive documents from its files, from a single
      custodian. This deficient production contains neither “valid third party agreements” authorizing
      AHI’s use of CoStar listings and photographs (which AHI has repeatedly promised to produce)
      nor a single e-mail (which you represent not to exist based on a demonstrably untrue assertion).
      Combined with AHI’s past history of failing to produce key documents in litigation, AHI’s
      limited and insufficient production strongly suggests that AHI has failed to preserve documents
      and/or failed to undertake a reasonable search for documents.

               As you know, civil litigation, and the discovery process in particular, works only if there
      is a good faith effort to comply with obligations—and counsel are obligated to ensure their
      clients participate in good faith. Accordingly, CoStar sets forth several questions at the close of
      this letter regarding AHI’s compliance with its discovery obligations, and asks that AHI provide
      a detailed written response to those questions by Friday, July 22, 2016. CoStar also requests
      that you preserve all documents and communications in your or your clients’ possession,
      custody, or control relating to your client’s preservation and production responsibilities, and the
      steps both you and your clients have taken to comply with those obligations. CoStar reserves all
      rights to seek Court intervention and/or sanctions, including without limitation seeking formal
      discovery from counsel concerning its role in AHI’s response to CoStar’s discovery requests.
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                                   #:1012


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 Page 2

 I.       Plaintiff’s Requests, AHI’s Reponses, and AHI’s Production to Date

         On March 21, 2016, CoStar propounded thirty-three document requests to AHI (the
 “Requests”). AHI submitted its initial Response and Objections to the Requests on April 20,
 2016. Following a telephonic meet and confer on May 4, 2016, AHI withdrew many of its initial
 objections and agreed to produce documents responsive to all but two of the Requests. See
 Defendant Apartment Hunters, Inc., Supplemental Responses and Objections to Plaintiffs’ First
 Set of [Requests For] Production of Documents (May 19, 2016) (“AHI’s Supplemental
 Responses”).

       On May 27, 2016, AHI produced 121 documents—its first and only production to date.
 The contents of that production are as follows:

      One hundred and seven (107) of these documents were unreadable native files, which also
       lacked basic metadata, including custodian and date information. Upon our inquiry, you
       informally represented to be “seed files” for AHI’s listings. We raised numerous questions
       regarding these files during a second telephonic meet and confer (on June 7, 2016) and in a
       follow-up letter (dated June 13, 2016). On June 22, you informed us that these files were
       created between four and five months after CoStar brought this lawsuit—effectively
       conceding that the files are irrelevant and non-responsive (in addition to being unreadable).

      Of the other fourteen documents produced, six were publically available domain registry
       records (which appear to have been created for the purpose of this litigation by entering
       website names into the website <https:whois.icann.org/en>). And one additional document
       was a duplicate.

         Accordingly, AHI has produced just seven responsive documents from its files, from a
 single custodian. And none of those documents directly concern AHI’s copying of CoStar’s
 content.1

 II.      AHI Has Not Produced Any “Valid Third Party Agreements,” Despite Counsel’s
          Repeated References to These Purportedly Exculpatory Agreements

         Over the last four months, Defendants have repeatedly represented to CoStar—and to the
 Court—that it possesses “valid third party agreements” authorizing AHI to publish CoStar’s
 listings and photographs. See, e.g., Joint Report of the Parties’ Rule 26 Planning Meeting, Part
 1(b) (Defendants’ Statement) (March 18, 2016). And Defendants have repeatedly assured
 CoStar, both informally and through AHI’s discovery responses, that they will produce these
 purported agreements in short order.


 1
   These seven documents consist of: (a) four agreements with AHI’s back-end service providers (Amazon Web
 Services, Google AdWords, and LiveChat); (b) one document pertaining to AHI’s 2014 application to renew its
 (suspended) Prepaid Rental Listing Service license with the California Bureau of Real Estate; and (c) two content-
 sourcing agreements which are unrelated to CoStar.
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 Page 3

        Yet, AHI has not produced a single document substantiating its claim that it was
 authorized to publish CoStar’s listings and photographs. As we have explained, the two content-
 sourcing agreements AHI has produced to date have no bearing on this case.2

       We ask that you confirm whether or not AHI possesses any additional content-sourcing
 agreements that it believes authorize it to publish CoStar’s listings and photographs, and if so, to
 produce such documents immediately.3

 III.    AHI Has Not Produced a Single E-mail, and the Recent Purported Explanation for
         the Lack of E-mails is Demonstrably False.

         CoStar’s Requests call for the production of e-mails. See Requests, Definitions 5, 8.
 There is no doubt that internal AHI e-mails, AHI e-mails with third party service providers
 (including content providers), and AHI e-mails with customers are all responsive to numerous of
 CoStar’s Requests. See, e.g., Request Nos. 3, 4, 6, 8, 9, 20. And AHI has agreed to produce
 documents responsive to such requests. See AHI’s Supplemental Responses.4 Thus, during our
 second telephonic meet and confer (on June 7, 2016) and in a follow-up letter (dated June 13,
 2016), we expressed surprise and concern that AHI had not produced a single e-mail.

         During the meet and confer, you represented that you would speak with AHI regarding its
 efforts to locate responsive e-mails. In your most recent letter, you then represented that “there
 are no e-mails responsive to CoStar’s document requests” because AHI “is a three-person
 company that primarily interacts through oral communications.” Arnold Lttr to Baumgarten
 (June 22, 2016) at 2. This facially implausible explanation for AHI’s failure to produce a single
 e-mail is, moreover, refuted by representations made, and documents submitted, by AHI and its
 principals in prior litigation.

        As an initial matter, AHI is not a three-person company—but rather a three-office
 company with, it appears, at least two dozen employees. In his recent (2015) testimony before
 the California Bureau of Real Estate (the “CalBRE”), Kevin Shayan disclosed that in addition to

 2
  ForRent is a CoStar competitor to which CoStar does not provide its listings. The content sources in the
 Move/ListHub license (Exhibit C-1) do not include CoStar or any entity to which CoStar has licensed its content,
 and CoStar had no relationship with Move at the time of the infringement at issue.
 3
   To be clear, CoStar does not believe that any such agreements exist, which would explain AHI’s failure to produce
 them, and underscore AHI's lack of a liability defense in this case.
 4
   CoStar requested documents and communications relating to the source of the CoStar-owned listings and
 photographs published on AHI’s website, permission received to make those publications, and software used to copy
 and publish those listings. Request Nos. 3, 4, 6. CoStar requested documents and communications relating to the
 methods AHI uses to populate its websites with listings and photographs. Request No. 8. CoStar requested
 documents and communications relating to the individuals and entities that AHI has engaged to collect apartment
 listings and photographs. Request No. 9. CoStar requested AHI’s communications with customers relating to
 CoStar. Request No. 20. CoStar requested communications relating to complaints, including from customers,
 regarding AHI’s unauthorized copying of apartment listings and photographs (AHI has objected to producing
 customer complaints). Request No. 27.
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 AHI’s Orange County home office (where the Shayan brothers work), AHI has offices in
 Lithuania and Russia. See Ex. A (Hr’g Tr., Case No. H-39404, Feb. 25, 2015) at 222. Kevin
 Shayan further testified that:

        AHI owns and controls Apartment Hunters LT, a subsidiary run in Kaunas, Lithuania by
         Vidmantas Macys, which has “16 or 17 Lithuanian employees,” id. at 246, including “a
         bunch of young men who sit down and program [AHI’s website],” id. at 247.

        AHI has at least one employee in its Russian office, Dennis Portnov. Id. at 223.

        AHI employs “six support ladies” to answer incoming customer calls; Shayan did not
         specific those employees’ location. Id. at 214.

         It strains credulity to believe that any 21st Century technology-driven company with two
 dozen employees in three different offices would conduct its business primarily via oral
 communications. The fact that ten time zones separate Messrs. Shayan and Shayan in Los
 Angeles from AHI’s Lithuanian and Russian offices only magnifies the impracticality, if not
 impossibility, of such an arrangement, particularly given that Kevin Shayan testified that he and
 his brother supervise their overseas employees “on a daily basis.” Ex. A at 225. Indeed, Kevin
 Shayan repeatedly emphasized that AHI is an “internet-based company,” id. at 241-43, further
 underscoring the implausibility that AHI’s employees do not communicate by e-mail. See also
 Ex. B (Proposed Decision, Case No. H-39404, May 27, 2015) at ¶ 24. In sum, the representation
 that AHI’s employees do not use e-mail for internal AHI communications is not credible.

         Moreover, Kevin Shayan’s testimony in the CalBRE matter, along with various
 documents submitted as in the same proceeding, directly establishes that AHI regularly uses e-
 mail to communicate with both customers and the sources of its listings:

    Kevin Shayan authenticated, and AHI entered into evidence, an e-mail chain in which he
     (using the e-mail address kevin@apartmenthunterz.com) and Macys (using the e-mail
     address affiliate@apartmenthunterz.com) corresponded with employees of the real estate
     listing website Trulia regarding entering into a referral agreement. Ex. A at 198-199 & Ex.
     C. This e-mail is directly responsive to Request No. 8, but has not been produced in this
     matter.

    Shayan also testified that each website owned and operated by AHI and/or the Shayans has
     its own e-mail address (for the purpose of receiving customer e-mails). Ex. A at 189.

    Shayan testified that AHI regularly send e-mails to landlords and management companies to
     ask permission to republish their listings and photographs. Id. at 201-202, 216-218. An
     affidavit executed by Macys further explained that AHI uses “a sophisticated automated
     system” to send e-mails to management companies when it collects apartment listings and
     track those companies’ responses to its e-mails. Ex. D at 4-5. Though a sample e-mail
     submitted by AHI did not display an e-mail address, a spreadsheet prepared and submitted by
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       AHI purported to show that these e-mails are sent from the address
       landlord@apartmenthunterz.com. Ex. D at 1-2. E-mails with the sources of AHI’s listings
       would be responsive to Request No. 8 (as well as Request Nos. 3 and 4, to the extent the e-
       mails concern CoStar Listings or CoStar Photographs, as those terms are defined in the
       Requests), but none have been produced in this matter. Shayan also testified that AHI
       maintains spreadsheets that log authorizations to publish listings. See Ex. A at 219-220.
       Such spreadsheets similarly would be responsive to Request No. 8 (and potentially Request
       Nos. 3 and 4), but none have been produced in this matter.

      According to Shayan’s testimony, AHI also has an e-mail system integrated into its customer
       support capabilities. Id. at 214 (“The calls are recorded where we can listen to the audio file,
       as well they’re transcribed in a text and into a ticketing system. So we have a ticketing
       system, audio recording system, and then we also have an e-mail system, and we have a
       very accurate tracking system that shows us from the time of customers calling in or making
       a ticket request, to the time that we reply to their request.” (emphasis added)).5 Customers’
       e-mails to AHI are potentially responsive to Request Nos. 20 and 27, but none have been
       produced in this matter.

      Shayan testified further that the employees in AHI’s Lithuanian office “sit down and
       program the website. They data entry, type, validate, and check the listings. They make
       sure the e-mails have gone out. The e-mails have been replied to.” Id. at 247-48 (emphasis
       added). Yet not one such e-mail from AHI’s Lithuanian team relating to listings (Request
       Nos. 2, 3, 6, and 8) or customers (Request Nos. 20 and 27) has been produced in this matter.

         In sum, the foregoing testimony and documents (which are necessarily limited, in that
 they relate to another case) by themselves confirm that (a) AHI conducts its business, both
 internally across its multiple offices and employees, and externally with listing sources and
 customers, via e-mail, and (b) in particular, AHI sends and receives e-mails responsive to many
 of CoStar’s discovery requests. As noted above, AHI has stated that it will produce documents
 responsive to the vast majority of CoStar’s Requests. AHI cannot now avoid producing
 responsive documents by falsely claiming to be a three-person company that communicates
 “primarily” orally.

 IV.      AHI’s History of Failing to Produce Key Documents in Litigation

         AHI’s prior document production shortcomings in connection with the 2015 CalBRE
 proceeding cast further doubt upon the adequacy of its production, and the reliability of its
 representations, in this litigation. In that matter, AHI did not produce the purported e-mail at the
 core of its defense, instead representing that it had been deleted as part of a routine document
 purge. The presiding administrative law judge found Kevin Shayan’s testimony that the e-mail
 5
  Shayan specifically testified that AHI accepts customer requests for payment refunds by e-mail, id. at 232, and
 sends e-mails to customers confirming refunds when processed, id. at 215. See also id. at 253 (testifying regarding
 e-mails relating to refunds). No such refund requests or confirmations have been produced in this matter, nor have
 any audio recordings, nor have any documents from or relating to AHI’s “ticketing system.”
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 could not be produced because “such messages had been purged from its system three or four
 months after being sent” was “not convincing,” since Shayan produced other e-mails from the
 same time period in those proceedings. See Ex. B (Proposed Decision, Case No. H-39404, May
 27, 2015) at ¶ 17.

 V.     Counsel Are Required to Ensure Client’s Good Faith Discovery Participation

         As you know, the Federal Rules of Civil Procedure and the Rules of Professional
 Conduct of the State Bar of California require cooperation in the discovery process by both
 litigants and lawyers. Where a party and/or its counsel fail to meet this duty, sanctions are
 warranted.

          As an initial matter, both parties and their lawyers are obligated to take steps to preserve
 documents, including through the issuance of—and monitoring by counsel of compliance with—
 a litigation hold. “[I]t is generally recognized that when a company or organization has a
 document retention policy, it ‘is obligated to suspend’ that policy and ‘implement a litigation
 hold to ensure the preservation of relevant documents’ after the preservation duty has been
 triggered.” Apple Inc. v. Samsung Electronics Co., Ltd., 881 F. Supp. 2d 1132, 1137 (N.D. Cal.
 2012) (adopting preservation requirements set forth in Zubulake v. UBS Warburg LLC, 220
 F.R.D. 212 (S.D.N.Y. 2003)). But “[a] party’s discovery obligations do not end with the
 implementation of a ‘litigation hold’—to the contrary, that’s only the beginning. Counsel must
 oversee compliance with the litigation hold, monitoring the party’s efforts to retain and produce
 the relevant documents.” Zubulake v. UBS Warburg LLC, 229 F.R.D. 422, 432 (S.D.N.Y. 2004);
 see also Cal. Bar Comm. on Prof. Resp. & Conduct, Formal Op. 2015-193, at 3-4 n.6 (“[T]he
 duty to [issue a litigation hold] falls on both the party and outside counsel working on the
 matter.”). A party’s failure to monitor its employees’ preservation efforts warrants sanctions.
 Apple, 881 F.Supp.2d at 1150-51 (imposing adverse jury instruction sanction) (imposition of
 adverse jury instruction sanction upheld, with modification, by Apple, Inc. v. Samsung
 Electronics, 888 F.Supp. 976 (N.D. Cal. 2012)).

         Counsel are also required to ensure that a client’s collection of, search for, and production
 of responsive documents are conducted in good faith. Counsel may not simply accept a client’s
 uncorroborated assertions or look the other way when a client’s discovery efforts appear lacking.
 See Cal. Bar Comm. on Prof. Resp. & Conduct, Formal Op. 2015-193, at 5. Indeed, a District
 Court in California sanctioned both a party and its attorneys where the attorneys “chose not to
 look in the correct locations for the correct documents, to accept the unsubstantiated assurances
 of an important client that its search was sufficient, to ignore the warning signs that the
 document search and production were inadequate, [and] not to press [the client’s] employees for
 the truth . . .” Qualcomm Inc. v. Broadcom Corp., No. 05-v-1958, 2008 WL 66932, at *13, *18
 (S.D. Cal. Jan. 7, 2008) (imposing monetary sanctions against party and referring the involved
 attorneys to the State Bar of California for investigation); see also Pension Comm. of the Univ. of
 Montreal Pension Plan v. Banc of America Securities, LLC, 685 F. Supp. 2d 456, 465 (S.D.N.Y.
 2010) (cited approvingly by Cal. Bar Comm. on Prof. Resp. & Conduct, Formal Op. 2015-193)
 (finding party’s “conduct was negligent” where “[k]ey players searched their own files without
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 supervision from management or counsel, and accordingly issuing both monetary and adverse
 jury instruction sanctions).

 VI.      Questions for AHI

         Based on the issues set forth above, CoStar has significant cause for concern that AHI has
 failed to preserve documents and/or failed to undertake a reasonable search for documents. In
 hopes of assuaging these concerns, CoStar asks that AHI provide detailed written responses to
 the following questions by the close of business on Friday, July 22, 2016:

       1. When, if ever, and to whom, if anyone, did AHI issue a litigation hold in connection with
          this suit?

       2. What steps has AHI taken to ensure that its employees, as well its subsidiaries and agents
          and their employees, implemented the litigation hold? Please specify the role of outside
          counsel, if any, in these steps.

       3. How did AHI determine which individual custodians and/or other sources of documents
          should be collected and reviewed for potentially responsive documents? Please specify
          the role of outside counsel, if any, in this determination.

       4. From which individual custodians and/or other sources of documents has AHI (and its
          counsel) collected documents to be reviewed? For each custodian from whom documents
          were collected, please specify whether the collection was made by AHI principals or
          employees, or by outside counsel.

       5. What sources of documents, if any, has AHI searched electronically (i.e., drives, servers,
          networks, databases) in order to identify documents for collection or production? If any
          electronic searches were conducted, please specify whether they were conducted by AHI
          principals or employees, or by outside counsel.

       6. Please list each individual with whom outside counsel has directly spoken regarding
          AHI’s document preservation, collection, and/or review processes.

       7. How did AHI determine which documents and e-mails were responsive to CoStar’s
          Requests? To what extent did outside counsel rely upon AHI principals or employees to
          determine the responsiveness of particular documents?

       8. Does AHI intend to rely upon any e-mails for its defense at trial in this litigation, as it did
          in its defense before the California Bureau of Real Estate?

       9. When, if ever, did AHI suspend the e-mail “purges” that allegedly resulted in the deletion
          of the key e-mail at issue in the California Bureau of Real Estate proceedings?
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    10. Will AHI produce the “valid third party agreements” that it has represented to the Court
        and Costar authorize its copying and display of CoStar’s copyrighted photographs and
        other listing information, and any e-mails regarding such agreements?

          As noted at the outset of this letter, CoStar reserves all rights to seek Court intervention
 and/or sanctions, including without limitation seeking formal discovery from counsel concerning
 its role in AHI’s response to CoStar’s discovery requests, in the event AHI refuses to answer the
 foregoing questions or if its responses establish a failure to meet its duties to participate in
 discovery in good faith.

        We appreciate your prompt attention to this matter.

                                                 Sincerely,



                                                 David K. Baumgarten
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                                   #:1019




                       EXHIBIT A
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                                   #:1020


                       BEFORE THE BUREAU OF REAL ESTATE

                                STATE OF CALIFORNIA
                 ERIC C. SAWYER, ADMINISTRATIVE LAW JUDGE




           In the Matter of the Accusation of:           )
                                                         )
          APARTMENT HUNTERS, INC. and                    )    No. 2014050485
          STEVEN K. SHAYAN,                              )    2014060980
                                                         )
                            Respondent.                  )
                                                         )

                          RECE~--D....
                      ~mI, nf Rea| EStlmS




                            TRANSCRIPT OF PROCEEDINGS
                             Los Angeles, California
                           Wednesday, February 25, ~015




           Reported by:
           BRITTANY GUTIERREZ
           Hearing Reporter
                                                      920 WEST 17TH STREET
           Job No.:                                   SECOND FLOOR
           4459OAH                                    SANTA ANA, CALIFORNIA

                                                      92706
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 44 of 183 Page ID
                                   #:1021




     1                    BEFORE THE BUREAU OF REAL ESTATE

     2                           STATE OF CALIFORNIA

     3              ERIC C. SAWYER, ADMINISTRATIVE LAW JUDGE
     4

     5
     6    In the Matter of the Accusation of:

     7   APARTMENT HUNTERS, INC. and                          No. 2014050485
         STEVEN K. SHAYAN,                                    2014060980
     8
                         Respondent.
     9

    I0

    II

    12

    13

    14

    15
    16                 TRANSCRIPT OF PROCEEDINGS, taken at
    17           320 West Fourth Street, Suite 630, Los Angeles,

    18          California, commencing at 9:00 a.m.

    19          on Wednesday, February 25, 2015, heard before

    2O          ERIC C. SAWYER, Administrative Law Judge,

    21          reported by BRITTANY GUTIERREZ, Hearing Reporter.

    22
    23

    24

    25



                              Kennedy Court Reporters, Inc.
                                    (800) 231-2682
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                                   #:1022

                                                                           3

       1   APPEARANCES:
       2          For the COMPLAINANT:         STATE OF CALIFORNIA
                                               BUREAU OF REAL ESTATE
       3                                       LISSETE GARCIA, ESQ.
                                               320 West Fourth Street
       4                                       Suite 350
                                               Los Angeles, California
       5                                                         90013

       6
                  For the RESPONDENT:          LAW OFFICES OF
       7                                       JILBERT TAHMAZIAN
                                               JILBERT TAHMAZIAN, ESQ.
       8                                       1518 West Glenoaks Boulevard
                                               Glendale, California
       9                                                      91201
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                                      KEVIN SHAYAN,

        called as a witness, and having been first duly sworn by

        the Hearing Reporter, was examined and testified as follows:
             THE WITNESS :     Yes, I do.
             THE COURT :     Good afternoon.

             THE WITNESS :     Good afternoon, your Honor.         How are you?

             THE COURT :     Good.    For the record please state and spell

        your name.
             THE WITNESS:      Kevin, K-e-v-i-n.         Last name Shayan,

        S-h-a-y-a-n.

             THE COURT :     Okay.    Thank you.      Mr. Tahmazian?

             MR. TAHMAZIAN :     Thank you, your Honor.


                                     DIRECT EXAMINATION

        BY MR. TAHMAZIAN:

             Q     Mr. Shayan, what is your relation to Apartment
        Hunters?
             A     I’ve been there since 1999.             And I’m mostly in

         charge of designing the website, the website structure,
         technical stuff.      As well as some graphic design oversight,

         not personally doing it, but I pretty much design and dream
         it up.

             Q     And what is your relation to Steven Shayan?

             A     I’m his brother.

             Q     You said you’ve been there since 19987




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    1        A    1999.
    2              ’99.    And with no breaks?
    3             No breaks, no vacations.
    4             Were you --
    5        MS. GARCIA:     Your Honor, if I may, the witness has a

        mobile phone, cellphone, and it’s out of view -- my view.
    7    So I can’t tell if he’s referring to it or not.

    8        THE COURT:     Okay.
    9        MR. TAHMAZIAN:     Just like the record to reflect it’s a

   10    covered iPhone, but that’s okay.

   11   BY MR. TAHMAZIAN:
   12        Q    Are you familiar with the procedure that Apartment
   13   Hunters follows to follow with the rules and regulations of
   14    the Department as far as a PRLS license is concerned?

   15        A    Can you ask me again, please?

   16        Q    Sure.     Are you familiar with the procedures and
   17   policies of Apartment Hunters, and how they follow the rules
   18    of the Department with respect to being compliant with the
         PRLS licensees?
   20        A    Yes, sir.
   21        Q    Do you deal with the Department yourself also?
   22        A    I’ve been involved in the previous proceedings.        I
   23    know what the rules are, but Steve is the licensee.
   24        Q    I understand.       Now, I want to direct your attention

   2~    back to May of 2013, April 2013, around that area.




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                    Approximately how many different contracts did you

        have approved by the Department and uploaded on your

        website?
            A       DRE contracts?

            Q       Yes?

            A       Six.

            Q       Why six contracts?

            A       Because the Department requires you to have one

        contract for each website, or as you called it, "DBA," or as

        we call it, "domain name," or "address."                So we own
        Apartment Hunters, with a "Z" .com.             The For Rent in LA,

        which is a Los Angeles-based domain.             Lease in San Diego,
        which is a San Diego regional domain.              Rent in San

        Francisco, which is a San Francisco-based domain.                   And
         Section Eight, which is a low income government housing
         domain.
                    Each one had to have it’s own contract with it’s
         own phone number.     Each one has his own phone number for
         guests, landlords, and members, each one.               And it’s own

         e-mail address and it’s own contract.
             Q       Okay.   Now, this is something that was required by

         the Department; correct?
             A       Correct, sir.

                Q    In fact, did you go through a process with the

         Department; them demanding this from you?




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             A       Yes, sir.
                     And when you say domain, what does that mean?

                     URL address, business address.
                     What is that address?       Is that where you conduct

         business?

             A       Yes.

             Q       And you were saying the Department -- in your
         opinion, in your conversation with the Department
         previously, they considered a domain an address of the

    1    business?
    1        A       Yes.

    1        Q       Okay.   Now, going back to 2013 when you had these

    1    domain names, these were -- the contracts themselves were
    1    all the same.       The only difference was the domain address

    1    and the information related to that domain; is that correct?
    1        A       No, sir.    The contracts were slightly different in

    1    price and in refund amount.         So some were at 49, some were

    1    at 59; therefore, their refund commitments were different.
    1                But, yes, basically they were all the same.       I

    2    think only one had a different pricing by $I0.          But they

    2    were all the same except the address, yes.

    2        Q       And did you go through a process to have the
    2    Department approve these contracts?
    2        A       Several processes, and they were kicked back and

         forth several times.




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             Q    And then finally approved?

                   Yes.
                  And to your knowledge, does the Department have a
         copy of those contracts on file?
             A     Yes.   We had to put up a security bond, a $i0,000

         bond.   All kinds of papers to get this.

             Q     And to your knowledge, did this contract appear on

         your Apartment Hunters website?
             A     It was always up.      For us to get going we had to

         have it first visible on the website at the time we
         submitted for approval to Sacramento.            So we had to have a
         printed copy.    A copy that opens up on the website matching,
         and then wait for them to stamp it.           So Steve would go
         downtown here to the counter, submit it.              They would stamp

         it, send the copy to Sacramento.
                   At all times during the business we had a contract

         printable -- viewable -- to the consumer with today’s date
         and his signature always, from inception.
             Q     By "his," you mean Steve’s signature?

             A     Yes, sir.

             Q     Now, tell us a little about how your business is

         conducted, in a sense that how do you service your

         customers?
             A     Via the internet.
             Q     Tell me how that happens?




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    1       A      What happens is we’re an apartment rental and

    2    listing service.   We don’t make any money from the landlord.

    3              So what happens is the landlords come and list

    4    their properties with us for free.          It comes from landlords,

    5    smaller landlords, mom and pop, two-unit, ten-unit

    6    landlords, management companies.         We’re authorized by the

    7    MLS to have our MLS data.      As well as real estate investment

    8    trust.    So they come and list the properties with us.

    9              When a tenant comes to the website, they enter

   I0    their search criteria.     For example, two bedroom, two

   ii    bathroom in West Los Angeles for $1,500.

   12        Q      Before you go there, how does a tenant get the

   13    rights to enter the website?

   14        A      They come to the website as a guest.        Initially as

    15   a guest, you don’t have to have anything, they’re just

    16   coming.

    17       Q      Okay.

    18       A      In the guest search they will type the criteria

    19   what they are looking for.       All the listings appear,

    2o   complete description, photos, interior, exterior, virtual

    21   tour, if there is any.      You can see everything.

    22              We have demographics, what’s nearby, ATMs.         Every

    23   possible thing about that particular property, zip code,

    24    down to longitude, latitude, street view, everything.          The

    25    only thing we don’t show is the landlord’s phone number and




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    1   the address.

    2             Once you pay the subscription fee, instantaneously

    3   the address and the phone number of the landlord appears.

    4       Q     What is the usual subscription fee?

    5       A     $49.

    6       Q     For how long of a period?

    7       A     30 days.

    8       Q     Is that the only money you really make?

    9       A     Only money we really make.          And sometimes a lot

   i0   less because we offer coupons or specials.

   Ii       Q     And now, your database you testified comes from

   12   other sources; correct?
   13       A     Yes, it comes directly from landlords, management

   14   companies, as well as other sources.

   15       Q     Now, do you get the information from other

   16   syndicates like Craigslist, Trulia, Zillow, and those kind

   17   of places?

   18       A     Large companies, yes.

   19       Q     How does that workout?

   20       A     What happens is we have a partnership with, for

   21   example, Apartment Guide.       Apartment Guide is a publicly

   22   traded Fortune 500 company.        So what happens on a daily

   23   basis they send us a XML Feed, which I brought a sample.

   24             It’s a raw feed where it contains a ton of data,

   25   right, that comes every 24 hours.           It either comes or we go



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     1   to pick it up.    So when we say pick it up, it sits in a bin.
     2   So they either leave it on the Apartment Guide server for us

     3   to go pick up, or they drop it off in a bin on our server.
     4            So every night we pick up hundreds or thousands of
     5   fresh listings that Apartment Guide is providing to us that

     6   has been verified by them.       So that’s called the XML Feed.
     7   Once we take that raw feed and throw it inside the database,
     8   it becomes a visible listing where the pictures come, the
     9   raw data converted to bedrooms, bathrooms, pets, all the

    I0   text, and all of that.     Kind of like a excel sheet that’s
    ii   exploding into reality-type text.
    12       Q    When you say partners with Trulia or Zillow, how
    13   does that work?
    14       A     It’s a feed partnership.         So, for example, we have
    15   a contract there stating actually, you know, that Trulia had
    16   asked us to be their data provider.
    17             So what happens with a lot of the smaller or larger

    18   companies is that they don’t.have enough sufficient data in

    19   certain areas or certain regions.          In this case Trulia came

    20   to us and asked us for data for the Los Angeles County

    21   region, San Fernando, Los Angeles, San Diego County region
    22   it’s specified in the contract.         And they ask us for a
    23   two-year run for us to be the data provider, specifically

    24   because of our relationships with a smaller management

    25   companies.




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    1        MR. TAHMAZIAN:     Let me stop you there.         You testified
    2   earlier about some raw data you received.
    3             Your Honor, if you look in your package, there’s a

    4   package that starts like this.           It should be number six.
    5   Right there.

    6        THE COURT:     This one?
    7        MR. TAHMAZIAN:     Yes.
    8        THE WITNESS:     That’s the raw data, yes, sir.
    9             That’s how it arrives in a chunk.
   i0        MR. TAHMAZIAN:     I mark that as Respondent’s "B"
   ii        THE COURT:     Okay.   On the top of the first page is says,
   12   "Apartmentguide.com data feed."
   13             We’ll mark it for identification as Exhibit "B".
   14             (Respondent’s Exhibit B was marked for
   15        identification by the Court.)

   16        THE COURT:     Okay.   Go ahead.
   17   BY MR. TAHMAZIAN:
   18        Q    Now, you testified that you receive feed; is that

   19   what you are talking about?

   20        A    Yes, sir.
   21        Q    This is information received from who?
   22        A    Apartment Guide in a raw format prior to it being
   23   converted into a visible format.
   24        Q    We’ll talk about that.
   25             You get this because you’re partners with them?




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     1       A     Correct.

     2       MS. GARCIA:      I’m going to object to this line of

     3   questioning.     We’ve been here for a while now today.

     4             Can Counsel try to at least get to the properties

     5   at issue here?     Because he’s asking a lot of general

     6   questions about contracts with other websites and if he can

     7   just focus his questioning to the issues that are here

     8   today, the three or four properties alleged that were

     9   advertised without the authorization, and on those specific

    i0   websites that they were advertised on.

    Ii             There is no mention in the Accusation about

    12   apartmentguide.com.

    13       THE COURT:     All right.      Look, I’m sure we’ll get there,

    14   but I think it has some probative value of explaining what

    15   the business is, and that might help explain how the four

    16   properties became involved in this.

    17       MS. GARCIA:      Okay.

   18        THE COURT:     I’m sure we won’t spend to much time on

   19    this, but go ahead.

   20    BY MR. TAHMAZIAN:

   21        Q     And then you testified that once with you get this

   22    documentation, it transforms into data for your users; is

   23    that correct?

   24        A     Yes.

   25        MR. TAHMAZIAN:      And if I can ask the Court to look at



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         the next document, it’s a package, on top it says "Los
         Angeles Great Locations."

                THE WITNESS:     That’s what it turns out to look like,
         sir.

                MR. TAHMAZIAN:     Right there.

                THE COURT:     This one?
                MR. TAHMAZIAN:     And I’m marking it as Respondent’s "C".
                THE WITNESS:     That’s what that raw data will look as
         when it’s converted.
                THE COURT:     Okay.   Give me one moment.        Hold off a

         second.

                     (Respondent’s Exhibit C was marked for
                identification by the Court.)

                THE COURT:     Okay.   So "C" this is what’s visible on your
         website?

                THE WITNESS:     Yes, sir.     This is how it arrives and this
         is what this will get converted to when it gets displayed.
                MR. TAHMAZIAN:     By this he means Exhibit "B."
                THE WITNESS:     Exhibit "B" is how it arrives in raw

         format and then finished format it gets displayed as that.
                     So in here there’s a link that says images, if you
         see HTTP, and the image would then be that.
                THE COURT:     Okay.   So "C" is a sample of what is on the
        Apartment Hunters website?

                THE WITNESS:     Website.     And sent by this partner.




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               THE COURT:    Okay.   Thank you.

                    Go ahead, Mr. Tahmazian.
        BY MR. TAHMAZIAN:
               Q    You also testified about an invitation by Trulia to

        become the --

               A    Data provider.

               Q    -- data provider.
                    And you were working with Trulia as of when?

               A    I don’t recall the exact date, but we’re working

        with over 15 other websites right now that we provide data

         to.
               Q    Do you pay anything to Trulia to become a partner

         with them?
               A    Yes.

               Q    What do you pay them?

               A    The relationship at that time was -- in one month I

         think it was $5,200.        But we were also -- based on that we
         were also making sales from the relationship.           So they were
         displaying our listings, we were paying for our listings to
         be displayed and also receiving subscription via the traffic
         they were sending.
               Q    I see.     And you indicated about an e-mail
         conversation with them that had you previously back in 2013;

         correct?
               A    Correct.     There’s a five-page back and forth, a




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         little bit of actual push from them for us to sign.~he

         agreement.     They wanted to move forward faster than we could
         actually sign the contract.           It’s all provided to you.
             MR. TAHMAZIAN:       In your package, your Honor, there is a
         document, 8 pages on the left-hand corner it says Zimbra
         (phonetic).

             THE WITNESS:       That’s the e-mail from Trulia.      "Are you
         guys ready to move forward?"

             MR. TAHMAZIAN:       Next one.      I’m going to mark that as
         Respondent’s "D", your Honor.
             THE COURT:      Okay.    Give me a moment.

                     Okay.   That item is the marked as requested.
                     (Respondent’s Exhibit D was marked for
             identification by the Court.)

         BY MR. TAHMAZIAN:
             Q       Now, tell me within that e-mail, when did you
         receive the proposal initially from Trulia to get
         information fed from them into your website for the proposed
         listings?
             A       It started as early back as --I want to tell you

         February or March.

             Q       Of what year?

                     Of 2013.
                     And from that time you’re receiving feed from

         Trulia; is that correct?




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     1       A    We were receiving feed from several companies and

    2    giving feeds.

     3       Q    I see.
     4       A    So two sides to all of this.           We’re providing and

     5   receiving.

     6       Q    I understand that, but I’m talking about the

     7   company Trulia.

     8       A    Yes.

     9       Q    From February you started working with them?

    I0       A    Yes.

    ii       Q    Which means at that time you were feeding them with

    12   the listing you had and receiving listings they had?

    13       A    Yes, sir.
    14       Q    Is that correct?

    15       A    Yes.

    16       Q    To your knowledge was there a limitation of what

    17   kind of feedings they would send to you?
    18       A    Well, not for sale.       For rent only.

    19       Q     For rent, I’m sorry.

    2o       A    And not the ones that were duplicate that we

    21   already had.

    22       Q     So what was the limitation about what kind of feed
    23   they would send you?

    24       A     Rental listings that were unique data that we

    25   already did not have, via filter we created, within the




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    1   geographic area of California that we covered, and vice

    2   versa.   We would send them listings that was not multiple
    3   listing services, because they already had that and was not
    4   from the larger management companies because they already
    5   had that.     Yet, from smaller management companies.

    6               There’s a detailed discussion of what they needed

    7   and what we were in need of.
    8        Q      There was also a different method by which you

    9   received listings from various landlords and management

   I0   companies; correct?

   Ii        A      Correct.
   12        Q      How was that’s done?
   13        A      A feed.
   14        Q      Okay.     Procedurally what would you do?      Was there
   15   something automated within your system?
   16        A      Landlords, once you call for a permission to get

   17   permission to list their properties, they would actually

   18   give you a blanket permission, because once you call a
   19   management company and say, "May I get permission to list

   20   your listings?"        And two days later they have another
   21   vacancy and you say, "May I get permission?"             Pretty much
   22   they’re going say, "Look, I told you 48 hours ago.             The
   23   answer is yes.        Stop calling.      Go ahead and get my listing."

   24               So we switched to this system where we take the
   25   listing that we find on their website, or anywhere else, we




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        1   include it in an e-mail and we go, "Dear landlord, we have

        2   the following listings and we would like to get your
        3   permission to list it.             If it’s okay with you click here for

        4   yes.       If it’s not, click here for no."                  And, you know, "If

        5   you’d like us to update the price or change the price, type

        6   a few sentences," whatever it is.                 And we also let them know
        7   that we multiply the advertising efforts of theirs by
        8   putting it other Trulia, Zillow, Rental Source, Rentix, a

            lot of other websites; however, we don’t benefit.
    1              MS. GARCIA:     Move to strike as nonresponsive.                 I think

    1       the witness (unintelligible).

    1              THE COURT:    I’m sorry?
    1              THE REPORTER:     I’m sorry?

    1              MS. GARCIA:     I’m sorry.         Move to strike as

    1       nonresponsive.       Everything that’s been said about what the

    1       landlords.       I guess the last sentence of the witness’s

    1       statement.
    1              THE COURT:    That they also tell the landlords they’ll

    1       send the info to the other sites, or --
    2              MS. GARCIA:     No.      I’ll withdraw my objection.

    2              THE COURT:    Okay.

    2              MS. GARCIA:     I thought he said something else.

    2              THE COURT:    Okay.       Go ahead.

    2       BY MR. TAHMAZIAN:
    2              Q      Now, when you receive this feed from other sources,




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     1    you obviously know that these are listings that are on
     2    Trulia or any other company that you receive from; correct?
     3        A       Yes.
     4        Q       And when you receive that and put them up on your
     5    website or on Trulia, feed them back with the same listing,

     6    and if a prospective tenant likes that particular unit and
     7    wants to look at it or rent it, and try to contact them

     8    through your website, who would they contact?
     9        A       The actual owner or the realtor of that property.
    i0    In the cases of the -- if I may?
    Ii        Q       Yes.
    12        A       If in the cases of this four listings in question,
    13    they would contact that gentleman right there, Mr. --
    14        Q       The HomeTeam Property Management?
    15        A       Yes, sir.   We don’t have anything to do with it.
    16    Once they pay us our subscription fee, we don’t make a
    17    penny.     We don’t have an intermediate phone number.    It goes
    18i   straight to him.
   19         Q       So, in fact, by the fee that you get from Trulia
   20     and other engines --

   21         A      And/or putting up listings on other engines.
   22                 You are actually expanding the audience --
   23                 Yes.
   24                 -- of HomeTeam Property Management; is that
   25     correct?




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     1       A       By 300 times.
     2       Q       By them contracting through your website, you get
     3   no monetary benefit; is that correct?
     4       A       None whatsoever.
     5       Q       The tenant doesn’t pay you a penny more --
     6       A       No.
     7       Q       -- to get those listings; is that correct?
     8       A       No, sir.   Just the amount of calls to HomeTeam
     9   would quadruple verses sitting vacant.
    i0       Q       In May 2013, how many phone numbers did Apartment
    Ii   Hunters have?
    12       A       Apartment Hunters company?
    13       Q       Yes?
    14       A       At any given time, I want to tell you about 30, 35
    15   phone numbers.
    16       Q       And how many of those phone numbers appeared on the
    17   database of BRE, approximately?
    18       A       On each domain name has to be at least three.
    19       Q       What are those three?
   20        A       Guests, billing and credit card, and landlords.
   21        Q       And had you six domain numbers; correct?
   22        A       Six times at the minimum should be three.    Worse
   23    case scenario should be two, which would be tenant and the
   24    landlord.
   25        Q       So at least minimum of ten numbers listed --




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     1       A        12.   Six times two.
     2       MS. GARCIA:       Objection.
     3       MR. TAHMAZIAN:         Let me finish the question.
         BY MR. TAHMAZIAN:

             Q     To your knowledge you have provided to the
         Department with at least more than i0 telephone numbers

         related to the Apartment Hunters; correct?

             A    Yes, sir.

             Q    Those phone numbers were working?
                  And published on the website.

                  And still working today?

                  Yes, sir.
                  And was working back in 2013?
                  And on the contract, on the Department contract.

                  There was a phone number that appeared on the
         worksheet.
             MR. TAHNLAZIAN:        Is that what it’s called, the worksheet?
         I apologize.

             MS. GARCIA:      I don’t know what you are talking about?
             THE COURT:      The Case Analysis.
             MS. GARCIA:      Oh.
             MR. TAHMAZIAN:         The Case Analysis.          810 --
             THE WITNESS:      575, sir.
         BY MR. TAHMAZIAN:

             Q    Yes.      Is that phone number Apartment Hunters’s




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        phone number?

               A    I just got ahold of all of our program owners, if I

        may?

               Q    Well, no.     Don’t touch anything.
                    Is that phone number Apartment Hunters’s telephone

        number?

               A    No, sir.

               Q    How do you know that?

               A    It goes to an address on Federal Avenue in West Los

        Angeles, which we never had anything to do with that

        location.     We never had an office there.              We never went
        there.     It’s a Google search that brings up this phone
        number.
                    This phone number was never -- it’s disconnected

        first of all.        And we have never had a disconnected phone

        number in our life.        So this phone number was never
        registered to us from 1999 to now.
               MR. TAHM_AZIAN:    If I may ask, your Honor, can he show

        you on his phone when he Googled, how he came up with that
        number, so you can see where that number comes from?

               THE COURT:     All right.     Ms. Garcia, what do you think of

        that?
               MS. GARCIA:     I’m going to object, your Honor.           I don’t

        see what the point of that is.             I don’t have any objection
        to Counsel submitting something on a printed form, showing a




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         Google search for that phone number, but I don’t think it’s

         appropriate to --

             THE WITNESS:     I can send it.

             MS. GARCIA:     -- testimony from a cellphone number that

         we don’t have any copy of for the record.

             THE COURT:     Well, I think the request that he does a

         Google search on his smartphone and that this number that’s

         on the Case Analysis will come up as one of the search

         results.    If I’m understanding --

    1        MR. TAHMAZIAN:     That’s correct.
    ]        THE WITNESS:     Correct.
    ]        MS. GARCIA:     Okay.    That’s fine then.
    1        THE COURT:     All right.      Why don’t you come up,
    1    Ms. Garcia.

    1        MS. GARCIA:     Sure.
    1        THE COURT:     Do you want to watch him do it?
    1        THE WITNESS:     It’s right here.
    1        THE COURT:     Show her -- do the search, show her the
    1    process.

   2         THE WITNESS:     It’s right here.          It says 1507 Federal
   2     Avenue --

   2         MS. GARCIA:    What’s the phone number --
   2         THE WITNESS:     I’m going to show you.           Right here,

   2     575-4098.

   2         MS. GARCIA:    And what’s the website listed on that?



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                 THE WITNESS:     Apartmenthunterz.com.            And we were never

          on Federal Avenue ever, never, ever, ever.
              MS. GARCIA:        So when you search that number it shows up
          apartmenthunterz.com?

                 THE WITNESS:     No.     It shows up Federal Avenue.        We were
         never on Federal Avenue.

              THE COURT:        Okay.
              MR. STEVEN SHAYAN:           It says California Apartments.
              THE WITNESS:        It says California Apartments, Federal
         Avenue West L.A.         We were never on Federal Avenue in West
         L.A., and that’s the phone number it shows.

             MS. GARCIA:         Your Honor, when he scrolled down I saw
         Apartment Hunters --
             THE WITNESS:         Yeah.     It does say the domain name.
             THE COURT:         All right.     I see that under the website
         just above the hours.            Apartment Hunters with a "Z" .com.

             THE WITNESS:         Correct.
             THE COURT:         Is that what you wanted me to see?

             MR. TAHM_AZIAN:        Yes, your Honor.

             THE WITNESS:        But that number and address has never been

         ours.

             THE COURT:      Okay.        Thank you.
         BY MR. TAHM_AZIAN:

             Q       And that number was never your number?
             A       Ever, never.




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    1        Q       What was the number that’s listed with the
    2    Department?        The very first number?
    3        A       (310) 276-4663.
    4           Q    And to your knowledge is that number still with the

    5    Department as of today?

     6       A       Always been.

     7               And is it there as of today?

     8               Yes, sir.
     9               Has it ever been disconnected?

   i0                No, sir.
   II                Has that ever been removed from the Department’s

   12    database?

   13           A    No.

   14           Q    Do you recall having a conversation with the

    15   Department about submitting different applications with the

    16   various domain names about three years ago -- four years
    17   ago?
    18          A    Yes.
    19          Q    At that time you were operating out of the

    20   Robertson address; correct?
    21          A    Yes.
    22          Q    And you had prepared the contracts with that single

    23   address; is that correct?
    24          A    Yes.
    25          Q    At one point; is that correct?




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     I        A    Yes.
     2             Do you recall if the Department objected to that?
     3             No.
     4             Do you recall if the Department requested that you
     5   submit a contract for every separate address you’ve got?
     6       A     Every separate domain address.
     7             Well --
     8             Yes.
     9             Yes?
    i0       A     Yes.
    ii       Q     Right.     Do you recall that conversation with the
    12   Department?

    13       A     Yeah.     Unlike the previous testimony, I couldn’t
    14   have one contract with six websites on it.             So had I to
    15   have -- each address had to have it’s own contract, and as a
    16   matter of fact, it’s own phone number.
    17       Q     And, in fact, none of those contracts had the
    18   Robertson address; correct?
    19       A     No.     They had the domain address.
    20       Q     At that time did you have any contracts on file
    21   with the Robert address?
    22       A     The Apartment Hunters.
    23       Q     Now, when you moved from the Robertson address, did
    24   you send some notification to the Department about page?
    25       A     I believe by mail we did.




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   1        Q      You believe or you know you did?

   2        A      I know we did.     And I know we did through your

   3    office.

   4        Q      Well, I want to know what you did.

   5               Back in 2013, what did you send to the Department?

            A      That we are moving from that address to the Golden

   7    Lantern address in Dana Point.

            Q      Now, you also -- strike that.

   9               You had a restricted license until March of 2014;

  I0    correct?

  ii        A      Yes, sir.

  12        Q      Now, in March of 2014, did you do anything to try

  13    to remove yourself?

  14        A      Yeah.   We applied for a brand-new unrestricted

  15    license.

            Q      And on that application, did you put your new

  17    address?

  18        A      Yes.

   19       Q      What was the address?

   20       A      The Golden Lantern address.

   21       Q      Now, is that the address that appears on your

   22   contract -- one of your contacts -- on the website at this

   23   time?

   24       A      Yes, sir.

   25       MR. TAHMAZIAN:      I’m going to ask the Court for one more



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     i   document, your Honor.       If you can mark it has Respondent’s
     2   "E" please.   And I can show you what it is, it’s a screen
     3   shot, one single page right there.
     4       THE COURT:     This one?
     5       THE WITNESS:     That contract, yes.
     6       MR. TAHMAZIAN:      Please.
    7        THE COURT:     Okay.    It says, "Contract and receipt," on
    8    the top of the image depicted in the middle of the screen
    9    shot.
   i0              And I’ll mark it as Exhibit "E".
   II              (Respondent’s Exhibit E was marked for
   12        identification by the Court.)
   13        THE COURT:     Okay.    Go ahead.
   14    BY MR. TAHMAZIAN:
   15        Q     Mr. Shayan, tell me about this exhibit.
   16              First of all, who wrote the red letters on the
   17    bottom?   If you look at the document, the red lettering and
   18    all that, who wrote that at the bottom?
   19        A     This is our program owner.            This is us.
   20        Q     And the screen shot of Apartment Hunters?
   21        A     Was done by us to demonstrate here today that we
   22    had this up on the site.
   23        Q     Have you, yourself, gone online and checked if this
   24    contract is up on your website?
   25        A     Of course.




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    1       Q      Have you yourself verified that this contract is in

   2    possession of the Department?

    3       A      Yes, sir.
    4       Q      Now, tell me at the bottom what information you

    5   provided to the Department?

    6       A      That the domain name is listed under the DBA

    7   section.
    8       Q      And the address for Apartment Hunters?

    9       A      Which is right here, yes.           And the license number

   i0   is present on both the member registration page and contract

   ii   page.

   12       Q      What about the address for Apartment Hunters?

   13       A      It’s there, sir.
   14       Q      And when did you provide this particular cont£act

   15   to the Department?

   16       A      Way back when we went to -- first of all, this was

   17   there when we moved from Robertson.

   18       Q      Okay.   I understand.

   19       A      And then one more time when we went to remove the

   20   restriction.

   21       Q      And you have a few more contracts online?

   22              For each address.
   23              Each address.

   24              And you are familiar with this document; correct?

   25       A      Of course.




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    1       Q     And you’ve seen it on the website; is that correct?

    2             It’s there everyday.

    3             What is the -- as far as Apartment Hunters business

    4   is concerned, do you have any walk-in customers?

    5       A     None.
    6       Q     Are your customers I00 percent internet based?

    7       A     Yes, sir.
    8       Q     And how do you communicate with the your customers?

    9       A     We have six support ladies that attempt to do a

   i0   24-hour shift where we chat with the customers.            We have 18
   ii   to 22 incoming lines that people call into.            The calls are

   12   recorded where we can listen to the audio file, as well
   13   they’re transcribed in a text and into a ticketing system.
   14             So we have a ticketing system, audio recording

   15   system, and then we also have an e-mail system, and we have

   16   a very accurate tracking system that shows us from the time
   17   of customers calling in or making a ticket request, to the

   18   time that we reply to their request.            They have an 18.22

   19   second average total response time.

   20             Whether it be a subscription, a refund, a customer

   21   satisfaction, or even helping the customer do something on

   22   the web, 18.22 seconds.
   23        Q    Now, obviously in your business, do you get

   24   customers complaining and wanting refunds?

   25        A    Yes.




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    1       Q     And how do you handle that?
    2       A     With the ticketing system so it’s documented.       With
    3   the recorded audio of their request, and we push a button.
    4   We refund the money to the same last four digits of the
    5   credit card they use to pay.

    6             However, instantaneously a text goes to their
    7   cellphone that we refund to.        An e-mail goes to the e-mail
    8   address with a transaction ID of their refund, and a robotic
    9   phone call that the robot calls the phone and goes, "This is
   I0   a call to confirm a refund has been made to your credit
   ii   card."   Three ways we reach to the customer outbound to
   12   confirm their refund.
   13       Q    Now, did you look at your -- strike that.
   14            Do you document this data on your website?
  15        A    Hundred percent.
  16             Did you look at your data back in January of this
  17    year?
  18        A    Which data?
  19        Q    The data about your sales and refund?
  20        A    Yes, sir.
  21        Q    And out of your entire sales in 2013, January, how
  22    many percent was your refund, approximately?
  23        A    Out of 2,000 sales we had a 3.47 percent refund,
  24    but that didn’t necessarily mean that is data related.        Some
  25    people are looking for unreasonable price points.       Like if




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         1    you are looking for six-bedroom, six-bathroom by the ocean
         2    for $600 you get your money back.
         3        Q    But you refund the customers to keep them happy?
         4        A    Hundred percent because the laws of the Department
         5    of Real Estate says if within five days you don’t find them
         6    exactly what they are looking for, you have to give them
         7    their money back.
         8        Q    Have had you any complaints in the last two years
         9   from any customers that were unable to communicate with your
     i0      company or get a refund?
    Ii           A     Not at all.
    12           Q     The information received from the landlords, as
    13       well as from these companies like Trulia, Zillow, and MLS,
    14       and all that, how do you make sure that they are updated?
    15           A    The feeds that come are every night.           The landlords
    16       that come and list their properties, we have a system that
    17       we know when they last lodged in.           So with the market of Los
    18       Angeles usually with these properties that we have here,
    19       usually they’re gone within 72 hours, right.
    20                So, for example, a one-bedroom, one-bathroom in
    21       West L.A., it’s not going to sit on the market for more than
    22       one, two, or three days.      So if the landlord doesn’t come to
    23       login check within 72 hours, an e-mail goes out.          That goes,
    24       "Dear Landlord, we show you have not come and logged into
    25       the website.   Click here to extend the life of the vacancy




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    1   for seven days."
    2                  That will actually allow the vacancy to be
    3   refreshed and stay seven more days or expire.                  If the

    4   landlord doesn’t open that e-mail, or if that e-mail lands

    5   in his junk box, we kill the vacancy automatically.                     That’s

    6   his job to come back.           We deactivate it, we don’t kill it so

    7   he doesn’t have to type it all over again.                  So he just comes
    8   back and reactivates it.
    9          Q       What about Trulia and Zillow?
   I0          A       Those are fresh feeds.         They come every night
   Ii   fresh, fresh.          We pick up the feed or they put it in our
   12   bin.        It’s a server to server discussion.
   13          Q       If you look at the exhibit package, Exhibit 8,
   14   please?
   15          A       Where is it?
   16          Q       The exhibit package right there.            Exhibit Number 8.
   17          A       Okay.
   18          Q       Page one, right there.
   19                  Can you explain to the Court what this page

   2o   depicts?
   21          A       This one says that we would send this listing to a

   22   landlord that owns the website called DMinvestments.com,
   23   that we noticed they have available vacancies.                  We introduce

   24   ourselves and a family of our websites, and exactly what we
   25   do.        And we’d like to refer prospective tenants to them on a




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   1    daily basis to maximize their marketing efforts, as well as

   2    to syndicate the listings to our partner websites.

   3        Q       What’s the purpose of this e-mail?

   4        A       To get their permission to list their vacancies.

   5        Q       This is stuff that you send on a daily basis?

   6        A       On an hourly basis as we located their vacancy.

   7    But mostly daily basis, yes, sir.

   8        Q       Now, would you have sent similar e-mails to a

    9   company called HomeTeam Property Management?

  I0        A       Yes, sir.

  Ii        Q       Now, what did you learn about the Complaint from

  12    HomeTeam?

  13        A       When the DRE sent us the Complaint --

  14        Q       Which was in?

  15        A       I don’t know.

   16       Q       April of last year?

   17       A       Yes.

   18       Q       Is that about right?

   19       A       Yes.

   20       Q       And from reading the Complaint, you do recall that

   21   the Complaint was made back in May of 2013; correct?
   22       A       Correct.

   23       Q       Now, do you maintain this data of contacting the

   24   landlords in your website in that ten months?

   25       A       This far back, no.        But we maintain it for some



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    1   time, but we purge them eventually.
    2       Q     How often?
    3       A     I think every three or four months after we get the
    4   permission, because the listing is gone.               We get the

    5   permission, we put the listing, then the listing expires and

    6   the permission has to be reset.
    7       Q     Is page one of Exhibit 8 the document you prepared

    8   and gave to me?
    9       A     Yes.
   i0       Q     Go to page two?
   Ii       A     Yes, sir.
   12       Q     Is that something you prepared?
   13       A     Yes, sir.
   14       Q     And why did you prepare this document?

   15       A     Because when you click on this yes, there is a
   16   unique session ID on the server, this is sitting on the

   17   server.   That unique ID is what’s behind that yes or no
   18   button.
   19             Then the second column, that’s column "B"                 So that
   2o   column "A" is the date the e-mail was sent.               Column "B" is
   21   the unique session ID, the cookie as you would call it.                 And
   22   unit "C" is who the e-mail was sent to, and column "D" is
   23   the sender, which is landlord@apartmenthunterz.com, which is
   24   the sender, us.
  25        Q     What is the --




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   1       A       "E" is the authorization.           They decided to say yes

   2   or no.   Some said no, some said yes.

   3       Q       Okay.   And you are trying to -- with this

   4   spreadsheet or excel, you are trying to show the

   5   communication within HomeTeam and Apartment Hunters back in

   6   May 2013?

   7       A       Yeah.   And several other landlords, not just

   8   HomeTeam.

   9       Q       Okay.   Go to the next page.

  i0       A       Yes, sir.
  II        Q      Is this something you prepared?

  12       A       Yes, sir.
  13        Q      What are you trying to show?

  14        A      First of all the listing status was deactivated in

  15   column "B".

  16        Q      As of when?

  17        A      As of the date this thing -- as of 05-05-2013.               The

  18    listing status was deactivated.             It shows the street, the

  19    city, the state, the zip code, and then it shows that the

  20    listing -- the date it was listed, sir, it shows the date it

  21    was expired and the date it was authorized.

  22               So the date authorized goes back to this other page

  23    that you just -- previous page you mentioned.              And the day

  24    it was expired was the date we expired the listing.               The

  25    05-05 was authorized, 05-07 it was listed.               It took us some




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        time to make it live.

               Q    Are you familiar with Vidmantas Macys?

               A    Vidmantas Macys is one of our lead IT programmers,

        sir.

               Q    Were you familiar with the Declaration you

        prepared?

               A    Yes, sir.

               Q    Were you involved in preparing this Declaration?

               A    Yes, sir.

  1            Q    Have you read this Declaration before?

  1            A    Yes, sir.

  1            Q    Would you agree with what he says in the

  1     Declaration?

  1            A    I00 percent, yes.

  1            MR. TAHMAZIAN:    No further questions, your Honor.

  1            THE COURT:   All right.       Thank you.          Give me one moment.

   1                Okay.   When you are ready, Ms. Garcia.

   1

   19                              CROSS-EXAMINATION

  20    BY MS. GARCIA:

   21          Q    Looking at Exhibit 8, since you have that in front

   22   of you.

   23          A    Exhibit --

   24          Q    Eight, first page.

   25               Are you claiming that Apartment Hunters sent a



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   1    similar e-mail to the e-mail address for

   2    leasing@hometeampm.com on May 5th of 2013, and that --

   3    that’s my questions.

   4        A      Yes.

   5        Q      And are you claiming that somehow this e-mail was

   6    purged from your system, and you don’t have proof of that

   7    e-mail; is that correct?

   8        A      I have the session ID.         That the unique session ID

   9    was there and the date that it was sent there.            But I don’t

  i0    keep records going back to 2013.            That’s two years ago.

  ii        Q      For the record, the witness is referring to page

  12    two of Exhibit 8, and he’s reading from the excel

  13    spreadsheet that he claimed he prepared; is that correct?

  14        A      Right.   Correct.

  15        Q      So other than this excel spreadsheet, you don’t

  16    have any proof of that e-mail that was allegedly sent to

  17    Apartment Hunters; isn’t that correct?

  18        A      Other than the session ID, no.

  19        Q      And can you explain to me why this excel

  20    spreadsheet is in a different language other than in

  21    English?

  22        A      Because we have offices overseas.

  23        Q      And where did you prepare this?

   24       A      In our office overseas.          We have offices in

   25   Lithuania and in Russia.



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    1       Q     And where were you when you prepared this?

    2             In the United States.

    3             And so what language is this excel sheet?

    4             In Russian.
                  Okay.     And can you explain why you would prepare an

    6    excel spreadsheet in the U.S. using the Russian language?

    7        A    This documentation -- we work on Skype and on

    8    screen-sharing systems like half of the United States.

    9~       MS. GARCIA:     Move to strike as nonresponsive.

   I0    BY MS. GARCIA:
   Ii        Q    Why did you prepare this --

   12        THE COURT:     Granted.
   13        MS. GARCIA:     -- excel spreadsheet in Russian?

   14        THE WITNESS:     It was on a screen share.

   15              I didn’t prepare this, my programmers prepared this

   16    with me there.
   17    BY MS. GARCIA:
   18        Q    Okay.     You testified earlier that you prepared

   19    this.   Now who are you claiming prepared this?

   20        A     This is with our programmers with Vidmantas Macys

   21    and Dennis Portnof (phonetic) in our offices overseas.
   22        Q     What office was this excel spreadsheet prepared in?

   23        A     In our Russian office with Dennis Portnof, and

   24    Vidmantas Macys.

   25        Q     Have you ever notified the Bureau of Real Estate




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       that you have offices overseas?

           A       I don’t have to.

           Q       Okay.    Has Apartment Hunters ever notified the
       Bureau of Real Estate that they maintain offices overseas?

            A      These are programing offices, not location offices

       that has anything to the with customers or landlord --

            MS. GARCIA:      Move to strike as nonresponsive.

            THE COURT:      Granted.    I think it’s just yes or no.

            THE WITNESS:      No.

       BY MS. GARCIA:
            Q      Okay.    Now, taking a look at page three of

        Exhibit 8, this also appears to be in a different language.
                   What language is this in?

            A      Page?

                   Three.

                   Same as the other one.

                   Is that Russian?

            A      Yes.     The headings are Russian, the rest is

        English.

            Q      And is it your testimony still that you prepared

        this, or did someone else prepare this?
            A       It was prepared by Dennis and Vidmantas, my

        employees overseas.
               Q   And who supervises these employees overseas?

               A    I do.



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    1        Q      Are you license by the Bureau in any capacity?

    2        A      No.

    3        Q      Okay.    And does Mr. Steven Shayan supervise those

    4    employees?

    5        A      On a daily basis.

    6        Q      How does he do that?

    7        A      We’re both together there while all of this is

    8    working.     We work 16 hours a day with these gentlemen.

    9        Q      And when were these excel sheets prepared?

   i0~       A      After the Complaint was filed.

   Ii        Q      Okay.     Do you recall exactly when or what month --

   12        A      I don’t.

   13        Q      -- or what year?                                 ~

   14        A      I don’t remember.

   15        Q      Were they prepared this year?

   16        A      No.     They were prepared prior to this year.

   17        Q      So just to sort of help you along, the Accusation

   18    was filed in April of 2014, does that help you?

   19        A      It was done after April of 2014.

   20        Q      Do you know approximately what part of the year?

   21        A      No, ma’am, I don’t.
   22        Q      Okay.     Now, you stated when looking at page three

   23    that these listings were deactivated on May 5th, 2013.          And

   24    then you went on to testify that the properties were listed

   25    as is noted on column "K".



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    1              Why would you deactivate listings before they were
    2   listed?
    3       A      Which one again?      Say again.
    4       Q      Your testimony earlier as to page three, the four
    5   properties listed there, you stated that the listings were

    6   deactivated on May 5th of 2013.

    7              I’m asking why you would deactivate the listings
    8   prior to them being listed according to this spreadsheet?
    9       A      At the time this report was prepared, the listings
   i0   were deactivated.     This column says authorized, listed, and
   ii   expired.

   12       Q      Okay.   And --
   13       A      Those are three columns are different than the
   14   status.
   15       Q      Now, your testimony is that they were deactivated

   16   at the time of this spreadsheet?
   17       MR. TAHM_AZIAN:    I’m going to object to that question.

   18   He never testified to that, your Honor.

   19       THE COURT:     Sustained.     Why don’t you rephrase?
   20       MS. GARCIA:     Okay.
   21   BY MS. GARCIA:
   22       Q      So when were these properties deactivated?
   23       A      I’m not sure.    It just shows that at the time this
   24   report was printed the status was deactivated.        I could tell

   25   you when they were expired, it says it there in the column,




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      column "F".

          Q        And these excel spreadsheets were prepared by --

          A        Staff.
          Q        -- Russian employees?

          A        They are first of all, the word "Russian employees"

      is disrespect.        They are our staff.         So what country they’re

      from is very disrespectful and racial.

           Q       I wasn’t -- I apologize.
                   Right.     Apologize to them, not me.

                   Where were these employees located?

                   In Russia, correct.
                   So they were prepared by your employees in Russia?

                   Correct.

           Q       Where were they getting -- and this information

       reflects what, the Apartment Hunters listings for these

       properties?

              A     Correct.

              Q     And they claim that these properties were listed or

       authorized by whom on May 5th of 20137

              A     I don’t understand the question.             "They claim," who

       is "they claim"?
               Q    Well, Apartment Hunters.
                    You have the date authorized under column "M" as
        May 5th, 2013; who authorized these?
               A    That’s the day that they were -- this e-mail was




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     1   clicked on.
     2         Q    So you are claiming that the -- are you referring

     3   to page two?
     4         i    Yes, ma’am.
     5         Q    Okay.    So --

     6         A    Page one actually.         When this e-mail was clicked
     7   on.

     8         Q    Okay.    But that e-mail is to Doug Wetton?

     9              Right.     It’s similar like this.

    i0              Okay.    So you are claiming that --

    ii              We don’t keep the actual graphic e-mail.

    12              Okay.    But you are claiming that HomeTeam
    13   authorized those listings on May 5th, 2013?

    14         A    Correct.
    15              And how did they authorize that?

    16              By clicking on that box.

    17              And where was that e-mail sent?               To what e-mail

    18   address?

    19         A    To HomeTeam Leasing at

   20    hometeampropertymanagement.com (sic).

   21          Q    So you’ve been present while Mr. Yo Wakita

   22    testified earlier today.          And his claim that he searched

   23    through his e-mails at leasing@hometeampm.com, and he spoke

   24    to his brother who is the broker for HomeTeam, and that he
   25    denies ever having authorized Apartment Hunters to use those




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    1    listings.

    2        A       That’s his testimony.

    3        Q       -- are you saying that’s not true?

    4        A       I’m saying we did send this e-mail out.     We have a

    5    valid unique session ID that we prepared, sent this.

    6        Q       So other than these excel spreadsheets that you’ve

    7    had your employees prepare, does Apartment Hunters have any

    8    written or oral -- any proof of any written or oral

    9    permission to list these properties?

   I0        A       No.

   Ii        Q       Okay.   And how many properties, or how many

   12    listings for properties did Apartment Hunters have in May of

   13    20137

   14        A       At any given time, Apartment Hunters has about 65

   15    to 75,000 active listings.

   16        Q       Okay.   And how do you know -- how are you able to

   17    update within a five-day period whether those 65,000 or so

   18    listings are still vacant and available for rent?

   19        A       We have a staff updater, entry people that do it on

   2O    a daily basis, and a lot are via feeds, and automated data

   21    input via the management companies website themselves.

   22         Q      Do you have any proof of any contact to HomeTeam

   23    Property Management to inquire whether the four listings

   24    that are at issue here today were still available on the

    25   dates that you claim were listed for those properties?




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      1       A     I don’t have that, no.         We just have proof that we

      2   sent and got permission for them, and that they were

      3   activated and expired in a proper date format.
      4       Q    Okay.     Are you aware that PRLS licensees have to

      5   keep copies of any contracts for PRLS services that they use

      6   for a period of three years?
      7       A    Which contracts?
              Q     The PRLS license contract.           PRLS service contract
      9   that they use?

              A    With the customer or with the landlord?
    ii             With the customers.
    12              Sure.
    19              You are aware of that?
                    Right.

    15             And is it your company policy to purge -- is it

          still your testimony that it’s your company policy to purge
    17    information for listings after only three months?

              A     This is PRLS contract with the customer, I have it
    19    goes back as far as you need, which is the contract we enter

    23    into with a tenant to provide them with prepaid rental
    21    listing services, which means the last four digits of credit

    2_~   card.   When they signed up.       When they have came.      How many
          living they look at --

              MS. GARCIA:     Objection.     Move to strike as

    25    nonresponsive.




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    1        THE WITNESS:     Yeah, well, I’m responding.

    2        THE COURT:     Granted.
    3        THE WITNESS:     It’s not that.
    4        THE COURT:     Hold on.    I’m going to grant it.

    5             Do you remember what she asked you?
    6        THE WITNESS:     She asked me if I understand that PRLS
    7    license requires you to keep documents for three years.               Not

    8    on the side of landlords.       On the side of tenants I keep

    9    them longer than three years.

   i0        THE COURT:     Go ahead.
   ii    BY MS. GARCIA:
   12        Q    And if there’s a dispute by a prospective tenant
   13    over a property, wouldn’t it make sense to keep copies of
   14    the records related to that listing.            If you have to answer

   15    a request for a refund.
   16        A    We’ve refunded everything going back right away.
   17        MS. GARCIA:     Move to strike as nonresponsive.         That’s
   18    not my question.

   19        THE COURT:     Granted.

   20    BY MS. GARCIA:
   21        Q    How long of a period do you keep records relating

   22    to the authorizations that you receive from property
   23    managers or property owners for your listings?

   24        A    Approximately six months I would say.

   25        Q    Okay.     And how are you able to respond to requests




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     i   for refunds that relate to PRLS services that go beyond the

     2   six months?
     3       A      Our refunds have nothing to do with the properties.
     4   As a policy, we refund anybody who asks for a refund,
     5   period.

     6       Q      What if the request for a refund has to do with a
     7   listing of a property that wasn’t authorized?

     8              How are you able to determine --
     9       A      We haven’t had that.

    I0       Q      Okay.    You are claiming that every listing that
    II   Apartment Hunters has used has been authorized by the
    12   property owner or manager?
    13       A      I’m claiming every refund we’ve had has not been
    14   property related.
    15       Q      And you reviewed every request for a fund?
    16       A      I am the one who issues a refund.
    17       Q      Okay.    And how did you receive those requests for
    18   refunds?
    19       A      By e-mail, by ticketing system, by a recording

    20   telephonic request for a refund, or via credit card company

    21   request.
    22       Q      Have you ever actually received a mailing of a
    23   request for a refund from a customer?
    24       A      Never.
    25       Q      I’m sorry?




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            A     Never.

            Q     Is that because the addresses listed for Apartment
        Hunters are no longer valid?

            A     No, ma’am, that’s not because.

             Q    Okay.    Are you aware that the refund requirement --

        the refund wording requirements for PRLS listings also
        require that the request for refund be mailed by certified
        mail or by regular mail by the client asking for a refund?

             A    Correct.
             MR. TAHMAZIAN:     Objection.       This is beyond the scope of

        the Accusation, your Honor.
             THE COURT:     How is this relevant?
             MS. GARCIA:     Well, there’s been testimony about their

        procedure for refunding requests for a refund.                 And there’s
        been testimony about his knowledge of the PRLS requirements.
                  I just want to know whether he is aware of the fact

         that in order to request a refund, the customer has to show
         proof of mailing.
             THE COURT:     Okay.    It’s probative.            Let’s not spend too

         much time on it.
             MS. GARCIA:     Okay.

             THE COURT:     Do you remember what she asked?

             THE WITNESS:     Yes, your Honor.

             THE COURT:     Okay.

             THE WITNESS:     But we refund without even waiting for a




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          refund request.
                 MR. TAHMAZIAN:      I think the question --
          BY MS. GARCIA:

                 Q    What are the business addresses that Apartment
          Hunters operates out of?

                 A    What are the current business addresses?

                 Q    Yes.
              A       32565 Golden Lantern, Dana Point, 92629.
                 Q   And is that a business address, or is that a
         residence?

              A      That’s a business address.
                     And how long has Apartment Hunters been at that
         address?

             A       Since -- it’s been approximately three and a ~alf
         years, almost four years.

             Q       So since 20127
             A       I would say so, yeah.           I don’t know the exact date.
         It’s been over three years.

             Q       And are you claiming that you notified the Bureau
         of this change of address?

             A       Yes, ma’am, I did.
                     And where was Apartment Hunters before that?
             A       201 North Robertson Boulevard in Beverly Hills.
             THE COURT :     Okay.     Make sure that you let Ms. Garcia
        finish.




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               THE WITNESS:      I apologize.
               THE COURT:     Okay.    Go ahead.
               MS. GARCIA:      Sorry, your Honor.
         BY MS. GARCIA:
               Q     When did Apartment Hunters vacate that location on

         Robertson?
               A     Approximately three years ago, around the same time
         that the new location was announced.
                     I don’t know the exact vacate and new date to give

         you an exact date.

               Q     So this year is 2015.          Three years ago would have
         been 2012; is that correct?
               A     Correct.

               Q     So it’s fair to say that by August of 2013, t~e

         address at Robertson avenue had been vacated --
               A     Correct.

               Q     -- by Apartment Hunters.
                     And do you have proof of any of the applications or
         notices of change of addresses or new versions of contract
         with the new address for Apartment Hunters that were

         submitted to the Bureau of Real Estate?
                     Do you have any of those with you?
               A     Yes.    With us, yes, we submitted it -- it’s right
         here.     Each website, right now live has it.           They’re here.
         ///



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    1   BY MS. GARCIA:
    2        Q    For the record the witness is referring to R’s
    3   Exhibit "E"; is that correct?
    4        A    Correct, ma’am.
    5        MR. TAHMAZIAN:       Yes.

    6        THE COURT:    Yes.
    7   BY MS. GARCIA:
    8        Q    Who obtained this screen shot?
    9        A    I did.

   i0        Q    And when did you get the screen shot?

   ii        A    It is three days old.

   12        Q    Okay.    And where did you -- what website did you

   13   pull this screen shot from?

   14        A    It is, I believe, Apartment Hunters.

   15        Q    So this was from Apartment Hunters’s website?
   16        A    Yes, ma’am.
   17        Q    Okay.    So other than the screen shot that you

   18   allegedly took from Apartment Hunters’s website, do you have

   19   any other copies of any contracts or license applications or
   20    change of address notices that were submitted to the Bureau?

   21        A    They were all submitted the Department.

   22             When were they submitted?

   23             When we asked for the restriction to be removed.

   24             When was that?
   25             I don’t recall the date.




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    1        Q     Was it this year?
    2        A     No, ma’am, it was last year.
    3        Q     20147
    4        A     Right.
    5        Q     Okay.    But you claim that you’ve been at the
    6   address at Golden Lantern since 2012; is that correct?
    7        A     That is correct.
    8        Q     Okay.    Now, Apartment Hunters restricted real
    9   estate license was suspended as of May 8th, 2014; isn’t that
   I0   correct?
   ii       A      Yes.
   12        Q     And so why is Apartment Hunters, as of at least
   13   three days ago, according to your testimony, is still having

   14   a website up for PRLS services even though their license has
   15   been suspended?
   16       A      We were not about to cease operations of the
   17   company for a suspension that has not been fought yet.
   18       Q      Okay.    So you’ve continued to engage in PRLS
   19   services, even after you received the order suspending the
   2O   restricted real estate license from the Bureau; is that
   21   correct?
   22       A      Correct.
   23       Q      And you were with the company at the time of the
   24   previous disciplinary action that was filed against
   25   Apartment Hunters back in 2010; isn’t that correct?




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   1        A     Correct.
   2        Q     And you actually testified at the hearing for that

   3    previous action; is that correct?

    4       A     Correct.

    5       Q     So it is fair to say that you were familiar with

    6   the allegation against Apartment Hunters in that previous
    7   action; isn’t that correct?
    8       A     Correct.

    9       Q     And is it fair to say that you were familiar with

        the final decision on that matter that granted the

   ii   restricted license to Apartment Hunters; isn’t that correct?
   12       A     Correct.
   13       Q     Okay.   And isn’t it true that the allegations with

   14   respect to the use of various domain names, as your attorney

   15   has referred to them as, isn’t it true that those
   16   allegations had to do with an unlicensed use of a fictitious

   17   business name?
   18       MR. TAHMAZIAN:    Objection.      Relevance, your Honor.     It’s
   19   got no baring on this Accusation.          The last case was heard

   20   and dealt with, and as a result a restricted license was
   21   issued.   And now we’re talking about a new Accusation.          That

   22   has no relevance in this case, your Honor.

   23       THE COURT:    Overruled.     It’s probative.     The prior

   24   disciplinary history of the licensee is always relevant.

   25             You can answer.




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     1        THE WITNESS:    Ask your question again, please.

     2    BY MS. GARCIA:

     3        Q    Well, let me see if I can just clarify the issue

     4    here, because you were asked earlier about the steps that

     5    Apartment Hunters took to address the previous allegations
          by the Bureau of Real Estate.        And Counsel kept referring to

     7    them as domain names and trying to tie them into property
     8    addresses?

     9,            But isn’t it a fact that what the Bureau actually

    i0    alleged against Apartment Hunters for those use of the

    II    website names such as forrentinla.com, or
    12    wetakesection8.com, et cetera, the DBAs that were
    13    subsequently licenses under Apartment Hunters.

    14             Isn’t it true is that the allegations had to do

    15    with an unlicensed use of a fictitious business name, and
    16    not the failure -- or use of other actual physical
    17    addresses?     Do you understand my question?

    18        A    No.     No, I don’t.     I’m sorry.

    19        Q    Why did Apartment Hunters add all of those DBAs

    2o    after the previous disciplinary action?
    21        A    They’re hyper regional, specifically targeted

    22    towards business -- different business models.
    23        Q    Isn’t it true that the Bureau alleged against

    24    Apartment Hunters in the previous action, that Apartment
    25    Hunters was using unlicensed fictitious business names




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     1   including For Rent in L.A. and For Rent in San Francisco?

     2       A      They were all licensed and they all had the PRLS

     3   contract on their website.
     4       Q      And that was after the previous Accusation was

     5   filed against Apartment Hunters; isn’t that correct?

     6       A      I don’t recall that.
     7       Q      Okay.   But the use of a fictitious business name

     8   such a website that isn’t exactly apartmenthunterz.com,

     9   isn’t it required that Apartment Hunters file and obtain

    I0   authority from the Bureau of Real Estate to use that

    ii   fictitious business name?
    12       A      And it did.
    13       Q      Okay.   The use of a website is not the same thing

    14   as a business -- a physical business location; is that
    15   correct?
    16       MR. TAHMAZIAN:       Objection.       Calls for argumentation and

    17   it’s a legal conclusion, your Honor.

    18       THE COURT:     Sustained.

    19   BY MS. GARCIA:
    20       Q      Okay.   Is it your understanding in order to operate

    21   out of any location that’s not the main principle address
    22   that’s listed on Apartment Hunters records with the Bureau,
    23   that Apartment Hunters has to obtain a license or authority

    24   from the bureau to use that additional location?
    25       A      I don’t believe so.          I believe that the location is




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     1   the domain.
     2        MS. GARCIA:    Move to strike as nonresponsive.

     3        THE WITNESS:     Since it’s an internet-based company,

     4    there is no location.     A location is the internet.
     5        THE COURT:     Overruled.     I think he’s trying to answer

     6   your question.
     7   BY MS. GARCIA:
     8        Q    I’m referring to physical office addresses, such as

     9    the address Golden Lantern, or the Robertson address.
    I0             Assuming that you have one physical main office

    Ii    address listed with the Bureau, in order for Apartment

    12    Hunters to operate out of any other address besides that
    13    address; isn’t that correct that Apartment Hunters has to

    14    obtain a bond for that location and get approval from ~he

    15    Bureau to operate out of that location?
    16        MR. TAHMAZIAN:     Objection.      That calls for legal
    17    conclusion.   Vague and ambiguous.          Counsel talks about a
    18    physical address and then a location, which is very

    19    confusing.

    20        THE COURT:     All right.     I’ll overrule it, but you can

    21    just tell us if you have an understanding on that issue one
    22    way or the other what it is.
    23        THE WITNESS:     I mean, if I may, the Department of Real

    24    Estate has given a PRLS license to a website that
    25    Ms. Lissete is mentioning.        That’s a 50-state website, We




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     1   Take Section 8, and I’m not sure if we’re suppose to have 50
    2    offices.    For that matter, Rent for San France if I’m
     3   suppose to have a location in San Francisco for customers to

     4   come pick up their money or send mail to.

     5              The entire thing is just a completely confusing set

     6   up to shut this operation down.
     7   BY MS. GARCIA:
     8       Q      Do you understand the difference between a website

     9   and a physical office location?

    I0       A      Ms. Garcia, if you are going to disrespect me,

    ii   please go ahead and do it in a different manner.
    12              I fully understand the difference between a website

    13   and a physical location.       We’re in a physical location, not

    14   on the court’s website.      Yes, I do.
    15       Q      Okay.   And how many physical locations is Apartment

    16   Hunters currently operating out of?

    17       A      There is no physical location, it’s an internet

    18   company.
    19       Q      So what’s actually at the location on Golden

    20   Lantern?    What is there?

    21       A      It’s an office, an office address.         It’s a location

    22   address.    It’s an address to receive mail.
    23       Q      Is it a P.O. box?

    24       A      It’s an office address.

    25       Q      How many desks are at that location?




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     1        A    There is none.     We don’t need a desk.           We don’t
     2    need an office.    It’s an internet company.

     3        Q    Okay.    So where do you and Mr. Shayan regularly
     4    work out of on a day-to-day basis?
     5        A    Out of a location.
     6        Q    What location?
     7        A    Out of our home office.
     8        Q    And what location is that?           What address is that?
     9        A    I don’t think it’s relevant.
    i0        Q    Okay.

    ii        A    Out of a hotel room.        It doesn’t really have
    12    anything to do with where we work out of.
    13        Q    How is the Bureau suppose to serve any documents

    14    related to Apartment Hunters PRLS license if they don’t have
    15    a valid address as to where --
    16        A    On Golden Lantern there is someone there to receive
    17    service live.
    18        Q    You just stated that there’s no person there and no

    19    desk there.
    20        A    There’s person there to receive service.

    21        Q    Who is there?
    22        A    There is a service to receive live lawsuits.
    23             Is that what you want to ask?               There is a person to

    24    receive service from you.

    25        Q    What is the name of that person?




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     I        A       There’s always -- I don’t know a full first name,

     2    last name, but you are welcome to serve us there.
     3        Q       Who employs that person?
     4        A       The location owner.      I’m not sure, ma’am.
      5       Q       So who owns that location?
      6       A       I’m not sure.    There is someone there between 9:00
     7    to 5:00 standing to sign a certified letter or a sheriff can
      8   come and serve anything there under our name, 9:00 a.m. to

      9   5:00 p.m.
    i0        Q       But you don’t know the name of this person who

    ii    supposedly is there to receive service on behalf of

    12    Apartment Hunters?
    13        A       No.
    14        Q       And you don’t know the name of the owner who

    15    allegedly owns Golden Lantern; is that correct?

    16        A       No.   I know there is a person.            I believe his name

    17    is Mike Lee, as Steve just mentioned.             But it could be Mike

    18    Lee, it could be somebody else.           There is a human being

     19   there 9:00 to 5:00.      Feel free to serve.

    20        Q       Who employs Mike Lee?

    21        A       I have no idea, ma’am.
    22        Q       So how is he authorized to accept service on behalf

     23   of the Apartment Hunters?

     24       A       Well, your process server would come up and go,

     25   "I’d like to serve Steve Shayan and Kevin Shayan of




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     1    Apartment Hunters," and the guy would sign and we would go

     2    and pick up the package.

     3        Q     But Mike Lee is not an employee of the Apartment
     4    Hunters; is that correct?

     5        A     No.

     6              Okay.    And who owns Apartment Hunters?
     7              Steven Shayan.

     8              Anyone else?

     9              No.

    i0              So Steven Shayan owns i00 percent of Apartment
    II   Hunters?
    12        A     Correct.
    13        Q     Is Apartment Hunters a corporation incorporated in

    14   California?

    15        A     You’d have to ask Steve.           Yes, it is.
    16        Q     And does the corporation have any officers?
    17        A     Are you asking me?

    18        Q     Yes?

    19        A     Yes, Steve is the officer.
    20        Q     What’s his title?

    21        A     CEO and President.

    22        Q     He’s President?
    23        A     Right.

    24        Q     How long has he been President?

    25        A     You would have to ask these questions from Steve.



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      i    I’m not privy to that information.
      2        Q    What’s your title with Apartment Hunters?
      3        A    I’m just running, as I mentioned earlier, the
      4    company’s design and supporting my brother who has some

      5    health issues, with the website’s design, back and listing

      6    quality, and the employees overseas.
      7        Q    And how long have you held that position?
      8        A    Since 1999.
      9        Q    Has your brother been President of Apartment
     i0   Hunters for the last year?
     Ii        A    He’s been from inception.
     12        Q    Do you know why the Declaration that was submitted
     13    to the Bureau from Vidmantas Macys, and if you want to refer
     14    to it, I’m looking at page four of Exhibit 8.
     15             Do you know why Mr. Macys would claim that he’s
     16    President of Apartment Hunters LT?
     17        A    Absolutely.     That’s a Lithuanian corporation we
     18    own, and we pay Lithuanian taxes to the Lithuanian

     19   Government.    So it’s Apartment Hunters LT.           Lithuanian
     20    corporation with 16 or 17 Lithuanian employees that pays
     21   Lithuanian taxes.
     22        Q    Okay.   And has the Bureau of Real Estate -- well,
     23    let me move back.
     24             Is Apartment Hunters LT engaging in PRLS services?
     25        i    No, ma’am.




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     1         Q   So what is Mr. Macys’s relation to, or involvement
     2    with the PRLS services that are alleged in this Accusation?
     3         A   He’s one of the programmers who was handling data
     4    listings and listing quality on our behalf.
     5         Q   Who’s behalf?
     6         A   On mine and Steve’s behalf that -- he’s being
     7    supervised by Steve, the licensee, and me assisting Steve.
     8         Q   For Apartment Hunters?
     9         A   Correct.
    i0         Q   Using the license that was issued by the California
    ii   Bureau of Real Estate to Apartment Hunters?
    12         A   No, ma’am.     He is a programmer.           So if I’m getting
    13   your question right, next week I have to bring my girlfriend
    14   and my wife in under the license in here to tell you what’s

    15   going on in the bedroom or -- he’s a programmer, that’s all.
    16         Q   I’m trying to understand what Apartment Hunters LT
    17   is.
    18         A   It’s a corporation.
    19         Q   Is that --
    20         A   In Lithuania with a bunch of young men who sit down
    21   and program.
    22         Q   And what do they do?
    23         A   They sit down and program the website.             They data
    24   entry, type, validate, and check the listings.              They make
    25   sure the e-mails have gone out.           The e-mails have been




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     1    replied to.    The customers have been answered to.            And the
     2    photographs are of good quality, watermarked, et cetera.
     3        Q      And for what company are they doing this for?
     4        A      For Apartment Hunters Lithuania corporation.
     5        Q      And these listings are located where?
     6        A      In California.
     7        Q      Is Apartment Hunters Lithuania licensed by the
     8   Bureau of Real Estate in California?
     9        A      Apartment Hunters Lithuania is not a PRLS, it’s
    i0   programmers.        There are not the ones soliciting or entering
    Ii   into a any negotiations with the user, the customer.
    12        Q      So who is?
    13        A      We are.
    14        Q      Meaning?
    15        A      In the United States.
    16        Q      Meaning Apartment Hunters, Inc.?
    17       A       Right.     So the customers are not negotiating with
    18   Vidmantas Macys.
    19        Q      Okay.     So does Apartment Hunters have an office in
    20   Lithuania?
    21       A       I just said that.

    22       MR. TAHMAZIAN:       Apartment Hunters who?          Lithuania or the
    23   one here?
    24   BY MS. GARCIA:
    25       Q       Does Apartment Hunters, Inc. control Apartment




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       1   Hunters LT?
       2       A     Of course.
       3       Q     Okay.    And is there an office for Apartment Hunters
       4   LT in Lithuania?

       5       A     Yes.
       6       Q     Okay.    And has the Bureau been notified of the

       7   address for that office address in Lithuania?
       8       A     Ma’am, I don’t have to notify --

       9       MR. TAHM_AZIAN:       Just yes or no.

      i0       THE WITNESS:      No.

      II   BY MS. GARCIA:
      12       Q     Now, looking at the Complaint for Mr. Wakita in

      13   Exhibit 5, can you please turn to page eight of Exhibit 5.

      14       A     Page.
      15        Q    Eight.

      16       A     Exhibit 5.
      17             I want to take a quick break.
      18             Is that okay to use the restroom?

      19        THE COURT:    Yes.      Let’s go off the record.

      20             (Off the record)
      21        THE COURT:    Back on the record.
      22   BY MS. GARCIA:
      23        Q    Looking the page eight of Exhibit 5.

      24             Exhibit 5, page eight.

      25             It should say CAL BRE page eight.




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     1        A      Yes, sir -- yes, ma’am.
     2        Q      Did Apartment Hunters ever use a phone number
     3    (310) 982-2536?
     4        A      Yes.
     5        Q      Okay.   And you testified earlier that the listings
     6   that Apartment Hunters used for other property managers,
     7   that they would list the numbers to direct the property
     8   managers directly.
     9               So according to this listing, why would Apartment
    i0   Hunters list their own phone number, and not HomeTeam’s
    II   number?
    12        A      We’re a Prepaid Rental Listing Service, and our
    13   only source of revenue is the subscription.            So what I
    14   stated earlier is that once the customer pays our
    15   subscription fee, we’re out of the system, and they get to
    16   the contract that gentleman direct.
    17               So when you contact that (310) 982-2536, you would
    18   get us, at which point you would become a subscriber, and
    19   then directly contact the property, which would be HomeTeam.
    20   We don’t interfere between the point -- after the point that

    21   the customer pays us, they can contact HomeTeam directly 200
    22   sometimes a day.
    23        Q      Did you get permission from HomeTeam to list this

    24   property?
    25       A       I believe I already said that earlier, yes.




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     i        Q     And do you have proof other than the excel

     2   spreadsheets that were prepared by Apartment Hunters

     3   employees?

     4       A      Yes.

     5       MR. TAHMAZIAN:       Objection.       Asked and answered, your

     6   Honor.
     7       THE COURT:      We’ve covered that before, didn’t we?
     8       MS. GARCIA:       Yeah.    I think so.        Sorry.

     9   BY MS. GARCIA:

    I0       Q      This phone number,        (310) 982-2536, is that a

    ii   landline number?       Is that a cellphone number?

    12       A       It’s our company number.

    13       Q      And what address does that number belong to?

    14       A      We have over 30-someodd numbers that are actually

    15   belonging to the company and dedicated to separate,

    16   different websites.       And what address are you thinking
    17   about?     Is it a Pacific Bell phone number with a specific

    18   address?
    19       Q      Correct?

    20       A      It’s not -- their phones are not set up like that.

    21   These are like Cisco Phones, so they’re IP based phones.
    22       Q      Okay.    So is there a physical address as to who
    23   answers the calls that are made to this phone number?
    24       A      Yes.    These calls are answered via intelligent

    25   voice response system, an IVR that automatically recognizes



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     1   who you are, and knows that if you are a tenant or a

     2    landlord.     It talks to you, you can talk to it.            You’ll hear
     3   everything you have to have say similar to the same way you
     4    called Chase Bank or Direct TV, and it would read you a

     5    listing.     It would call you back with a listing.            You can

     6   enter your phone number.           It would do everything a human
     7   does and more, including recorded and/or transfer you to

     8   any -- including a payment system if you’d like to pay.

     9        Q       So a physical human person does not answer these
    I0   calls that are made to this number?                It’s an automated
    Ii   machine?
    12        A       It’s not a machine.         It’s an interactive voice
    13   response system.       It’s intelligent interactive voice
    14   response system.       It’s 21st century, very intelligent ~tuff.

    15        Q       Okay.   Who runs the system for Apartment Hunters?
    16        A       It’s two billion dollar company called Ifbyphone,
    17   I-F-B-Y phone.
    18        Q       Where are the offices located for Ifbyphone?
    19        A       They’re in Chicago.
    20        Q       Okay.   And so this is -- is Ifbyphone owned by
    21   Apartment Hunters?
    22        A       No, ma’am.     I wish.
    23        Q       So how does Apartment Hunters control or supervise
    24   what information is going out calling the phone number
    25   listed here on the listing?




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     1        A    It’s all a huge sophisticated server connected into

     2   our back end.      I could demonstrate if we had time,
     3   unfortunately I can’t right now.           But you would call in and

     4    if you are a member of our service what would happen if you
     5    call in, it right away knows you are Lissete Garcia, you are

     6   a member of our service.       At the tone, please tell me what I
     7    can do for you.
     8             If you even say the word "ref" without the word

     9    "und" it says you want a refund, I’ll do it.            Goes there,

    i0   makes a ticket.      Comes in front of one of our six ladies
    ii    that are there.     Shows up as text, they push a button.         A

    12    text goes, an e-mail goes, an automatic callback goes.            If

    13    you are a landlord you can even activate, deactivated

    14    listings if you have the right criteria inside our system.

    15             You can talk to this thing as if it’s human.            It

    16    recognizes every single word you say.            Once is does it, it

    17    gets transcribed with an audio file where we can listen to

    18    what you say.     Again, within an 18-minute highest response

    19    time.
    20        Q    And somebody calling in for a refund to Apartment

    21    Hunters, they are going to get an automated machine, and not

    22    speak to a physical person?
    23        A    They get a refund within 18 minutes, whether they

    24    do one or not --
    25        Q    Move to strike as nonresponsive.




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     1              Do they talk to a person, or do they get a machine?

     2          A   It’s not a machine.         It’s an interactive voice

     3   response that interacts with you back and forth.              So you’d

     4   say, "I’d like a refund."          It says, "Please tell me the last

     5   four digits of your credit card."             You say it, you get your

     6   money back.

     7              It’s better than a person.            It doesn’t argue with

     8   yOU.

     9          Q   And where would clients of Apartment Hunters go to

    i0   if they are not satisfied with the response they get with

    ii   this IVR system?

    12          A   Where would they go to?

    13          Q   Yeah.

    14          A   It would escalate their complaint to a supervlsor

    15   and would make all kinds of red flags and come directly into

    16   a huge box where it would be flashing to me, Steve, and one

    17   of our senior supervisors -- which that box is usually empty
    18   because we have a punishment system for our staff not doing

    19   a good job, but we don’t have that.

    20          Q   And if a client wanted to sue Apartment Hunters in

    21   a small claim suit, where would they serve the small claims

    22   action?
    23          A   Right here.      To this address on the contract.

    24          Q   You are referring to the Golden Lantern address?

    25          A   Correct.   Exactly where you would serve us.




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    1         Q       And according to as of February 24th -- I’m looking

    2     at R’s Exhibit "A .... the address listed for Apartment

    3     Hunters, according to the Bureau’s website is still

    4     Apartment Hunters, Inc.; is that correct?

    5         MR. TAHMAZIAN:      I’m going to object to that question

    6     based on the fact that what the Bureau has done in the past

    7     year and a half is not before the Court.                You’ve heard

    8     testimony about the fact that they’ve supplied information,

     9    filed the applications with the new address.

   I0                 If the Bureau does not take the proper precaution

    ii    to update their records, that’s not the clients fault their

    12    records still show the old one.

    13                The document shows what it shows, your Honor.

    14        THE COURT:     Overruled.     You can explain that.                -

    15                Do you remember what the question was?

    16    BY MS. GARCIA:

    17            Q    So if a member of the public is looking up

    18    Apartment Hunters, Inc. on the Bureau’s website, they are

    19     going find the invalid address that’s on Robertson

    20     Boulevard; isn’t that correct?

    21            A    Correct.

    22            Q    And you are claiming that if someone tries to serve

    23     a lawsuit on Apartment Hunters, Inc. at the Golden Lantern

    24     address that they would have to serve it on someone who’s

     25    not an employee of Apartment Hunters, a person that you’ve




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    1    names as Mike Lee; isn’t that correct?
    2        A    Someone is there to accept any kind of lawsuit,

    3    small claims, regular, any kind of suit.

    4        Q    Okay.     When did you start working with Trulia.com?

    5        A    I don’t recall the exact date.                 I believe it’s back

    6    in -- we started the negotiating February, I think of -- the
    7    e-mail is here.     I don’t have the dates right in front of me

    8    right now.

    9        THE COURT:     Do you remember the year?

   i0        THE WITNESS:     Yeah.     February of 2013, sir.

   ii    BY MS. GARCIA:
   12        Q     February of 2013 is when you claim that you started

   13    working with Trulia?

   14        A    The communications started back in that time, ~es.
   15        Q    When did you actually have permission to list

   16    Apartment Hunters listings on Trulia’s website?

   17        A     The negotiations started in February and were on

   18    paper, I want to say in March of 2013, and finalized in that

   19    time.   The exhibits are here.
   20        Q    Are you referring to Exhibit "D"?

   21        A     Yes, ma’am.      It’s "D", yes.
   22        Q    And so I’m looking at the first page of
   23    Exhibit "D", and the top e-mail.

   24              Did Apartment Hunters have a contract in place with

   25    Trulia as of June 5th of 2013?




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     1           A      It had it before.        This is an older e-mail.      If you

     2   go further down, you’ll see March 29, 2013.                  This is put in

     3   reverse order, ma’am.
     4           Q      Okay.     Now, the --

     5                  March Ii, 2013 if you look.

     6                  What page?
     7                  There’s e-mail dates, ma’am.            March 29, 2013 you’ll

     8    see.       And look here it says right here, I’ll show it to you.

     9   Right there, ma’am, March llth.

    i0           Q      On the bottom left corner there’s the page --

    ii           A      No, no.     On the e-mail from Trulia to us starting
    12   portion of the negotiation, your Honor.
    13           THE COURT:       Second to the last page.

    14           THE WITNESS:       Right here.

    15           THE COURT:       Do you see it, Ms. Garcia?

    16           MS. GARCIA:       Yes.
    17           THE COURT:       Okay.   She’s got it.

    18           THE WITNESS:       Sorry.

    19    BY MS. GARCIA:
    2o           Q      Okay.     That e-mail purports to reflect a question
    21    from a Trulia employee as to how they can work with

    22   Apartment Hunters?
    23           A      That’s when they start the negotiations.
    24           Q      Okay.     So when exactly did Apartment Hunters start

    25    listing properties on Trulia.com is my question?




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          1              A    I believe it was in April, April or May.       I’m not
          2    sure of the exact date.          I’d have to go look it up.     I’ve
          3   provided every communication or most of them here.
         4            Q      And what year?
         5           A       2013.
         6           Q       And the listings that Apartment Hunters was placing
         7    on Trulia’s website, were those properties owned by Trulia?
         8           A       One more time, please?
         9           Q       The listings that Apartment Hunters posted on
     I0       Trulia’s website, were those properties owned by Trulia?
     ii              A       Your question is confusing.
     12                      Why would I be taking properties that are owned by
     13       Trulia and put it up on Trulia?
     14              Q       So you are claiming that the properties on T}ulia’s
     15       website are owned by Trulia?
     16              A       You just told me that.        I think we’re -- either I’m
     17       confused or we’re all getting tired.
     18                      I would be putting up properties on Trulia that
     19       Trulia doesn’t have.        What you just asked me is:        Did I put
    20        up properties owned by Trulia on Trulia.
    21                       Why would they come to me for properties that they
    22        own?
    23               Q       So Trulia didn’t have authority to give you to list
    24        properties that they do not own; is that correct?
    25               MR. TAHMAZIAN:     That’s a vague questions.       Objection.




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      1   Vague.
      2        THE COURT:     Do you understand what she’s asking?
      3        THE WITNESS:     I fully do.      May I respond?
      4        THE COURT:     Yes.
      5       THE WITNESS:      Where you are going is that and once
      6   Trulia gets permission from the landlord to list the
      7   property on Trulia, they give it to me via a feed, and I
      8   don’t have to call again to get permission from that

      9   landlord.
     I0               We’ve been going through this with your company,
     ii   with your office for 15 years now.
     12       MS. GARCIA:      So --
     13       THE WITNESS:      One, Trulia calls the landlord, gets
     14   permission.     Two, gets that vacancy.          Overnight they tan

     15   transfer that vacancy to us without us having to call again
     16   to get permission.         Same goes with the MLS.      I have a
     17   license to get and display MLS data, which means I don’t
     18   have to call each MLS broker and get permission for that

     19   rental listing, because the MLS gave it to me.             So we can go
     20   again and again for 15 more years.
     21   BY MS. GARCIA:
     22       Q       Okay.   So you are claiming that the four properties
     23   that HomeTeam is complaining about, that you had permission
    24    to list those properties because HomeTeam may have listed
    25    those onto Trulia?




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    1        MR. TAHMAZIAN:     Objection.      Misstates his testimony.       He

    2    testified about the exhibits very clearly and about the

    3    e-mail that he got from HomeTeam.           That wasn’t his

    4    testimony.

    5        THE COURT:     Okay.   He can agree or disagree.          Is what --

    6        THE WITNESS:     It can be both.

    7    BY MS. GARCIA:
    8        Q    So do you actually contact the property manager or

    9    the owner for every single listing that you are pulling from

   i0    Trulia or any other website that you are using to list

   ii    Apartment Hunters information on?

   12        A    No.

   13        Q    You do not contact the property manager?

   14        A    No, because once the data comes from Trulia, ~rulia

   15    has already contacted those properties and then they send it

   16    to us.
   17        Q    Those properties have allowed Trulia to list their

   18    listing or properties.        They have not given --

   19        A    And once Trulia sends it to us, the permission has

   20    already been given over.        That’s a legal thing.     That’s your

    21   fight with them, not mine.

    22       THE COURT:     All right.     You cut off Ms. Garcia there.

    23       THE WITNESS:     Sorry.

    24       THE COURT:     Let her --

    25       THE WITNESS:      I’m very passionate about this permission




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    1   thing.   They’ve been trying to shut down our company for
    2    15 years.
    3        THE COURT:      I see that.        But if you both speak at the
    4    same time and the reporter doesn’t get it, your passion just

    5    kind of evaporates --

    6        THE WITNESS:      Sorry.
    7        THE COURT:      -- and is it doesn’t get on the record,
    8   which is not what you want to do.

    9        THE WITNESS:      No.      I appreciate that, your Honor.

   I0        THE COURT:      Go ahead.
   ii   BY MS. GARCIA:
   12        Q       Do you understand that a PRLS licensee has to

   13   obtain information from the property management or manager

   14    in order to list that property on their listings that ~hey

   15    sell to prospective tenants?

   16        A       I do.
   17        Q       Okay.   And you didn’t obtain -- never mind --

   18    strike that.
   19                Why did Apartment Hunters vacate the office at the

   20   Beverly Hills address?
   21        A       We wanted to be by the ocean in Orange County.
   22        Q       Okay.   Now, looking at your set of exhibits, please
   23    look at Exhibit "B".
   24        A       Yes, ma’am.
   25        Q       Who prepared this document?




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    1       A      I did.

    2              When did you prepare it?

    3              I believe two nights ago -- three nights ago.

    4              Okay.    And looking at Exhibit "C", how did you

    5   obtain these documents?
    6       A      This is a feed that is a sample of how data arrives
    7   from a data feed partner.         And this is a sample of what it

    8   looks like, which I went through all of this, I believe,

    9   earlier.    Comes raw, looks like this when it gets displayed.

   i0        Q     I’m referring to Exhibit "C" specifically?

   ii       A      You go to our website, you do a screen shot, you
   12   print it, it comes like this.
   13        Q     So this is from Apartment Hunters website?

   14       A      Correct, ma’am.      That’s what is says.

   15        Q     And when did you print these documents out?

   16        A     Same time I did these.          Couple of nights ago.

   17        Q     Okay.    And just from my brief review of these

   18   documents, it doesn’t look like the property addresses match

   19   up from the ones --

   20        A     These are samples.        These are just samples for the

   21   Court to understand raw data, transformed data.            They’re not

   22   exactly from these.

   23        Q     They are not the same properties?

   24        A     They’re not.     Just an example.

   25        Q     And how did you get the information for these




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     1    properties on Exhibit’s "B" and "C?
     2        A    How did I get?
     3        Q    Are these properties owned by Apartment Hunters?
     4        A    Ma’am, these came to us.            On top, Apartment Guide,
     5    it’s a partner who sends the listings to us every night.            So
     6    I obtained these properties from a feed partner.
     7        Q    Okay.
     8        A    And these I obtained by printing them on our own
     9   website, which is a direct transformation of raw data to
    i0   regular pages.
    ii        Q    Okay.     And does Apartmentguide.com -- are they the
    12   owners or property managers --
    13        A    Absolutely not.        They are the legal advertiser and
    14   they have been -- they get paid by the property manager to
    15   promote, advertise, and syndicate these listings.
    16        Q    Did Apartment Hunters obtain permission for every
    17   one of these properties from the property owner or property
    18   manager to list them?
    19       A     No.     And we don’t have to.
    20       THE COURT:      All right.     Ms. Garcia, it’s 4:30 I think
    21   we’re going to have to stop at this time.
    22             Let’s have a chat off the record.
    23             Off the record now.
    24             (Discussion off the record)
    25       THE COURT:     My understanding from Ms. Garcia is that she




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  Respondent AHI violated provisions of the Real Estate Law, the Subdivided Lands Law,
- Regulations of the Commissioner or conditions attaching to the restricted license.

           11. According to the terms of the restricted license, Respondent AHI was not
   eligible to apply for the issuance of an unrestricted license or for removal of any of the terms
   or conditions of said restricted license until two years had elapsed from the effective date. It
   was not established that Respondent AHI had submitted such a request at any time.

   Respondents' Use ofInformation from Hometeam Property Management

            12. On June 7, 2013, the Bureau received a compl~t from Mr. Yo Wakita, a
   leasing manager and Co-owner ofHometeamProperty Management (Hometeam).ltometeam
   is a licensed real estate corporation that performs property management services for property
   owners in Southern California, particularly the San Diego area. Hometeam lists available
   rental properties on the Multiple Listing Service (MLS), on Hometeam's own website, and
   on various sy11dicated real estate marketing websites, such as C~gslist, Trulia, and Zillow.

           13. Mr. Wakita submitted his complaint to the Bureau after he discovered that
   Respondents had, without Hometeam's authorization, used copyrighted pictures and
   information about four separate rental properties listed on Hometeam's website; and, without
   written or oral permission, posted said pictures and information about the properties on
   different websites including, but not limited to, Trulia and Zillow. Specifically, Respondents
   took photogn;tphs of the four properties displayed on Hometeam's website, eliminated the
   "Hometeam" watermark inserted on the photographs by cropping and shrinking the borders
   of the photographs~ and placed an "ApartmentHunterZ" watermark on the photographs. The
   photographs and information froin Hometeam's website concerning the four properties, as
   well as AID's website address, were placed on promo~ions for the properties found on the
   other websites.

          14.     Hometeam had an exclusive 'listing With the landlords of the four properties in
   question, which were located in Chula Vista as follows: one on Thompson Ave~ue; one of
   Reisling Terran<;e; and. two on Stanislaus Drive. Respondents listed an incorrect rental
   amount for one of the properties, although the rest of the information was generally the same
   as that on Hometeam' s website for the four properties.

          15. · A person viewing Respondents' advertisements for the four properties on the
  Trulia and Zillow websites would iliitialljibelieve Respolldetitswere atit4oiized to-solicit. -.
  prospective tenants for those properties on behalf of the property owners, managers, or any
  authorized agent. However, as established by the testimony of AHI employee Kevin Shayan,
  the brother of Steven Shayan, somebody viewing these four listings on either another website
  or AHI's would receive access to the property address and landlord contact information only
  when they paid a fee to AID. Once that was done, the prospective tenant would be referred ·
  only to Hometeam, not AID. Respondents only receive compensation on such listings by
  customers who pay Respondents a subscription fee. Respondents do not participate in renting
  out the properties.and_receive-no.compensation when-the properties arelease<L ....: ___ . ----·· . ----


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   be located at Respondents' physical address. He also testified that personnel at the office in
   Orange County can accept service of process or official Bureau requests, if need be.

   Unlicensed Activity

          26.    Other than unsuccessfully requesting a stay, Respondents have ignored the
   Suspension Order. Kevin Shayan was clear in his testimony that Responde~ts have continued
   to engage in PRLS activity after receiving the Suspension Order on or about May 8, 2014,
   and have continued doing so to the present time. Respondent Shayan was not licensed in any
   capacity by the Bureau during this period.

          27. · Respondents contend, but did not establish, that the Bureau knew at all times
   relevant that they were continuing to engage in PRLS activities after the restricted license
   was suspended and/or expired. If anything, the record created in this case tends to indicate
   the Bureau was not aware of such activity until Kevin Shayan testified as described above
   during the hearing.

           28.      Kevin Shayan testified that Respondents continued to engage in PRLS activity
   after .Alll's.restricted license was suspended because they had not yet had an opportunity to
   challenge the Suspension Order, presumably referring to the hearing. Respondents thereafter
   contended in their opposition to the First Amended Accusation that they continued to engage
   in PRLS activity after the Suspension Order was issued because they "would be cut off at the
   knees ifthey stopped their fifteen yearbusiness and left with no livelihood." (Ex. G, at p. 5.)
   They also intimated that their continued engagement in licensed activity after the restricted
   license was suspended and/or expired was justified because the Bureau has engaged in
   "relentless and ruthless efforts to shut Respondent's business down." (!d.)

         29.    Respondents did not address the fact that AHI's restricted license expired on
   March 12, 2014. They did not explain why the restricted license was not subsequently
   renewed.

   Costs

          30.      The Bureau incurred reasonable costs in the investigation and prosecution of
   this matter in the amount of $2,859.90.                             ·

          31.     The Bureau submitted a copy of the documents evidencing its rusts to
   Respondents before the heariti.g. Respondents' counsel sent to the Bureau legal objections to
   said costs before the hearing. Respondents' objections have been considered and are
   overruled. Those objections did not include that the pleadings involved in this case do not
   contain a prayer for costs.

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                       .                                             .   .
           13.     Respondents do not dispute that they engaged in unlicensed activity. They
   only provided excuses for doing so. However, none of their excuses are valid justification for
   breaking the law. As the holder of a restricted license pursuant to section 10156.7,
   subdivision (b), Respondents were subject to an immediate suspension before a hearing
   could be convened. After unsucces8fully seeking a stay of the Suspension Order from the
   Commissioner, Respondents could have sought relief in Superior Court or requested an ·
   expedited hearing date of this matter. They did neither. Instead, they decided to willfully
   violate a legal order from the Commissioner. Moreover, Respondents allowed their restricted
   license to expire and failed to renew it. They have not explained how they -could legally
   operate with an expired license. Whether or not the Bureau knew that Respondents .continued
   to operate after the Suspension Order was issued is beside the point. In any event, it was not
   established that the Bureau Irnew Responden~ were violating tlie Suspension Order before
   the hearing commenced.                                                      ·

   Disposition

           14.     First Amended Accusation. Since cause for discipline has been established in
   this case, a determination must be made on the level of discipline warranted.-Respondents
   received their PRLS license in 2007. Just a few years later, they were subject to serious
   discipline for violating the Real Estate Law, which resulted in. a restricted PRLS license
   being issued· in 2012. Slightly over one year later, Respondents engaged in the deceptive
   advertising of the properties listed by Hometeam. Unbeknownst to the Bureau, Respondents
   had abandoned their designated office of record even before they received their restricted
   PRLS license and failed to aovise the Commissioner of their new location. Respondents
   essentially ignored the Commissioner's Suspension Order, allowed their restricted PRLS
   license to expire, and thereafter engaged in unlicensed activity. Respondents have been
   unapologetic for any of this misconduct. Instead, Respondents present a picture of a licensee
   with little regard for the Commissioner and no desire to comply with the rules and ·
   regulations established by the Commissioner. Respondents have presented no evidence
   indicating such misoonduct will not occur again soon. Under these circumstances, an order
   revoking the restricted PRLS license is w~rranted for the protection of the public. (Factual
   Findings 1-29; Legal Conclusions 1-13.)

           15. ·Suspension Order. The Suspension Ordet was premised only on the allegations
   concerning Respondents' use of the information taken from the Hometeam website. Since
   cause for discipline based on those allegations was established, there is cause to sus~ the
   Suspension Order. Since Respondents' restricted PRLS license Wiil be revoke~'no fuither
   action on the Suspension Order is necessary. (Factual Findings 1-20; Legal Conclusions 1-4.)

   Costs

            16.    A Section 10106 authorizes the Commissioner to request an order in
    resolution of any disciplinary proceeding directing a licensee found to have committed a
    violation of the Real Estate Law to pay the reasonable costs of the investigation and
  __enforcement.ofthe case. In an action against a licensed corporate entity, a costs-order· can be···· · . · · ·


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                        EXHIBIT C
Zimbra                                                                    http://mail.apartmenthunterz.com/zimbra!h!printmessage?id=712513 &t...
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         Zimbra                                                                             info@apartmenthunterz.com


          RE: Trulia Feed



            From -" Devu Gandhi <dgandhi@trulia.com>                                          Wed, Jun 05, 2013 04:54 AM
          Subject : RE: Trulia Feed                                                                      .# important # red
                To : ApartmentHunterZ.com Affiliate Partner                                                    .~:~’ 1 attachment
                     <affiliate@apartmenthunterz.com>, Kevin Shayan
                     (kevin@apartmenthunterz.com)
                     < kevin @a partmenth u nterz.com >
                Cc : Pierre Calzadilla <pierre@trulia.com>

            Hi Kevin,
            Have you had a chance to review the proposal I sent over last week? We’re ready to turn your feed on and
            begin sending you referrals, but I wanted to get your feedback on some of the linking ideas I included. Can
            we hop on a quick call to discuss tomorrow?
            Thanks,
            Devu


            From: Devu Gandhi
            Sent: Thursday, May 30, 2013 4:47 PM
            TO; ’ApartmentHunterZ.com Affiliate Partner’
            C¢::-" Kevin Shayan (kevin@apartmenthunterz.com); Pierre Calzadilla
            Subject-" RE: Trulia Feed


            Hi Vidmantas,
            I’ve put together a few slides to reflect the conversations both Pierre and I have had with Kevin, plus a few
            additional ideas we discussed the last time we spoke. To summarize:
                      We’ll display your listings for LA and SD
                      You’ll pay us $0.20 per user referral, which will come from a PDP "contact" action
                      You can respond to those referrals, and offer a $10 discount off a subscription to Trulia’s users
                o     We can hide the exact address in the listings information that we show consumers


            I also included a few slides of integration ideas for you to consider:
                -     Providing access to Trulia’s local information
                -     Integrating some our widgets onto your pages


            Finally, Pierre mentioned that he had spoken to Kevin about including a few complete listings in front of the
            subscription wall. Is this still an option and how would we accomplish this?


            As for next steps -
                1.    We finalize the pieces of the relationship, i.e. listings, links, widgets, etc.
                2.    I’ll send over a draft agreement that reflects the deal
                3.    We’ll simultaneously begin working to integrate your feed into our site




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          We’re in high season, so we’re excited about getting this done quickly!
          Let me know if you have any quest-ions; I’d be happy to jump on a call tomorrow or next.week.
          Thanks,
          Devu




          From: ApartmentHunterZ.com Affiliate Partner [mailto:affiliate@apartmenthunterz.com]
          Sellt~ Wednesday, May 22, 2013 1:49 AM
          TOl Devu Gandhi
          Subjectl Re: Trulia Feed


          Hello,

          My name is Vidmantas, i am Senior Affiliate Manager at ApartmentHunterZ.com my goal is
          to work with you to expedite our partnership.

          Per your conversation with Kevin, Kevin had promised to send you our last email to Pierre
          which mentions our affiliate offer, I attach the original email bellow.




          Please let me know if you have more questions and when we can start sending our data to
          your website.

          Thank you


          Vidmantas Ma
          Senior Affiliate Manager

          www.ApartmentHunterZ.com/Affiliate
          Your Affiliate Partner
          310-982-2536 / affiliate@apartmenthunterz.com

          /MTiliate Links:

          About Affiliate ProQram
          Siqn Up (’become Partner)

          Siqn In (existinq account)


          ...... Original Message ........
          Subject: Fwd: Trulia Feed
          From: Kevin Shayan <kevin@apartmenthunterz.com>
          To: Pierre Calzadilla <pierre@trulia.com>
          CC:




2 of 9                                                                                                                   2015-02-24 14:22
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                                                   Kevin Shayan
                                                       President


                           Phone: 949-248-0055,   I~lobile: 310-994-9595, Fax: 949-248-0056

                                      Email:   Kevin@ApartmentH unterZ.com

                                          www.Apa rtm entH u nterZ, com


          Hi Pierre,

          I tried to answering your questions as short as possible.
           Expected listing volume in LA County and SD:
          Our Expected listing volume in Los Angeles County and San Diego county are as follows
          LA County - over 10k, SD around 8k

          This number could vary depending on the season, but I can assure you that we have
          the largest most up to date volume listings for all of California.

          Please see excel sheet attached for our total coverage. It’s broken by county and zip code.

          I had also suggested since we are including a ONE TIME feed with address & phone
          numbers that you have your team do a check to see that we do have unique data in other
          areas should you choose to include them.
           Conversion rate from past experience?
          Conversion rate changes from 0.3% to 1.5% at hot season. ( Slow times are Oct, Nov, Dec
          ) during slow times because of the Holidays not too many relocate.
          And also it depends on traffic source. Web search tend to have lowest rate, while relevant
          websites like Trulia - highest.
           What would rev share look like?
          In general we pay $0.15-0.2 per referral, and $5-10 per sale, it depends on the volume.

          As far as I understand in terms of referrals the main thing for Trulia is the email inquiry
          form,
          because I see link to the site email inquiry is at the very bottom of details page and not
          very accessible.

          For email inquiries we pay $0.2. We used to pay more but it didn’t work very well for us.
          There is a big chance to loose a customer over a long email conversation while converting
          from click is sometimes a matter of minutes.
          But it’s all negotiable, so I’m sure we can work this out.

          You had indicated that you were not particularly interested in a per subscription revenue
          share.
          So in this case we can discount for all Trulia visitors and have special coupon with a
          $10.00 discount.




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                                             #:1120



          feed urls are:

          http://www.apartmenthunterz.com/bulkupload/trulia/ah feed la sd.xml - LA & SD

          http://www.apartmenthunterz.com/bulkupload/trulia/ah feed full.xml-

          I have also attached data for our National Government housing Section 8 data.
          Please comment. The site is www.wetakesection8.com

          http://www.apartmenthunterz.com/bulkupload/trulia/s8 feed.xml


          If there is anything else you need let me know I will make it happen.

          Kevin




                                                      Kevin Shayan
                                                           President


                             Phone: 949-248-0055,    lUlobile: 310-994-9595, Fax: 949-248-0056

                                          Email:   Kevin@ApartmentHunterZ.com

                                               www.ApartmentHunterZ.com



          From: "Pierre Calzadilla" <pierre@trulia.com>
          To-" "Kevin Shayan" <kevin@apartmenthunterz.com>
          Sent-" Friday, March 29, 2013 10:31:42 PM
          Subject: Re: Trulia Feed

          Fantastic Kevin, looking forward to it.

          Best,
          Pierre A. Calzadilla
          Trulia.corn - 116 New Montgomery St, Suite 300
          San Francisco, CA 94105
          (415) 400-7260


          Twitter: https://twitter.com/NYPierre
          Linkedln: http ://www.linkedin.com/in/pierrecalzadilla
          Trulia: http://www.trulia.com/profile/NYPierre/
          Check out Trulia Rentals and our Mobile Tools.




4 of 9                                                                                                                 2015-02-24 14:22
Zimbra                                                                 http://mail.apartmenthunterz.com/zimbraJh/printmessage?id=712513 &t...
         Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 144 of 183 Page ID
                                             #:1121




                    real estate search

          About Tmlia, Inc.
          Trulia {NYSE: TRLA) gives home buyers, sellers, owners and renters the inside scoop on properties, places and
          real estate   professionals. Trulia has unique info on the areas people want to live that can’t be found anywhere
          else: users can learn about agents, neighborhoods, schools, crime, commute times and even ask the local
          community questions. Real estate professionals use Trulia to connect with millions of transaction-ready
          buyers and sellers each month via our hyper local advertising services, social recommendations and
          top-rated mobile real estate apps. Trulia       is headquartered in downtown San Francisco. Trulia is a registered
          trademark of Trulia, Inc.



          From: Kevin Shayan      <kevin@apartmenthunterz.com>
          Reply-To:       Kevin   Shayan <kevin@apartmenthunterz.com>
          Date: Friday, March 29, 2013 1:30 AM
          TO-" Pierre Calzadilla   <pierre@trulia.com>
          Subject-" Re: Trulia Feed


          Pierre,

          I am working with my team to actually not only send you the data regarding traffic &
          conversions but to also give you the number of smaller properties per zip code etc.
          Eventually we can even prepare a full feed & send it to you including full address & phone
          number, this way you guys can run a quick query to see how many unique listings per
          area we can provide & you can choose areas based on your needs.

          I will put together a couple of quick scenarios & send you an email by next Tuesday.

          We can make this happen for sure.

          Thanks
          Kevin

                                                          Kevin Shayan
                                                                President


                                  Phone: 949-248-0055,   Iqobile:   310-994-9595,   Fax:   949-248-0056


                                              Email:   Kevin@ApartmentHunterZ.com

                                                  www.ApartmentHunterZ.com



          From: "Pierre Calzadilla" <pierre@trulia.com>




5 of 9                                                                                                                         2015-02-24 14:22
Zimbra                                                                http://mail.apartmenthunterz.corn/zimbra/h/printmessage?id=712513&t...
         Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 145 of 183 Page ID
                                             #:1122

          To: "Kevin Shayan" <kevin@apartmenthunterz.com>
          ,Sent: Thursday, March 28, 2013 3:52:47 PM
          Subje~: Re: Trulia Feed

          Kevin,

          A few questions for clarity:

              ¯ Expected listing volume in LA County and SD:
              ¯ Conversion rate from past experience?
              ¯ What would rev share look like?

          Best,
          Pierre A. Calzadilla
          Trulia.com - 116 New Montgomery St, Suite 300
          San Francisco, CA 94105
          (415) 400-7260


          Twitter: https : [ [twitter.com/NYPierre
          Linkedln: http://www.linkedin.com/in/pierrecalzadilla
          Trulia: http://www.trulia.com/profile/NYPierrel
          Check out Trulia Rentals and our Mobile Tools.




                     trul a
                     real estate search

          About Trulia, Inc.
          Trulia   (NYSE: TRLA) gives home buyers, sellers, owners and renters the inside scoop on   properties, places and
          real estate professionals. Trulia has unique info on the areas people want to live that can’t be found anywhere
          else: users can learn about agents, neighborhoods, schools, crime, commute times and even ask the local
          community questions. Real estate professionals use Trulia to connect with millions of transaction-ready
          buyers and sellers each month via our hyper local advertising services, social recommendations and
          top-rated mobile real estate apps. Trulia      is headquartered in downtown San Francisco. Trulia is a registered
          trademark of Trulia, Inc.



          From: Kevin Shayan      <kevin@apartmenthunterz.com>
          Rel~l~/-To-"    Kevin   Shayan <kevin@apartmenthunterz.com>
          Date; Monday, March 25, 2013 3:06 AM
          TO; Pierre Calzadilla    <pierre@trulia.com>
          Stlbje~’~:-" Re: Trulia Feed


          Hi Pierre,

          Thank you for the call. I have discussed the feed & partnership with both my partner as




6 of 9                                                                                                                        2015-02-24 14:22
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                                              #:1123

           well as my senior developers. We are excited to move forward, & put everything needed in
           motion rather fast.

           After our call it is clear that you are mainly interested in all of Los Angeles County & that
           we should remove the larger communities. You also showed interest in San Diego both of
           which we can drill down & provide smaller private management company data as well as
           individual landlords.

           We will provide this data as frequently as daily & no less than 3 times a week as the
           listings do change much faster than the bigger communities.

           I wanted to ask you to outline in detail how you see the partnership working in terms of
           revenue on both sides. As you are aware our only source of revenue is the subscription
           fee. For every guest as well as every member we invest a lot of money in 24 hour live
           customer support as well online chat, text messages & listings via email.

           We did have a long term partnership with Yahoo real estate, were we did provide the
           visitor with one or 2 listings displaying the full address & phone number.

           You had indicated that you were not particularly interested in a pay per subscription
           revenue share. In this case we can even discount our subscription by for example $10.00
           dollars. This way all memberships via your site are offered at a discount etc.

           Please email me a few options & we can move forward from there. I can get this set up in
           less than a week once we can agree on the terms you have in mind. If you need a member
           access to the site please let me know.

           I look forward to your response.


           Kevin
           Kevin@apartmenthunterz.com




                                                    Kevin Shayan
                                                         President


                             Phone: 949-248-0055,   I~lobile: 310-994-9595, Fax: 949-248-0056

                                        Email:   Kevin@ApartmentHunterZ.com

                                            www.ApartmentHunterZ.com




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 7 of 9
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          Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 147 of 183 Page ID
                                              #:1124


           From: "Pierre Calzadilla" <pierre@. trulia.com>
           To: development@apartmenthunterz.com
           Sent: Monday, March 11, 2013 3:31:34 PM
           Subject-" Trulia Feed


           Good afternoon,

           Someone on your team submitted a feed to Trulia on approximately 2/1/2013. I would like
           to connect with your business development, or leadership, to discuss how we can work
           together.

           Best,

           Pierre A. Calzadilla
           Trulia.com - 116 New Montgomery St, Suite 300
           San Francisco, CA 94105
           (415) 400-7260


           Twitter: https: [/twitter.com/NYPierre
           Linkedln:  http://www.linkedin.com/in/pierrecalzadilla
           Trulia: http://www.trulia.com/profile/NYPierre/
           Check out Trulia Rentals and our Mobile Tools.




                      trul a
                       real estate search

           About Trulia, Inc.
           Trulia (NYSE: TRLA) gives home buyers, sellers, owners and renters the inside scoop on properties, places and
           real estate professionals. Trulia has unique info on the areas people want to live that can’t be found anywhere
           else: users can learn about agents, neighborhoods, schools, crime, commute times and even ask the local
           community questions. Real estate professionals use Trulia to connect with millions of transaction-ready
           buyers and sellers each month via our hyper local advertising services, social recommendations and
           top-rated mobile real estate apps. Trulia     is headquartered in downtown San Francisco. Trulia is a registered
           trademark of Trulia, Inc.




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             real estate search
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9 of 9                                                                                                2015-02-24 14:22
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                                    #:1126




                        EXHIBIT D
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                                               #:1127




                    rtmentHunterz


<.--~ ~,.~: ........ ~,.~=.....       ~           Dont let rentals sit vacant
:~ ~’                             ,
 ,,~"              ~ .....                                          in less than 3 days~



R~en~ ~ no~ced by visi~ng your website h~:!!~.d~nvestmen~.com/that you
have a~b~ va~ncies.

Apartmenthunterz.com & it’s family of websit6 is oile of the largest rental lisUng
services in California with over 70,000 Estings of apartments, houses and condos for
rent. We have S,O00+ registered tenants and 4~,000+ prospective tenants visiting daily.
Landlords Can post their listings 100% free of charge.

we would like to refer prospec~ve tenants to you on a davy basis, and maximize your
markel~ng efforts as well as synd~caUng and advertising your properties on our partner


If you wish us to list all vacancies available on your website
http://www.dwinvestment~.comi p|ese dick this huron




 By diddng I:!lis button you grard: Apartmen~ Hunters lnc and its affiliates websites permission to list
          your vacar~ies on ApaCcment Hur~ers web~ites, includ~g a~,ailable vacandes on
 www.dwinvesl~e~s.com0 syndicate and adv~ise I1~ose o~ Apartment Hu~te~s partner websites.


Our partner network, Ust with us and we will advertise your listings on 30+ of our
partner websites.



                                                                  Walk Score"




How we obtained your contact Information? We have built relationships with
property owners and mangers as wetl as mu!~l:de lisbng services since 1999, and have
30,000+ managemen~ companies and p~iva~e landlords registered with us. There is a
possit:~t7 that a member of your management co~npany or a previous manager has
signed up as landlord on one of our websites and granted us permission to ~ your
ava~abte vacanoes. Please contact our support service to obtain your Iogin or register a
new landlord accoun~ ~ch us.

Don’t wt~h to l~t? Please click th~ lll]k to unsubscribe. You will not get emalis from us
regarding your ~ngs in the future.


                          The Apartment Hunters Network
     Powerful apartment search website~, innovative search tc~s, unmatched sexvice:
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 151 of 183 Page ID
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                                    #:1130




 1                            DECLARATION OF VIDMANTAS MACYS

 2
      I, Vidmantas Macys, declare as follows:
 3
             1.     I am over the age of 18 and I am employed by Apartment Hunters, Inc. I have
 4
                    personal knowledge of the facts set forth herein. If called upon as a witness, I
 5

 6                  could and would competently testify as to these facts.

 7           2.     I am an employee of Apa~unent Hunters, Inc. Specifically, I am the President for

 8
                    UAB "Apartment Hunters LT" based in Lithuania.
 9
             3.     I am knowledgeable about the process Apartment Hunters, Inc. utilizes in
10
                    collecting information for management companies, such as Hometeam Property
11

12                  Management. As part of its business, Apartment Hunters, Inc. collects contact

13                  information of management companies from publicly available sources. Then,
 14
                    Apartment Hunters, Inc. has a sophisticated automated system that sends
 15
                     automatically generated emails that ask the recipients whether or not they wish for
 16
                     Apartment Hunters, Inc or its partner websites to list the recipients’ available
 17

 18                  vacancies. Furthermore, Apartment Hunters, Inc. has a separate system which

 19                  maintains the registering of the "clicks" which shows whether the recipients agree

20
                     or disagree to list their vacancies in both a server log and a database record. The
21
                     server log reveals information regarding the "clicks" in more depth as it tracks
 22
                     very specific data, including, but not limited to, second timestamp and IP address.
 23

 24                  These server logs are maintained for five to six months.

 25          4.      I have reviewed Apartment Hunters, Inc.’s database record in connection to the

 26
                     following four properties: 1660 Thompson Ave., Chula Vista, CA; 524 Reisling
 27
                     Terrace, Chula Vista, CA; 1448 Stanislaus Dr., Chula Vista, CA; and 1437
 28
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 154 of 183 Page ID
                                    #:1131




 1                  Stanislaus Dr., Chula Vista, CA. Based on Apartment Hunters, Inc.’s database

 2
                    record ilaat I personally reviewed, there were automated emails sent to Hometeam
 3
                    Property Management, and an agent, employee, or other member of their
 4
                    management team agreed to permit Apartment Hunters, Inc. to list their vacancies
 5

 6                  by agreeing to the option provided in said email.

 7           I declare under penalty of perjury under the laws of the State of California that the

 8    foregoing is true and correct. Executed on this 28~day of May, 2014 in Kaunas, Lithuania.

 9

10

11
                                                                   Vidmantas Macys,
12
                                                                   Declarant
13

14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 155 of 183 Page ID
                                    #:1132




                       EXHIBIT 26
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 156 of 183 Page ID
                                    #:1133




 1800 Century Park East, Suite 300
 Los Angeles, CA 90067-1506
 Tel 310.598.4150 Fax 310.556.9828
 www.foxrothschild.com



 LINCOLN D. BANDLOW
 Direct Dial: 310-228-2913
 Email Address: LBandlow@FoxRothschild.com



 July 21, 2016

 VIA E-MAIL

 Nicholas J. Boyle
 David K. Baumgarten
 Eric J. Hamilton
 Williams and Connolly LLP
 725 Twelfth Street NW
 Washington, DC 20005-5901

 Kelly L. Perigoe
 Caldwell Leslie and Proctor PC
 725 South Figueroa Street 31st Floor
 Los Angeles, CA 90017-5524

 Re:       Costar Realty Information, Inc. et al. vs. Apartment Hunters, Inc. et al. - Case No.
           8:15-cv-02111-JLS-KES

 Dear David:

           I am in receipt of your July 15, letter and this serves as my response.

         I am well aware of how the discovery process works and of my obligations as counsel.
 While your demands that I provide written responses regarding conversations I have had with my
 clients are not well received, and will not be responded to, I can assure you that I have taken the
 necessary steps to ensure my clients’ good faith discovery participation.

         Defendants’ production to-date includes the information it presently has been able to
 locate which was in response to Plaintiffs’ requests. Investigation efforts to locate additional
 documents, as we have informed you numerous times, are continuing and will conceivably be
 more fruitful once Defendants have the requested screenshots of the allegedly infringing activity.

        Emails responsive to the requests, as I have also conveyed to you, do not exist; first,
 because Defendants generally do not internally communicate via email and, second, because
 Defendants did not engage in the willful conduct that your requests seek to uncover.
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                                    #:1134




 Nicholas J. Boyle
 David K. Baumgarten
 Eric J. Hamilton
 Kelly L. Perigoe
 July 21, 2016
 Page 2

        You are welcome to ask Defendants about their collection efforts through interrogatories
 or depositions; there is no reason for me to respond to your questions and accusations here.



                                             Kindest Regards,


                                             Lincoln D. Bandlow
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 158 of 183 Page ID
                                    #:1135




                       EXHIBIT 27
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 159 of 183 Page ID
                                    #:1136


 1   WILLIAMS & CONNOLLY LLP
     Nicholas J. Boyle (admitted pro hac vice)
 2   David K. Baumgarten (admitted pro hac vice)
 3   Eric J. Hamilton (Cal. Bar No. 296283)
     725 Twelfth Street, N.W.
 4   Washington, DC 20005
 5   Telephone: (202) 434-5000
     Facsimile: (202) 434-5029
 6   nboyle@wc.com
 7
     CALDWELL LESLIE & PROCTOR, PC
 8   Kelly L. Perigoe (Cal. Bar No. 268872)
 9   725 South Figueroa Street, 31st Floor
     Los Angeles, CA 90017-5525
10   Telephone: (213) 629-9040
11   Facsimile: (213) 629-9022
     perigoe@caldwell-leslie.com
12

13   Attorneys for Plaintiffs CoStar Realty
     Information, Inc., and Apartments, LLC
14

15                    IN THE UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
16                             SOUTHERN DIVISION
17

18 COSTAR REALTY INFORMATION,                   Case No. 8:15-cv-02111-JLS-KES
19 INC., and APARTMENTS, LLC,
                Plaintiffs,                     PLAINTIFFS’ NOTICE OF RULE
20                                              30(b)(6) DEPOSITION OF
21              vs.                             APARTMENT HUNTERS, INC.

22 APARTMENT HUNTERS, INC.,
23 KEVIN SHAYAN, and STEVEN
   SHAYAN,
24           Defendants.
25

26

27

28

            PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS, INC.
                                    Case No. 8:15-cv-0211-JLS-KES
     Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 160 of 183 Page ID
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 1          Please take notice that, pursuant to Federal Rule of Civil Procedure 30(b)(6),
 2    Plaintiffs CoStar Realty Information, Inc., and Apartments, LLC, (collectively,
 3    “CoStar”) will take the deposition of Apartment Hunters, Inc., through its officers,
 4    directors, managing agents, or other persons designated to testify on its behalf on
 5    the topics set forth below.
 6          The deposition will take place on Friday, September 16, 2016, commencing
 7    at 9:00 a.m. at Williams & Connolly LLP, 725 Twelfth Street, NW, Washington,
 8    DC 20005. The deposition will be taken upon oral examination, by stenographic
 9    and/or videographic means, before a deposition officer duly authorized to
10    administer oaths, and will continue from day-to-day, Saturdays, Sundays, and
11    holidays excluded, until completed or adjourned pursuant to stipulation of counsel.
12                                           Definitions
13          The following terms shall be defined as set forth below for the purposes of
14    this Notice:
15          1.       You or Your: Apartment Hunters, Inc., and any affiliates or
16    subsidiaries, including without limitation UAB Apartment Hunters LT.
17          2.       Action: The currently pending suit, CoStar Realty Information, Inc. et
18    al. v. Apartment Hunters, Inc., et al., Case No. 8:15-0211-JLS-KES (C.D. Cal.).
19          3.       Requests: Plaintiffs’ First Set of Requests for Production of
20    Documents to Apartment Hunters, Inc. (March 21, 2016).
21          4.       Interrogatories: Plaintiffs’ First Set of Interrogatories to Apartment
22    Hunters, Inc., Kevin Shayan, and Steven Shayan (May 26, 2016).
23          5.       AHI Websites: apartmenthunterz.com, 4rentinla.com,
24    wetakesection8.com, ifindrentals.com, featuredrentals.com, leaseinsandiego.com,
25    and rentinsanfrancisco.com (individual or collectively).
26          6.       Website Data: Data reflecting the apartment listings and photographs
27                                                1
             PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS, INC.
28                                   Case No. 8:15-cv-0211-JLS-KES
     Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 161 of 183 Page ID
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 1    displayed on any AHI Website from March 1, 2015 to December 18, 2015.
 2          7.     Domains: The internet and/or electronical mail domains associated
 3    with apartmenthunterz.com; 4rentinla.com; wetakesection8.com; ifindrentals.com;
 4    featuredrentals.com; leaseinsandiego.com; rentinsanfrancisco.com; and any other
 5    domain owned, operated, or controlled by You or Your affiliates or subsidiaries.
 6                                  Instructions and Topics
 7          Pursuant to Federal Rule of Civil Procedure 30(b)(6), You are hereby
 8    commanded to designate one or more of Your officers, directors, agents, or other
 9    individuals who can testify on Your behalf with respect to the following matters
10    (as they relate to the period 2013 through present, unless otherwise specified) for
11    examination:
12          1.     Your issuance of a litigation hold in connection with this Action.
13          2.     The identify and location of each employee, agent, contractor or
14    representative that performed any work for You from March 1, 2015 to December
15    18, 2015, and a brief description of their responsibilities.
16          3.     The steps that have been taken to ensure that Your employees, as well
17    as Your affiliates, contractors, agents and their respective employees, implemented
18    the litigation hold.
19          4.     The method(s) by which sources of documents for collection and
20    review, whether such sources are individual custodians or locations (electronic or
21    otherwise), were identified in connection with Your responses to the Requests, and
22    the individuals involved in such identification and any subsequent collection and
23    review of documents.
24          5.     The method(s) by which sources of information, whether individuals
25    or locations (electronic or otherwise), were identified in connection with Your
26    responses to the Interrogatories, and the individuals involved in such identification
27                                               2
             PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS, INC.
28                                   Case No. 8:15-cv-0211-JLS-KES
     Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 162 of 183 Page ID
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 1    and any subsequent collection of information.
 2          6.     The identity of the individuals, whether employed by or associated
 3    with You or otherwise, with whom Your outside counsel has directly spoken prior
 4    to July 29, 2016 regarding document preservation, collection, and/or review in
 5    connection with Your responses to the Requests.
 6          7.     The identity of the individuals, whether employed by or associated
 7    with You or otherwise, with whom Your outside counsel has directly spoken prior
 8    to July 29, 2016 regarding Your responses to the Interrogatories.
 9          8.     The identity of the individuals, whether employed by or associated
10    with You or otherwise, with whom Your outside counsel has directly spoken on or
11    after July 29, 2016 regarding document preservation, collection, and/or review in
12    connection with Your responses to the Requests.
13          9.     The identity of the individuals, whether employed by or associated
14    with You or otherwise, with whom Your outside counsel has directly spoken on or
15    after July 29, 2016 regarding Your responses to the Interrogatories.
16          10.    The individual custodians and/or other sources of documents from
17    which documents were actually collected for review in connection with Your
18    responses to the Requests.
19          11.    The sources of documents, if any, that have been searched
20    electronically (e.g., drives, servers, networks, databases) in order to locate
21    documents for collection or production in this Action, and, if any electronic
22    searches were conducted, who conducted such searches.
23          12.    The means by which it was determined which documents were
24    responsive to the Requests, and the identity of each of the individuals involved in
25    such determination.
26          13.    Whether searches have been performed to locate the “valid third party
27                                               3
             PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS, INC.
28                                   Case No. 8:15-cv-0211-JLS-KES
     Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 163 of 183 Page ID
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 1    agreements” that You have represented to the Court authorized Your copying of
 2    CoStar’s copyrighted photographs and other listing information, and any e-mails
 3    regarding such agreements, and whether such agreements and e-mails will be
 4    produced in this case.
 5          14.    The location(s), both electronic or physical, of the Website Data; the
 6    steps taken, if any, to ensure that the Website Data was preserved after this lawsuit
 7    was filed; and the steps taken, if any, to search the Website Data in connection
 8    with Your responses to the Requests and to the Interrogatories (including searches
 9    for listings generated by, and photographs owned by, CoStar).
10          15.    The steps taken, if any, to collect documents and information
11    responsive to the Requests or the Interrogatories from the software and/or systems
12    that You used to collect, gather or copy the Website Data.
13          16.    Your policies and practices regarding the deletion, preservation,
14    and/or archiving (whether automated or manual) of the data feeds from which You
15    received Website Data, and the steps taken, if any, to preserve such data feeds
16    and/or the information contained therein in connection with this Action.
17          17.    Your ability to monitor the IP addresses accessed by your employees,
18    independent contractors, and/or automated systems in the course of their work, and
19    the steps taken, if any, to preserve such access data in connection with this Action.
20          18.    Your policies and practices regarding the deletion, preservation,
21    and/or archiving of e-mails, including without limitation (a) when, if ever, You
22    suspended the e-mail “purges” that allegedly resulted in the deletion of the key e-
23    mails at issue in Matter of Apartment Hunters, Inc., and Steven Shayan, Nos. H-
24    36458 LA, H-39404 LA, Proposed Decision, at ¶¶ 12-20 (Cal. Bureau of Real
25    Estate May 27, 2015), and (b) whether any historical full system backups exist of
26    Your e-mails.
27                                              4
             PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS, INC.
28                                   Case No. 8:15-cv-0211-JLS-KES
     Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 164 of 183 Page ID
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 1           19.      The number and identity of all persons who have an e-mail address at
 2    any of the Domains.
 3           20.      The number and identity of the e-mail servers that host e-mail for the
 4    Domains.
 5           21.      The approximate volume of e-mail sent and received on each of the
 6    Domains each month from March 2015 through December 2015, inclusive.
 7           22.      Whether You intend to rely upon any e-mails for Your defense at trial
 8    in this Action.
 9           23.      The internet server providers or hosting services used by You from
10    March 1, 2015 to December 18, 2015, and the steps taken, if any, to collect from
11    such internet server providers or hosting services documents and information
12    responsive to the Requests.
13           24.      Your policies and practices regarding the deletion, preservation,
14    and/or archiving of files (whether electronic or hard copy) relating to past judicial,
15    administrative, or regulatory proceedings in which You have been involved or
16    complaints received from customers (whether directly or through a third party such
17    as the Better Business Bureau), and the steps taken, if any, to preserve such files
18    and/or the information contained therein in connection with this Action.
19           25.      Any documents, whether by category or otherwise, that You know or
20    have reason to believe are or were responsive to the Requests, and that have been
21    deleted or otherwise made unavailable, or that have not been produced to, CoStar
22    in this case.
23

24    Dated: July 29, 2016               By:    __________________________________
25                                              Nicholas J. Boyle (pro hac vice)
                                                David K. Baumgarten (pro hac vice)
26                                              Eric J. Hamilton (Cal. Bar No. 296283)
27                                                5
             PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS, INC.
28                                   Case No. 8:15-cv-0211-JLS-KES
     Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 165 of 183 Page ID
                                         #:1142



 1                                           WILLIAMS & CONNOLLY LLP
                                             725 Twelfth Street, N.W.
 2                                           Washington, DC 20005
 3                                           (202) 434-5000 (phone)
                                             (202) 434-5029 (facsimile)
 4

 5                                           Kelly L. Perigoe (Cal. Bar No. 268872)
                                             725 South Figueroa Street, 31st Floor
 6                                           Los Angeles, CA 90017-5525
 7                                           Telephone: (213) 629-9040
                                             Facsimile: (213) 629-9022
 8                                           perigoe@caldwell-leslie.com
 9
                                             Attorneys for CoStar Realty
10                                           Information, Inc., and Apartments, LLC
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            PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS, INC.
28                                  Case No. 8:15-cv-0211-JLS-KES
     Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 166 of 183 Page ID
                                         #:1143


                                          PROOF OF SERVICE
 1

 2    WASHINGTON, D.C.

 3            At the time of service, I was over 18 years of age and not a party to this action. I am
      employed in Washington, D.C. by Williams & Connolly LLP. My business address is 725 12th
 4    Street N.W., Washington, D.C. 20005.
 5           On July 29, 2016, I served true copies of the following document(s) described as
 6    PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS,
      INC., on the interested parties in this action as follows:
 7                CoStar Realty Information Inc., et al v. Apartment Hunters, Inc., et al.
                                     Case No. 8:15-cv-02111 JLS (KES)
 8
      Lincoln D. Bandlow
 9    Margo J. Arnold
10    FOX ROTHSCHILD LLP
      1800 Century Park East, Suite 300
11    Los Angeles, CA 90067-1506
      lbandlow@foxrothschild.com
12    marnold@foxrothschild.com
      Telephone: 310.598.4150
13
      Facsimile: 310.556.9828
14
      Counsel for Defendants
15
             BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
16    document(s) to be sent from e-mail address dbaumgarten@wc.com to the persons at the e-mail
      addresses listed in the Service List. I did not receive, within a reasonable time after the
17
      transmission, any electronic message or other indication that the transmission was unsuccessful.
18
               I declare under penalty of perjury under the laws of Washington, D.C. that the foregoing
19    is true and correct.
20           Executed on July 29, 2016, at Washington, D.C.
21

22
                                                       David K. Baumgarten
23

24

25

26
                                                      1
27                            PROOF OF SERVICE FOR PLAINTIFFS’ NOTICE OF
                          RULE 30(b)(6) DEPOSITION OF APARTMENT HUNTERS, INC.
28                                       Case No. 8:15-cv-0211-JLS-KES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 167 of 183 Page ID
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                       EXHIBIT 28
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 168 of 183 Page ID
                                    #:1145


 1                     SPECIFIC RESPONSES AND OBJECTIONS
 2               TO REQUEST FOR PRODUCTION OF DOCUMENTS:
 3         The foregoing General Objections are expressly incorporated into the following
 4 Specific Responses and Objections.
 5 REQUEST FOR PRODUCTION NO. 34:
 6         Documents sufficient to provide the information sought by the Apartment
 7 Hunters Deposition Notice. For the avoidance of doubt, if only a subset of that
 8 information is available in documentary form, the subset of documents should be
 9 produced.
10 RESPONSE TO REQUEST FOR PRODUCTION NO. 34:
11         This request is not proportional to the needs of the case considering (1) the
12 marginal importance of the materials to the claims and defenses in this litigation and
13 (2) the fact that Responding Party has agreed to sit for deposition on September 29
14 and will orally provide the information sought by the Apartment Hunters Deposition
15 Notice. Further, this Request is objectionable to the extent that is seeks the production
16 of documents which are subject to the attorney-client privilege.
17         To the extent that non-privileged documents regarding Apartment Hunters’
18 preservation and collection efforts exist, Apartment Hunters will make them available
19 in advance of September 29.
20
     Dated: September 1, 2016                FOX ROTHSCHILD LLP
21
22
                                        By
23                                           Lincoln D. Bandlow
                                             Margo J. Arnold
24                                           Attorneys for Defendants
                                             Apartment Hunters, Inc.,
25                                           Kevin Shayan, and
                                             Steven Shayan
26
27
28
                                                5
     DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS
     SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS                  CASE NO. 8:15-CV-02111
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 169 of 183 Page ID
                                    #:1146




                       EXHIBIT 29
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 170 of 183 Page ID
                                    #:1147


 1                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 2                               SOUTHERN DIVISION
 3

 4 COSTAR REALTY INFORMATION,
 5 INC., and APARTMENTS, LLC,
                Plaintiffs,
 6

 7               vs.                             Case No. 8:15-cv-02111-JLS-KES
 8 APARTMENT HUNTERS, INC.,
 9 KEVIN SHAYAN, and STEVEN
   SHAYAN,
10           Defendants.
11

12                     DECLARATION OF DAVID K. BAUMGARTEN
13         I, David K. Baumgarten, declare the following:
14         1.     I am an associate at the law firm of Williams & Connolly LLP in
15   Washington, D.C.
16         2.     I am counsel of record for Plaintiffs CoStar Realty Information, Inc.
17   and Apartments, LLC, in the above-captioned matter.
18         3.     The following facts are within my personal knowledge and, if sworn as
19   a witness, I would testify thereto under oath.
20         4.     On October 7, 2015, I spoke by phone with Margo Arnold, counsel for
21   Defendants in the above-captioned matter, regarding various discovery issues.
22         5.     During our conversation, I asked Ms. Arnold whether Defendants
23   would produce the email purportedly sent by Kevin Shayan in December 2015 with
24   the subject line, “Our new 2016 legal challenge,” as described by Mr. Shayan in his
25   deposition testimony as the corporate representative of Apartment Hunters, Inc.
26         6.     Ms. Arnold confirmed her agreement that the email should be
27   produced, and stated that Defendants would “look into” locating it. Ms. Arnold
28

                             DECLARATION OF DAVID K. BAUMGARTEN
                                  Case No. 8:15-cv-0211-JLS-KES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 171 of 183 Page ID
                                    #:1148


 1   further stated that the deposition testimony was the “first time I’ve heard” of the
 2   purported email sent by Mr. Shayan.
 3         7.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
 4   foregoing is true and correct.
 5

 6   DATED: November 11, 2016                       /s/ David K. Baumgarten
                                                   David K. Baumgarten
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                                                  2
                              DECLARATION OF DAVID K. BAUMGARTEN
                                   Case No. 8:15-cv-0211-JLS-KES
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 172 of 183 Page ID
                                    #:1149




                       EXHIBIT 30
 Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 173 of 183 Page ID
                                     #:1150




DAVID BAUMGARTEN
    (202) 434-5929
 dbaumgarten@wc.com




                                                October 5, 2016


    Via Email


    Lincoln D. Bandlow
    Margo J. Arnold
    Fox Rothschild LLP
    1800 Century Park East, Suite 300
    Los Angeles, CA 90067-1506


             Re:      CoStar Realty Information, Inc., et al. v. Apartment Hunters, Inc., et al., No. 8:15-
                      cv-02111-JLS-KES

    Dear Counsel:

            I write on behalf of Plaintiffs CoStar Realty Information, Inc. and Apartments, LLC
    (collectively, “CoStar”) regarding discovery that Apartment Hunters, Inc. (“AHI”) has agreed to
    provide but has not yet produced to CoStar.

             First, AHI still has not produced any documents responsive to CoStar’s Requests for
    Production (“RFPs”) No. 2 and 3. During last week’s 30(b)(6) deposition of AHI, Mr. Shayan
    testified that, “in the last two or three weeks,” AHI located photographs similar to all but two of
    the photographs that CoStar identified in the Complaint. See Dep. Tr. at 73:22-74:3; 110:1-6.
    Mr. Shayan stated that these photographs had been provided to your firm before the deposition,
    which you confirmed. Id. at 74:4-7. And you stated that, “[w]e have to put the information
    together for you to produce it to you. We’re in the process of doing that.” Id. 74:24-75:1.

            There is no basis for AHI to continue delaying the production of the above-referenced
    documents, which AHI evidently believes are responsive to CoStar’s RFPs, were identified as
    such by AHI three to four weeks ago, and have been in your possession for at least a week.
    Moreover, as you know, CoStar agreed to postpone the filing of its Motion to Compel based on
    your representations that the deposition testimony of AHI’s corporate representative would
    resolve many of CoStar’s discovery questions—only to learn, during the deposition, that (a) AHI
    had located potentially responsive documents it had claimed for many months to be unable to
    locate and (b) AHI’s corporate representative would not answer substantive questions about
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 174 of 183 Page ID
                                    #:1151


 Lincoln Bandlow
 October 5, 2016
 Page 2

 those documents during the deposition. In short, AHI appears to be using every tactic possible to
 continue delaying its obligation to provide CoStar with documents and information responsive to
 CoStar’s discovery requests (and, in turn, to continue delaying CoStar’s ability to seek relief, if
 necessary, from the court).

         Second, AHI still has not produced any documents responsive to CoStar RFP No. 27. In
 AHI’s portion of the Draft Stipulation, submitted Sept. 1, AHI conceded that relevance and
 responsiveness of documents relating to complaints “made in an administrative or judicial
 setting,” including “documents related to the California Bureau of Real Estate proceedings.”
 Draft Stip. at 10. And during last week’s deposition, Mr. Shayan testified that all of AHI’s
 records relating to the California Bureau of Real Estate proceedings had been forwarded by AHI
 to your firm before the deposition. See Dep. Tr. at 204:21-205:13.1 You stated that those
 records are being “processed” and their production is “probably just getting arranged.” Id.
 Again, there is no basis for continued delay.

        Third, AHI has not yet produced the insurance policy it disclosed in its Initial
 Disclosures, which were served on March 29, 2016. AHI’s First and Second Amended Initial
 Disclosures stated that the production of this policy would be made after the entry of a protective
 order. A protective order was entered more than four months ago, on May 16, 2016. See Dkt.
 No. 43. Yet again, there is no basis for continued delay.

          Please promptly produce the above-discussed outstanding documents. CoStar reserves
 all rights in connection herewith.



     Formal                                            Sincerely,



                                                       David K. Baumgarten




 1
   For the avoidance of doubt, CoStar expects that AHI will produce documents relating to all copyright- or
 misappropriation-related complaints made in an administrative or judicial setting—of which Mr. Shayan confirmed
 there are many, see Dep. at Tr. 16:1-17:6—and not just those relating to the Bureau of Real Estate proceedings.
Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 175 of 183 Page ID
                                    #:1152




                       EXHIBIT 31
      Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 176 of 183 Page ID
                                          #:1153
Baumgarten, David
From:                       Baumgarten, David
Sent:                       Friday, October 07, 2016 9:42 AM
To:                         'Arnold, Margo J.'
Subject:                    RE: CoStar v. Apartment Hunters


Margo, 
  
Hope you are well. I’m writing to quickly touch base on a few discovery items. 
  
First, as you know, AHI agreed to produce documents responsive to CoStar’s RFP No. 34 (documents relating to topics of 
the 30(b)(6) deposition).  Lincoln’s letter (dated Sept. 16) indicated that you were not aware at the time of any 
responsive documents in AHI’s possession, custody, or control.  During the 30(b)(6) deposition, however, Mr. Shayan 
repeatedly referenced a “Legal Challenge” email that he sent in Dec. 2015 (regarding document preservation).  Based on 
Mr. Shayan’s description, that email is probative as to many of the deposition topics, including without limitation Nos. 1 
and 3, and is thus responsive to RFP No. 34.  Could you please check with your clients and ask them to provide you that 
“Legal Challenge” email as soon as possible so that you can produce it to us? 
  
Second, I’d appreciate if you can begin checking on dates in January for depositions of the following AHI employees: 
Steven Shayan; Kevin Shayan; Vidmantas Macys; Dennis Portnov.  We’re happy to hold the depositions in LA, 
Washington, Lithuania, or wherever Mr. Portnov is currently, so please let us know your preference on location(s) as 
well. 
  
Third, since Mr. Shayan could not provide this information during the 30(b)(6) deposition, I’d appreciate if you could 
work with your clients to compile a list of the names and titles of the 15 AHI employees other than Mr. Macys based on 
Lithuania (i.e., the two teams of four programming employees and the team of seven customer support representatives 
Mr. Shayan referenced during the deposition).  As I’m sure you can guess, we also intend to notice the depositions of the 
majority of those employees – so, again, if you could start checking dates of availability for those folks, too, and letting 
us know your preference on locations, I’d appreciate it. 
  
Please let me know if you’d like to discuss any of the above. 
  
Thanks, 
 
 
David Baumgarten 
Williams & Connolly LLP 
725 Twelfth Street, N.W., Washington, DC 20005 
(P) 202‐434‐5929 | (F) 202‐434‐5029 
dbaumgarten@wc.com | www.wc.com/dbaumgarten 
 
From: Arnold, Margo J. [mailto:marnold@foxrothschild.com]  
Sent: Friday, September 23, 2016 1:00 PM 
To: Baumgarten, David <DBaumgarten@wc.com> 
Subject: RE: CoStar v. Apartment Hunters 
 


David,  
  

                                                             1
      Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 177 of 183 Page ID
                                          #:1154
Yes, Kevin will be prepared to testify about those subjects as well.  
  
I’ll let you know if anyone else will be in attendance, I don’t believe there is at the moment.  
  
Thanks,  
  
Margo 
  
Margo Arnold 
Associate 
Fox Rothschild LLP 
1800 Century Park East, Suite 300 
Los Angeles, CA 90067‐1506 
(424) 249‐1757 ‐ direct 
marnold@foxrothschild.com 
  
From: Baumgarten, David [mailto:DBaumgarten@wc.com]
Sent: Friday, September 23, 2016 7:10 AM
To: Arnold, Margo J.
Subject: RE: CoStar v. Apartment Hunters 
  
Margo, 
  
Thank you for passing along the photo IDs. We look forward to seeing the results of AHI’s search and/or discussing the 
issue with Mr. Shayan on Thursday.  To that end, for the avoidance of doubt, we assume that Mr. Shayan will be 
prepared to testify regarding the issues we have been discussing in connection with the draft Motion to Compel, even if 
they were not explicitly included on the list of topics attached to the deposition notice we sent in August (as you know, 
we’ve only learned of some of the issues subsequent to issuing the notice). And we also assume that Mr. Shayan will be 
prepared to testify generally regarding AHI’s corporate structure, affiliates, employees, and ownership of websites. 
          
On a related note regarding deposition logistics, Kelly Perigoe from Caldwell Leslie has put you, Lincoln, and Mr. Shayan 
on the security list for Thursday. Please let us know if anyone else will be attending on AHI’s behalf.  I believe Kelly is 
arranging for break out rooms, as well as lunch for everyone; let me know if you have any other needs. 
          
Thanks, 
  
David Baumgarten 
Williams & Connolly LLP 
725 Twelfth Street, N.W., Washington, DC 20005 
(P) 202‐434‐5929 | (F) 202‐434‐5029 
dbaumgarten@wc.com | www.wc.com/dbaumgarten 
  
From: Arnold, Margo J. [mailto:marnold@foxrothschild.com]  
Sent: Thursday, September 22, 2016 2:58 PM 
To: Baumgarten, David <DBaumgarten@wc.com> 
Subject: RE: CoStar v. Apartment Hunters 
  
  

David,  
  


                                                              2
     Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 178 of 183 Page ID
                                         #:1155
AHI appreciates CoStar agreeing to not re‐serve a Joint Stipulation regarding CoStar’s Motion to Compel prior to the 
30(b)(6) deposition of Apartment Hunters, Inc. next week. I am hopeful that Kevin’s testimony will resolve many of the 
issues in dispute.  As we mentioned, he is the best person to talk about AHI’s data, preservation efforts, and review 
efforts and will be able to answer your questions much better than we can. 
  
You are correct that we are not presently aware of additional information that CoStar can provide to help Defendants 
identify the source of the CoStar listing information and that we believe that the identification of the unique IDs for each 
photograph would help Defendants identify the source of the CoStar photographs. Thank you for providing the unique 
photo IDs that you did record. We will immediately furnish the list to our clients.  
  
Should the information not be fruitful, we will have the 30(b)(6) designee prepared to discuss the subject of why the 
information in the attached chart did not allow Defendants to locate any relevant documents. 
  
Thanks,  
  
Margo  
  
  
Margo Arnold 
Associate 
Fox Rothschild LLP 
1800 Century Park East, Suite 300 
Los Angeles, CA 90067‐1506 
(424) 249‐1757 ‐ direct 
marnold@foxrothschild.com 
  
Sent from my iPhone. 
  
From: Baumgarten, David [mailto:DBaumgarten@wc.com]
Sent: Wednesday, September 21, 2016 3:06 PM
To: Bandlow, Lincoln; Arnold, Margo J.
Cc: Boyle, Nicholas; Hamilton, Eric; Kelly Perigoe
Subject: CoStar v. Apartment Hunters 
  
Lincoln and Margo, 
  
Thank you again for this morning’s productive meet‐and‐confer call.  While CoStar still believes that the issues we 
discussed are ripe for the Court’s resolution (and have been for some time), we will agree to your request to not re‐
serve a Joint Stipulation regarding CoStar’s Motion to Compel prior to the 30(b)(6) deposition of Apartment Hunters, Inc. 
(“AHI”) next week, in case that deposition is able to further narrow the issues in dispute. 
  
I also want to quickly follow up on our discussion of Defendants’ explanation of their inability to locate documents 
relating to CoStar’s photographs and listing information.  You told us that while there is no additional information that 
CoStar can provide to help Defendants identify the source of the CoStar listing information, Defendants believe that 
CoStar’s identification of the underlying URLs for each specific infringing photograph would help Defendants locate 
CoStar’s photographs in their system.  This clarification was very helpful, as Defendants had never previously explained 
that each photograph was published at a unique URL, in addition to on the main listing page.  While we do not have a 
complete record of URLs for each individual photograph (as we had no reason to believe that such information would be 
necessary), we have located URLs for 34 of the 126 infringing photographs identified to date by CoStar (which were 
published in 16 different listings).  See Appx. A to CoStar’s Response & Objections to AHI’s Interrogatories.  A chart 
setting forth that information is attached. 
  

                                                             3
      Case 8:15-cv-02111-JLS-KES Document 46-8 Filed 12/02/16 Page 179 of 183 Page ID
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We ask that Defendants endeavor to produce any documents located based on the information in the attached chart by 
next Wednesday, September 28, 2016.  If Defendants are still unable to produce any documents related to the CoStar 
content that appeared on their websites, we ask that AHI’s corporate representative be prepared to explain during the 
30(b)(6) deposition on Sept. 29 why the information in the attached chart did not allow Defendants to locate any 
relevant documents. 
  
Thank you, 
  
David Baumgarten 
Williams & Connolly LLP 
725 Twelfth Street, N.W., Washington, DC 20005 
(P) 202‐434‐5929 | (F) 202‐434‐5029 
dbaumgarten@wc.com | www.wc.com/dbaumgarten 
  
  

 
This message and any attachments are intended only for the addressee and may contain information that is privileged and 
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you.  



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Postal Service. We will reimburse you for all expenses incurred. Thank you.




                                                                  4
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                       EXHIBIT 32
Call Kurtis Investigates: Rental Website Offers Homes Not for Rent « CBS Sacramento

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                                                                                                     Call Kurtis Investigates: Rental Website Offers Homes Not for Rent
                                                                                                     September 21, 2015 11:13 PM By Kurtis Ming

                                                                                                     Filed Under: Call Kurtis, Call Kurtis Investigates


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                                                                                                                  SACRAMENTO (CSB13) —  Needing a larger place to live, Faith Hayes
                                                                                                                   found a listing of a home with a swimming pool for $1,800 a month on
                                                                                                                   ApartmentHunterz.com.

                                                                                                                   “It said this is available for immediate occupancy,” she recalls seeing.

                                                                                                                   The site promises 97,000 plus exclusive listings including many not
                                                                                                                   found on free sites or in newspapers. In order to get the landlord’s
                                                                                                                   contact information, Faith had to pay $29.95. When she called, she says
                                                                                                                   she was surprised at what she heard.

                                                                                                                   “That house was sold 2 years ago,” she said she was told. “We’re not
                                                                                                                   renting any properties whatsoever.”

                                                                                                                   According to the California Bureau of Real Estate, it’s not the first time
                                                                                                                   they’ve heard of this company.

                                                                                                                   “They’ve been operating knowingly without a license for quite some
                                                                                                                   time,” said Spokesperson Tom Pool.

                                                                                                                   He says the state revoked ApartmentHunterz license in July after his
                                                                                                                   department went after the owner for a variety of violations. Some
                                                                                                                   violations dated back eight years.




http://sacramento.cbslocal.com/2015/09/21/call-kurtis-investigates-rental-website-offers-homes-not-for-rent/[4/28/2016 10:57:06 AM]
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                                                                                      “Renters would pay the money and find out the46-8       Filed
                                                                                                                                    property was not in 12/02/16
                                                                                                                                                        fact     Page 182 of 183 Page ID
                                                                                      available,” he said.                         #:1159
                                                                                                                   He says ApartmentHunterz also took ads from other places and posted
                                                                                                                   them on their site without permission, which the state says is illegal.
                                                                                                                   CBS13 found more than a month after the company’s license was
                                                                                                                   revoked, the website is still up. We reached out to the company
                                                                                                                   repeatedly, but never heard back.

                                                                                                                   “Clearly at this point we can work with law enforcement in order to
                                                                                                                   pursue a criminal investigation and lead to some sort of criminal
                                                                                                                   penalties,” Pool said.

                                                                                                                   After Faith told ApartmentHunterz she planned to call us, she says they
                                                                                                                   refunded her $29.95.



                                                                                                                   Kurtis Ming
                                                                                                                               Follow

                                                                                                                   Eight-time Emmy Award winner Kurtis Ming is CBS13's consumer investigative
                                                                                                                   reporter. Since joining CBS13 in 2003, he's held the position of general assignment
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